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           EXHIBIT 31
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                                                AGREEMENT

                                                BETWEEN

                                       ALUMINUM COMPANY OF AMERICA
                           .4
                                                  AND

                                          INTERNATIONAL UNION,
                           •         UNITED STEELWORKERS OF AMERICA

                                                    *




                                           Plants located at

                                           ALCOA, TENNESSEE

                                         I3ADIN, NORTH CAROLINA

                                           BAUXITE,.. ARKANSAS

                                            MOBILE, ALABAMA

                                         POINT COMFORT,.-TEXAS
                                            ROCKDALE,
                                                        TEXAS




                                             MAY 31, 1993




                                                                      U     EXHIBIT        -

                                                                      I                    51
                                                                          Planet DeosLLC




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                                   AGREEMENT                unit such that a majority of the employees the
                                                            purchaser needs to perform unit work will be
               This Agreement, dated May 31, 1993,          members of the Company's collective bargaining
         amending and extending the Agreement of November   unit. The Company will have no further
         1, 1983, is between the Aluminum Company of        obligation under this provision if (a) the
         America, hereinafter referred to as the Company,   purchase and sale agreement contains such terms
         and the International Union, United Steelworkers   or (b) the purchaser commits to the Company that
         of America, hereinafter referred to as the         it does not intend to operate the same business
         Union. The provisions of this Agreement shall      at the same location within one year of the
         become effective June 1, 1993, except as           sale. This provision does not apply to the sale
         otherwise expressly provided herein.               of a plant which has been closed for at least
                                                            six (6) months or to the separate sale of
                      ARTICLE I.        PURPOSE AND SCOPE   equipment and/or real estate, including
                                                            buildings, not intended to be operated within
         Section 1.     Coverage                            one (1) year after sale as the business at the
                                                            same location.
               It is the intent and purpose of the.
         parties to set forth certain agreements            Section 3.   Direction of Working Forces
         pertaining to wages, hours, and working
         conditions to be observed between the parties,           Except as may be limited by the provisions
         and to provide procedures for the prompt and       of this Agreement, the operation of the plants
         equitable adjustment of grievances.                and the direction of the working forces,
                                                            including the right to hire, lay off, suspend,
         Section 2.    Recognition and Successorship        dismiss, and discharge any employee for proper
                                                            and just cause are vested exclusively with the
              A. The Company recognizes the                 Company.
        International Union, United Steelworkers of
        America, as the exclusive collective bargaining           A selection of an individual to fill any
        agency for those employees of the Company in Its    job of a supervisory nature not included in the
        Alcoa, Tennessee; Badin, North Carolina;            bargaining unit is the exclusive determination
        Bauxite, Arkansas; Mobile, Alabama; Point           of the Company.
        Comfort, Texas; and Rockdale, Texas plants for
        which the Union has heretofore been certified or    Section 4.   Negotiation of Excluded Matters
        determined by the National Labor Relations
        Board, or for whom the Company has recognized             Any matter pertaining to hours and working
        the Union as the exclusive bargaining agency.       conditions not covered by this Agreement and not
                                                            determined in negotiations of this Agreement is
              B. If the Company sells an entire plant       subject to negotiations between the Company and
        or an organizationally distinct operation           representatives of. the Union at all times.
        thereof, subject to this Labor Agreement, and
        the purchaser Intends to operate the same           Section 5.   Other Agreements
        business at the same location within one (1)
        year of the sale, the purchase and sale                   A. Local agreements in effect as of May
        agreement will Include a provision to require       8, 1947, on matters covered by this Agreement
        the purchaser to extend offers of employment to     and which are not in conflict with this
        members of the Company's collective bargaining      Agreement and which apply or interpret the terms




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       of this Agreement will remain in effect for the                              of such members was
                                                           the last previous list
       period of this Agreement unless modified or
                                                           furnished to the Company. The Company shall
       terminated by agreement of the local Union and
                                                           continue to rely upon the membership lists which
       the local Management.
                                                           have been certified to it by the Union in the
                                                           past subject to revision by the addition of new
             B. -Local agreements in effect as of May
                                                           members certified to it by the Union to the date
       8, 1947, on matters not covered by this
                                                           of this Agreement and to the deletion of the
       Agreement are not subject to or affected by this
                                                           names of employees who have withdrawn from
       Agreement unless and until a written agreement,
                                                           membership prior to the date of this Agreement.
       so stating, is executed by the local Union and a
       representative of the International Union and             For the purpose of this Article, an
       the local Management.
                                                           employee shall not be deemed to have lost his
                                                           membership in the Union in good standing until
             C    Any local agreement negotiated           the International Treasurer of the Union shall
       subsequent to May 8, 1947, applying or
                                                           have determined that the membership of such
       interpreting the terms of this Agreement shall
                                                           employee in the Union is not in good standing
       be in writing and signed by the local Union and
                                                           and shall have given the Company a notice in
       a representative of the International Union and
                                                           writing of that fact.
       the plant or works manager in order to be valid
       In any future application of the terms of this            The foregoing provisions shall be
       Agreement.
                                                           effective in accordance and consistent with
                                                           applicable provisions of federal and state law.
            ARTICLE II.   UNION MEMBERSHIP AND CHECK-OFF
                                                           B.   Check-Oil
       A.   Union Membership
                                                                 1. The Company will check-off monthly
             1. Each employee who on the effective
                                                           dues, assessments and initiation fees each as
       date of this Agreement is a member of the Union
                                                           designated by the International Treasurer of the
       in good standing and each employee who becomes a
                                                           Union, as membership dues in the Union, on the
       member after that date, shall, as a condition of
                                                           basis of individually signed voluntary check-off
       employment, maintain membership in the Union.
                                                           authorization cards in forms agreed to by the
                                                           Company and the Union.
            2. Each employee hired on or after August
      1, 1956, shall, as a condition of employment,
                                                                 2. At the time of employment, the Company
      beginning on the 30th day following the
                                                           will suggest that each new employee voluntarily
      beginning of such employment or the effective
                                                           execute an authorization for the check-off of
      date of this Agreement, whichever is the later,
                                                           union dues in the form agreed upon. A copy of
      acquire and maintain membership in the Union.
                                                           such authorization card for the check-off of
                                                           union dues shall be forwarded to the financial
            3. On or before the last day of each           secretary of the local Union along with the
      month, the Union shall submit to the Company a
                                                           membership application of such employee.
      notarized list showing separately for each plant
      the name, department and clock number of each
                                                                  3. New check-off authorization cards,
      employee who shall have become a member of the
                                                           other than those provided for by Paragraph 8-2
      Union in good standing other than through the
                                                           above will be submitted to the Company through
      procedures pursuant to Paragrapi A-2 above since
                                                           the financial secretaries of the local Unions at




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        intervals no more frequent than once each month.   Internatlofla' Treasurer of the Union shall be
        On or before the last day of each month, the       provided with a list of those employees for whom
        Union shall submit to the Company a summary list   initiation fees have been deducted under this
        of cards transmitted In each month.                Paragraph.

              1. Deductions on the basis of                      8. The provision of this subsection
        authorization cards submitted to the Company       shall be effective in accordance and consistent
        shall commence with respect to dues for the        with applicable provisions of federal law.
        month In which the Company receives such
        authorization card or in which such card becomes   C.   Service Charge
        effective, whichever Is later. Dues for a given
        month shall be deducted from the first pay               The following provisions to the extent
        closed and calculated in the succeeding month.     that they are lawful shall apply:

              5. In cases of earnings insufficient to            Each employee covered by this Agreement
        cover deduction of dues, the dues shall be         who fails to acquire or maintain membership In
        deducted from the next pay in which there are      the Union shall be required as a condition of
        sufficient earnings, or a double deduction may     employment, beginning on the 31st day following
        be made from the first pay of the following        the beginning of such employment, or the date of
        month, provided, however, that the accumulation    signing this amended Agreement, whichever is
        of dues shall be limited to two months. The        later, to pay to the Union each month a service
        International treasurer of the Union shall be      charge as a contribution toward the
        provided with a list of those employees for whom   administration of this Agreement and the
        a double deduction has been made.                  representation of such employee. The service
                                                           charge for the first month shall be in an amount
              6. The Union will be notified of the         equal to the Union's regular and usual
        reason for nontransmission of dues in case of      initiation fee and monthly dues, and for each
        interplant transfer, layoff, discharge,            month thereafter in an amount equal to the.
        resignation, leave of absence, sick leave,         regular and usual monthly dues.
        retirement, or insufficient earnings.
                                                           U.   Indemnity Clause
              7. Unless the Company is otherwise
        notified the only union membership dues to be            The Union shall indemnify and save the
        deducted for payment to the Union from the pay     Company harmless against any and all claims,
        of the employee who has furnished an               demands, suits, or other forms of liability that
        authorization shall be the monthly union dues.     shall arise out of or by reason of action taken
        The Company will deduct the initiation fees when   or not taken by the Company for the purpose of
        notified by notation on the lists referred to In   complying with any of the provisions of this
        Paragraph 3 of this subsection, and assessments    Article, or in reliance on any list, notice or
        as designated by the international treasurer.      assignment furnished under any of such
        With respect to check-off authorization cards      provisions.
        submitted directly to the Company, the Company
        will deduct initiation fees unless specifically
        requested not to do so by the International
        Treasurer of the Union after such check-off
        authorization cards have become effective. The




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        ARTICLE III. WAGE MANUAL, STANDARD HOURLY               0.   Lump Sum Payments
        RATES, PERFORMANCE PAY AND LUMP SUM PAYMENTS
                                                                 1. A lump sum payment of $1300 (less
              A. Wage Manual                               required withholding amounts), in lieu of 1992
                                                           Performance Pay, shall be paid within thirty
              The 'Wage Manual which became effective      (30) days of the date the Company is notified by
        April 2, 1956, by agreement between the parties,   the International Union, United Steelworkers of
        as amended, is hereby incorporated by reference    America, of the ratification of the Labor
        as a part of this Agreement and shall continue     Agreement to all employees who had active
        in effect for the same term and under the same     employee status on December 31, 1992. This lump
        conditions as this Agreement. The Standard         sum payment will also be paid to employees who
        Hourly Rates and the wage rates for the job        were inactive on that date but returned to
        classifications covered by this Agreement will     active employment by February 28, 1993.
        not be changed for the period of this Agreement
        except by mutual agreement or except as changes          2. A lump sum payment of $650 (less
        are made under Article IV (New or Changed Job      required withholding amounts) shall be paid
        Classifications).                                  within sixty (60) days of the date the Company
                                                           is notified by the International Union, United
              B. Standard Hourly Rates                     Steelworkers of America, of the ratification of
                                                           the Labor Agreement to all employees not
              A table of Standard Hourly Rates             receiving a lump sum payment as defined above
        reflecting a twenty-five (25) cent general         but who either had employee status on December
        Increase under said Manual to be effective June    31, 1992, or, whose employee status terminated
        7, 1993, through June 4, 1995, is attached         during 1992 due to death or retirement.
        hereto as the first rate table listed under
        Appendix I.. Effective June 5, 1995, locals will   ARTICLE IV.   NEW OR CHANGED JOB CLASSIFICATIONS
        exercise an option to receive either an increase
        of twenty-five (25) cents in the standard hourly   Section 6.    New Job Classifications
        rates or a company match to 401K contributions
        of fifty (50) cents on a dollar up to 6% of              When a new job classification is
        eligible earnings. A table of standard hourly      established:
        rates reflecting the twenty-five (25) cents
        general increase effective June 5. 1995, and             A. The Company will develop a proposed
        continuing for the balance of the term of the      job description and wage rate for the new job
        1993 Labor Agreement Is attached hereto as the     classification In accordance with provisions of
        second rate table listed under Appendix I.         the Wage Manual.

                                                                 B. The proposed job description and wage
                                                           rate shall be submitted to and discussed with
             C. Performance Pay                            the proper union representatives with the object
                                                           of obtaining agreement.
              A Performance Pay Plan for hourly
        employees represented by the Union to be                 C. If the Union and Company are unable to
        effective for the Plan Years 1993, 1994, 1995 is   agree upon the description and wage rate, the
        set forth In Appendix VIII of this Agreement.      Company may Install the proposed rate. The
                                                           Union may, at any time within 90 days after




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          receipt of the proposed description and rate,
          file a grievance alleging that the                 Manual. Grievances pertaining to the
          classification is improperly described and/or      descriptions and evaluations shall be initiated
          evaluated under the provisions of the Manual.      in the Third Step and processed under the
                                                             grievance and arbitration procedures of this
          Grievances pertaining to the description and
                                                             Agreement. The decision shall be made effective
          evaluation shall be initiated in the Third Step
          and processed under the grievance and              as of the date the job classification was
          arbitration procedures of this Agreement. The      changed.
          decision shall be made effective as of the date.
                                                                   D. In the event that the Company does not
          when the employee was assigned to the new job
                                                             develop a job description and wage rate for the
          classification.
                                                             changed job classification or in the event that
          Section 7.   Changed Job Classification            it does not report a change in job duties or
                                                             content to the Union and it is claimed that the
                                                             change constitutes a change In the Job
                It is the intent of the parties to set
                                                             classification, the Union may file a grievance
          forth in this Section the maintenance and
                                                             requesting that a changed job description and
          stabilization of job classifications and to
                                                             wage rate be developed and installed in
          provide
                                                             accordance with the provisions of the Wage
                                                             Manual. Such grievances shall be initiated in
                When the character and type of duties and
                                                             the Third Step and processed under the grievance
          requirements of a job classification are so
          changed, either all at once or as a result of an   and arbitration procedures of the Agreement.
          accumulation of changes over a period of time,     The decision shall be made effective as of the
                                                             date the changed job classification was
          as to alter the wage rate relationship of that
                                                             established or ninety (90) days prior to the
          classification to other classifications in the
                                                             filing of this grievance whichever is later.
          sane plant:
                                                                   E. A change In methods, materials, or
                A. The Company shall develop a proposed
                                                             functions, or addition or deletion of a job may,
          job description and wage rate for the changed
                                                             among other things, constitute a change in
          job classification in accordance with the
                                                             duties or requirements.   he   m an will change
          provisions of the Wage Manual.
                                                             eistin    ob classifications —1 v f
                                                             oneating reasons includincm but not limited to
                L   The proposed description and wage rate
                                                             improvedutilization of
          shall be submitted to and discussed with the                  improved product quality, or changed
                                                             eiëht
          proper union representatives with the object of
                                                             technofT products or markets.
          obtaining agreement.
                                                                   The Company shall promptly inform the
                C   If the Union and Company are unable to
                                                             proper union representative of any significant
          agree upon the description and wage rate, the
                                                             change In classification content which Is
          Company may install the proposed rate. The
                                                             formally made by the Company of which the
          Union may, at any time within 90 days after
                                                             Company becomes aware. The Union may also bring
          receipt of the proposed description and rate,
                                                             to the Company's attention for appropriate
          file a grievance alleging that the job
                                                             recognition any change in classification content
          classification is improperly changed under the
                                                             the Union believes is significant but which the
          terms of this Section 7 or improperly described
                                                             Company has not reported.
          and/or evaluated under the provisions of the




                                                                                                   SPK00004229
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                F. Employees to be laid off from a            Section 8.   Exclusions
          department solely as a result of job changes
          Initiated under this Section subsequent to July ,         Production standards are not subject to
          1, 1986, will be afforded additional                modifications, termination, or establishment by
          opportunities for placement within the plant in     arbitration although the Arbitration Board may
          the application of Section 23. Specifically         consider evidence relative to production
          such employees that have 10 years or more of        standards. However, failure to meet production
          company seniority may be transferred to such        standards will not be cited as the determining
          suitable department and classification within       reason for discipline.
          the Works as may be decided by the Company,
          provided there are employees with less company           ARTICLE V.    HOURS OF WORK, OVERTIME,
          seniority working in a classification or                              AND PREMIUM PAY
          classifications which requires limited training
          and/or experience and he has sufficient ability;    Section 9.   hours of Work
          to qualify for the classification, in which case
          the employee will replace the employee with the        The work week for any employee shall be
          least company seniority in such classification.  according to present or future local
                                                           arrangements and commence with the employee's
                The local parties by mutual agreement will shift change cycle beginning nearest to Midnight
          determine those classifications that require     Sunday and continue until that same time the
          limited training. If the local parties have not following Sunday.
          completed their initial list of limited training
          classifications within 90 days after July 1,           The workday for such employee shall be
          1986, then the matter may be referred to the     consecutive twenty-four hour periods commencing
          district director or his representative, and the with the beginning of the employee's work week.
          vice president of Industrial Relations or his
          representative, for resolution. The local              The normal work day shall be eight (8)
          parties may add or delete classifications to the hours, and the normal work week shall be forty
          limited training classifications list by mutual (40) hours, being the normal time worked at
          agreement. Any agreed-to limited training        straight time rates. Nothing herein is a
          classification whose job grade is subsequently   guarantee of work or any number of hours of
          changed, shall remain a listed classification    work, or a limitation on scheduling the work.
          only by mutual agreement of the local parties.
                                                                 If the distribution of available work
                G. The changed .job classification         would probably result in regular employees
          procedures of this Section will not be used for  working less than four (4) days per week,
          the sole purpose of circumventing whatever       averaged over a reasonable period of time, a
          rights employees have under any provision of     reduction in forces shall be made in order that
          this Agreement. Changes in job classification s  the remaining employees will have a reasonable
          under this Section shall not be made unless it   expectancy of averaging at least four (4) days
          is expected that they will continue in effect    of work per week.
          for a reasonable period of time.
                                                                 It is understood that no general
                                                           restoration of forces in any such unit will be
                                                           made unless there is reasonable expectancy that




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           there will be five (5) days of work per week for    substantiated, justifiable reason, shall be
           all employees then working in such unit.            considered a day worked. Misrepresentation of
                                                               the above reasons for leaving the plant will be
           Section 10.   Incidental Time                       the cause for disciplinary action.

                 In the absence of written agreement to the    Section 13.   Sunday Work and Holidays
           contrary, incidental time such as make ready,
           clothes changes, wash-up, or travel time Is not           A. The following days shall be recognized
           either straight time worked or overtime worked,     as holidays for the purpose of this Agreement:
           provided that such Incidental time will continue    New Year's Day, Good Friday, Memorial Day (or
           to be paid for where such payments were made        such other day as may be locally agreed to),
           prior to May 8, 1947, and shall be applicable to;   Independence Day, Labor Day, Thanksgiving Day,
           all employees regardless of date of hire.           the day after Thanksgiving Day, the day before
                                                               Christmas Day, Christmas, Washington's Birthday
          Section 11.    Daily Overtime                        (or such other day as may be locally agreed to).
                                                               When any of these holidays fall on a Sunday, the
                Time and one-half shall be paid for time       following day, Monday, will be recognized as the
          worked in excess of eight (8) hours in any one       holiday. If Christmas falls on Monday, the
          day.                                                 following Tuesday shall be recognized as the
                                                               "day before Christmas" holiday.
          Section 12.    Sixth or Seventh Consecutive Day
                                                                     B. Employees shall be paid for the
                A. Time and one-half shall be paid for         holidays providing they meet all of the
          time worked by any employee on the sixth             following eligibility requirements:
          consecutive day worked in his regularly
          scheduled work week.                                       1. a. The employee works or is on a
                                                               vacation scheduled under the Vacation Plan
                B. Double time shall be paid for time          (Article XVII Vacations) or on layoff because be
          worked by an employee on the seventh consecutive     is not eligible for a vacation at the time of a
          day worked In his regularly scheduled work week.     shutdown during the payroll week during which
                                                               the holiday is observed or is on layoff the
                C. For the purpose of computing                payroll week in which the holiday is observed
          consecutive days worked, any holiday listed in       but did work in the Immediately preceding
          Section 13A shall be considered a day worked         payroll week, or receives bereavement pay
          whether or not work is actually performed.           pursuant to Article XXVII[ for one or more days
          Further, any day for which an employee receives      during that week or
          jury, witness, or bereavement pay as provided
          for In Articles XXVII and XXVIII shall be                  b. The employee is absent the entire week
          considered a day worked whether or not work is       because of a short term absence due to
          actually performed.                                  authorized local union business, jury or witness
                                                               service as defined in Article XXVII, or because
                D. For the purpose of computing                of sickness or accident, and is not eligible for
          consecutive days worked, a day on which an           sickness and accident benefits for the day the
          employee qualifies for Allowed Time under            holiday is observed because It is included in
          Article VI and does not leave the plant before       the seven-day waiting period required for
          the end of his shift, except for a                   entitlement for sickness and accident benefits.




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               c. The language in Paragraph B-la                  B. When a holiday falls within an
         involving the scheduling of vacation during a      employee's normal working schedule, and the
         shutdown, shall not affect the rights of either
                                                            plant or any part thereof is closed because of
         party concerning this matter.
                                                            the holiday, the hours that would have been
                                                            worked on the holiday shall be included when
               2. The employee has thirty (30) days'        determining weekly overtime In excess o forty
         seniority as of the date of the holiday.           (40) hours.
               3. An employee who is scheduled to work      Section 15.   General Rules
         on a holiday and is absent for any reason except
         sickness is not eligible for holiday pay.                A. 1) Schedules may be changed at any
                                                            time provided, however, that any changes made
               C. The holiday pay shall be at the           subsequent to Thursday of the week preceding the
         employee's regular hourly rate for eight (8)
                                                            week in which the change is to be effective
         hours. Overtime and shift premiums are
                                                            shall be explained at the earliest practicable
         excluded.                                          time to the appropriate union representative of
                                                            the employee affected. Provided further that
               D. Double time and one-half only shall bel   changes in schedules shall not be made after
         paid for work performed or such named holidays.    Thursday of the week prior to the work week
                                                            affected except for breakdowns or reasons beyond
               E. When a week day is substituted for a      the control of the local Management. Should
         holiday (which falls within an employee's normal
                                                            changes be made in schedules contrary to the
         working schedule) and the plant or any part
                                                            above so that an employee does not work on a day
         thereof Is closed because of the holiday, the
                                                            that he was previously scheduled to work, he
         employee will be paid time and one-half for the    shall be paid four (4) hours' pay at his
         time worked on the day which was substituted for   standard hourly rate.
         the holiday.
                                                                  2) Should changes be made in schedules
               F. Time and one-half shall be paid for       contrary to the provision of the preceding
         time worked on Sundays. Such premium based on      paragraph so that an employee is required to
         the standard hourly wage rate shall be included
                                                            work on a day or days that otherwise would have
         in any Allowed Time (Article VI) paid on Sundays   been the sixth or seventh day worked, the
         when no work is available.
                                                            employee shall be paid for such day or days
                                                            worked as though they were the sixth or seventh
         Section 14.   Weekly Overtime                      consecutive day worked.
               A. Time and one-half shall be paid for             3) The schedule change procedures
         time worked in excess of forty (40) hours in any   provided in the preceding Paragraph A-i) shall
         payroll week (or established work week);           not be used for scheduling normal overtime work
         however, time worked in excess of eight (8)        within any classification unit within an
         hours in any week day and such time worked on
                                                            affected work week prior to first exhausting the.
         Sundays, or on a day substituted for a holiday,
                                                            voluntary overtime procedures customary to that -
         or on the sixth or seventh consecutive day         classification and department, except where an
         worked as may be subjected to overtime shall be
                                                            entire classification unit or department must be
         excluded when determining weekly overtime in       utilized or where the deviation conditions of
         excess of forty (40) hours.                        Paragraph B-i) of this Section are present.




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           Employees scheduled for overtime work contrary       shall be deemed to have occurred. The Company
           to this provision shall, in addition to the          will not use this 16—hour provision for the sole
           regular compensation due for the work performed,     purpose of circumventing the low—man concept.
           receive four (4) hours' pay at their standard        The local Union and the local Management may
           hourly rate.                                         agree upon such applications or modifications of
                                                                these Paragraphs 1) or 2) as are suitable to
                  L  If work cannot be performed within a       that location.
           classification at straight time and overtime is
           thus required, the Company will distribute such            3) To avoid the creation of overtime
           overtime work as Is necessary as fairly as           Imbalances and to achieve and maintain a fair
           possible between employees within the                distribution of necessary overtime work,
           classification affected by this overtime work.       overtime hours will be charged as follows:
           In order to curb favoritism or the appearance of
           it in overtime distribution the following shall            a. All overtime hours worked In the
           apply:                                               employee's classification unit.

                 1) Overtime shall be offered to the low              b. All overtime hours offered and refused
           available employee on the overtime list In the       In the employee's classification unit.
           affected_classification unitunless there is a
           valid basis tor ueviat111frOm the order of                 c. All overtime hours which would have
           standing. Examples of a valid basis for              been offered to an employee but were not for the
           deviation from the order of standing on the list     following reasons:
           are such things as maintaining continuity of a
           started task, need for special skills required                   Vacation (Regular)
           for a particular overtime assignment,
           availability of an employee for overtime which             H.   Absence due to sickness or injury
           becomes necessary on short notice or the like.
           Should such deviation be disputed in the                   III. Absence for personal reason or union
           grievance procedure the Company bears the burden     business, jury.duty, bereavement, and a military
           of proving the validity of its overtime              leave of absence longer than two weeks in
           assignment under the circumstances that existed      duration.
           at the time.
                                                                      IV. Inability to contact consistent with
                 2) If the Company fails to offer the           present local practices.
           overtime opportunity to the low available
           employee in the classification unit, absent a             V.    Working as a temporary supervisor.
           valid basis for deviation as set forth in
           Paragraph 1) above and such employee at the time           VI. Inability to work overtime due to
           the overtime is offered, is 16 credited overtime     medically substantiated physical limitations
           hours or more below the employee who works the       agreed to by the Company and the employee's
           overtime, the bypassed employee shall be             doctors.
           entitled to a monetary remedy for the missed
           opportunity. If the lowavailable employee not              C. Overtime work may occurjnany
           offered the overtime opportunity Is less than 16     departmenTfrom which em loyees are on 1   ff.
           credited overtime hours below the employee who        owever, employees aid off from t_at department
           works the overtime, no violation of this Section     will be recalled tiiThTmze overtime t o the,




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          extent that they can be reasonably czrInpritiled an for all hours worked during the first or day
           utilized for a reasonable period of tine _gorl shift.
             TW otherwise would be performed at overtime..:
                                                             .    Schedule and Weekend Premium
          Section 16. Shift Schedule and Weekend Premium
                                                                    The schedule and weekend premium shall be
          A. Shift Premium                                    thirty (30) cents per hour. The schedule and
                                                              weekend premium shall be paid as follows:
                 Fixed shift premium rates appropriate to
          the job grade paid shall be paid for work                 1. When an employee's schedule cycle
          performed on the second or afternoon shift and calls for him to work other than from Monday
          for work performed on the third or night shift, through Friday in any work week, the employee
          A table of shift premium rates by job grade is shall be paid the premium for all time worked
          attached hereto as Appendix II.                     while he Is on such schedule cycle. If the
                                                              schedule cycle of such employee Includes the
                 For the purpose of this Section 16-A, any work weeks of Monday through Friday in each of
          regular shift starting between 4:00 am, and z half or more of the work weeks of the schedule
          11:59 a.m. shall be designated as the day shift cycle, the schedule premium shall n o t be payable
          any regular shift starting between 12:00 noon       for the Monday through Friday work weeks but
          and 7:59 p.m. shall be designated as second or shall be payable for the other work weeks of the
          afternoon shift; and any regular shift starting schedule cycle.
          between 8:00 p.m. and 3:59 mm, shall be
          designated the third or night shift.                      2. With respect to employees not covered
                                                              by the preceding paragraph, when an employee
                 1. The shift differential shall be           works on Saturday or Sunday and is not
          included in computing overtime compensation         compensated pursuant to Section 12-A or 12-B for
                                                              such work, be shall be paid the premium for all
                 2. The shift differential shall be           time worked in such work week.
          included in Allowed Time paid when no work Is
          available.                                                An employee's schedule and weekend premium
                                                              shall be Included with the hourly rate only In
                 3. Time worked beyond an employee's          the calculation of pay for hours worked
          regular first or day shift hours for four (4) (including overtime hours) and Allowed Time in
          hours or more will result in payment of the         accordance with Section 17 and 18.
          afternoon shift premium for all hours worked
          during the second or afternoon shift.                     For the purposes of this provision the
                                                              work week shall in all cases commence on Monday.
                 4. Time worked beyond an employee's
          regular second or afternoon shift hours for fos                 ARTICLE VI. ALLOWED TIME
          (4) hours or more will result in payment of the
          night shift premium for all hours worked during Section 17. Call-in Pay
          the third or night shift.
                                                                    An employee called to work on a
                 5. Time worked beyond an employee's          nonscheduled day or shift shall receive not less
          regular third or night shift hours shall result than eight (8) hours' pay at his regular hourly
          in continued payment of the night shift premium rate, except that an employee called to work




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            four (4) hours or less before his regular shift the plant, or efficient maintenance, or addition
            and continuous therewith works his regular shift of facilities requires it, the Company may
            shall receive not less than four (4) hours' pay contract out work to be performed in or out of
            at his regular hourly rate. Any premium pay      the plant. Criteria for considering this
            applicable to the above hours or work will not requt"ement will include but are not limited to
            be used as an offset against the foregoing       the availability of manpower with the necessary
            guarantee.                                       training, ability and skills, the availability
                                                               of the necessary equipment and the time
            Section 18.   Incomplete Day's Work
                                                               const"aints involved in accomplishing the work.
                   A. An employee permitted to come to work
                    -
                                                                    B. The Company is not restricted from
             at the beginning of his scheduled shift without contracting out such bargaining-unit work but,
             having been reasonably notified that there will in cases involving small projects (those
             be no work for him shall receive not less than expected to be less than 300 man-hours) a
             eight (8) hours' pay at his regular hourly rate. reasonable effort will be made to reach a
                                                              mutually acceptable determination regarding the
                   B. An employee permitted to come to work possibility of accomplishing such work with
             at the beginning of his scheduled shift without bargaining-unit employees. The Company will
             having been reasonably notified that there will give good faith consideration to any suggestions
             be no work for him shall receive not less than from the Union to avoid or minimize contracting
             his regularly scheduled hours of work (not to    such projects.
             exceed eight (8) hours) at his regular hourly
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                                               P.   U
                                     ''
                                                          '"        C. At each plant there shall be a
             cases resulting from conditions beyond the       regularly constituted contracting-out committee
             control of the Company, in which cases Paragrap composed of two (2) representatives
                                                                                                  appointed by
             A will apply.                                    the Company and the local union president or his
                                                              designated representative and not more than two
                   C. The Company may assign such an          (2) additional members appointed by the Union.
          ,,-'
             employee work other than In his own              Before contracting out work to be performed
             classification and the employee may not reusm
        ( such work provided the assignment is within the within the plant the Company will, not less than
                                                              five (5) days before the work is commenced,
             reasonable capacity of the Individual to
                                                              notify the designated union representative of
         \erform.                                             the contracting-out committee or his designee.
                                                              Such notice shall Include sufficient anticipated
                   D. This Section does not apply in case s detail regarding location, type, scope,
             resulting from labor disputes, caused, aided,    duration, and time requirements of the work to
             participated in by the Union or employees in tin be performed
                                                                           so that the union committee members
             bargaining unit represented by the Union.        can adequately review the need for contracting
                                                              out.
                         ARTICLE VII. CONTRACTING OUT
                                                                    Should the union committee members believe
                  A. It is the Company's continuing          that a discussion is necessary, they shall
            intention to perform bargaining-unit work withil within
                                                                     five (5) days after notification request
            the plant on facilities and equipment with       a meeting and the Company will meet promptly for
            employees from within the bargaining unit.       this purpose. The parties may by mutual
            However, when and if the efficient operation of agreement, include in
                                                                                    the meeting a member of




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         the classification Involved in the project. At      within twenty (20) days of the appeal to the
         such meeting the parties shculd review the plans    fourth step arid the Company's answer will be
         for the work to be performed and the reasons for    given within fifteen (15) days after the
         contracting out such work. The Company will         hearing.
         give good faith consideration to any suggestions
         by the onion members of the committee and to any          F. Should the Union believe the Company
         alternate plan proposed by the union members for    has failed to properly notify te Union as
         the possible performance of the work by             provided for in Paragraph C, the Union may file
         bargaining-unit personnel. If there Is no           a grievance on compliance with the notification
         dispute following notification or discussion of     time period at the third step of the grievance
         any particular contracting-out matter, such         procedure within five (5) days from the
         matter shall be considered resolved, but without    commencement of the work.
         precedent with respect to any future
         contracting-out matter.                                   G. The time limits set forth in this
                                                             Section shall exclude Saturdays, Sundays,
                D. If after such discussion or during the    holidays, and by mutual consent of the parties
          performance of such work, craft employees are to   may be extended.
          be laid off or subject to short work weeks, the
          Company will make every reasonable effort to             H. Disputes over contracting out other
          reassign work to its craft employees rather than   than those provided for In the Letter of
          to contractors.                                    Understanding on notification issues shall not
                                                             be subject to arbitration but shall be subject
                E. Should a discussion be held and the       to the Union's Right to Strike as provided in
          contracting-out matter not resolved or in the      Section 53.
          event a discussion is not held after
          notification, the Union may file a grievance
          relating to the merits of tie contracting out at               ARTICLE VIII.               SENIORITY
          the third step of the grievance procedure within
          five (5) days of such notice. If the Company       A. Company Seniority       -   Definition
          fails to notify the Union as provided in
          Paragraph C, then not later than five (5) days           Company seniority of an employee is
          from the commencement of the work a grievance      measured by years, months, and days from his
          relating to the merits of the contracting out      last date of hire.
          may be filed at the third step of the grievance
          procedure.                                         B. Departmental Seniority               -   Definition

                The third step hearing will be held within         Departmental seniority of an employee is
          five (5) days and the Company's answer will be     measured by years, months, and days from his
          given within (5) days after the hearing.           first employment in his department, less time
                                                             lost due to:
                If the grievance is not withdrawn or
          settled as a result of the Company's third step          a. Bone fide sickness or accident,
          answer, it may be appealed to the fourth step of   arising from causes outside of company
          the grievance procedure provided such appeal is    employment, in excess of ninety (90) days per
          within the ten (10) days of the third step         calendar year.
          answer. A fourth step meeting will be held




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                                                                      Accumulated Departmental Seniority shall
                 b. Leave of absence in excess of               be the sum of an employee's departmental
           twenty-one (21) days per calendar year, except       seniority in all departments of the Company,
           that time lost during any leave of absence           determined in accordance with the provisions
                                                                                                             as
           granted to an employee is order to permit his' as                                                 of
                                                                this Article, and which has not been terminated
           a union representative to negotiate with the         as provided in this Article, provided, however,
           Company shall not be deducted.                       there shall be no pyramiding of departmental
                                                                seniority in determination of Accumulated
                 c. Layoffs from the employee's regular         Departmental Seniority.
           department in excess of ninety (90) days due to
           lack of work.                                        C.   Presently Qualified   -    Definition
                 d. A disciplinary suspension, when the              "Presently qualified," where used i n this
           suspension exceeds twenty-one (21) calendar         Article, is understood by the parties to mean
           days.                                               that the employee can perform the duties of the
                                                               job classification without additional training
                 e. Employment in other departments except     or experience. Training or experience as used
           as provided for in Section 28 (Transfers) and       above does not Include orientation or break-in
           except that an employee who is temporarily          and the fact that an employee has not previously
           transferred to a department other than his          performed the job classification for the Company
           regular department due to an industrial injury      is not conclusive evidence that the employee Is
           sustained while employed by the Company shall       not presently qualified.
           continue to accumulate seniority in his regular
           department, and if laid off from such other               Criteria to be considered in determining
           department, will accumulate departmental            if an employee is "presently qualified" shall
           seniority in his regular department as though he    be:
           was laid off from his regular department.
                                                                     I. The employee has worked in the job
                 Except that in the case of an employee        classification for the Company, or
           with five (5) years or more departmental
           seniority in the department from which he 4 s             2. The employee has worked in related
           absent, the times specified in a, b, and c above    classifications for the Company, or
                                                                                                           job
           shall be a maximum of one year for any
           continuous absence even though the absence                3. The employee has gained sufficient
           extends beyond one year; and except that, In the    knowledge and experience with the Company or
           cases of permanent shutdown of a department,        elsewhere.
           employees of that department who, at the time of
           the shutdown, had five or more years of             Section 19. Termination of Seniority
           departmental seniority in that department and
           were transferred to some other department with            All seniority of an employee shall
           no departmental seniority in the new department     terminate when he
           shall, in the case of layoff from the new
           department, accumulate departmental seniority as          A. Quits for any reason, except that an
           though they had five years of departmental          employee who ceases work at a plant by
           seniority in that department.                       exercising the option to do so provided him
                                                                                                           in




                                                                                                        SPK00004237
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         Section 23.D.l(b) of this Article shall retain     March of that year. Such reminder will be
         seniority as provided in that Section.             mailed to the laid off employee's last address
                                                            reported to the employment office. Nonreceipt
               B. Is dism i ssed or discharged for          of a reminder does not relieve the laid off
         sufficient and reasonable cause.                   employee of the requirement to make such
                                                            request. A list of the employees, with
               C. Is absent without leave for a period      addresses, to be sent the reminder shall be
         of six (6) days or longer, on which he is          given to the local Union prior to mailing.
         scheduled to work however, a request for a
         leave of absence made before or after the six            G. In addition, the departmental
         (6) days have elapsed will be granted under the    seniority of an employee may be terminated as
         terms of Section 37, provided that in the case     provided herein in Article VIII, Section 25
         of a request made after the six (6) days, the       Restorat1on of Forces), Article VIII, Section
         delay is for reasonable cause.                     26 (Notice of Restoration of Forces), and
                                                            Article VIII, Section 28 (Transfers).
               D. Fails to report for work as provided
         for In Section 26 (Notice of Restoration of              I-I. Grievances concerning terminations as
         Forces).                                           provided In Paragraphs A, C, 0, E, and F of this
                                                            Section may be initiated at Step 2 of the
               E. While unable to work because of a bona    grievance procedure and if the Union is
         fide case of sickness or accident arising from     dissatisfied with the answer at that step, the
         causes outside employment, does not report the     grievance may be submitted to Step 3. If the
         same to the Company as the reason for his          Union is dissatisfied with the answer at that
         absence before six (6) days have elapsed on        step, the grievance may be submitted to Step 4
         which the employee is scheduled to work unless     or directly to arbitration pursuant to Article
         such notification proves to be Impractical.        XIV at the option of the staff representative
                                                            involved.
               F. When laid off due to a reduction of
         forces, does not request, in person or by mail           Termination grievances shall receive
         direct to the Company or through the Union to      prompt attention by the Board of Arbitration.
         the Company by means of a notice signed by the     The Board of Arbitration shall render its
         laid off employee, that he be given the notice     decision within forty-five (45) days after
         of restoration of forces as provided for in        receipt of the transcript of the hearing and any
         Section 26 (Notice of Restoration of Forces) if    post-hearing submission, unless the Board of
         at the time of layoff the employee has less than   Arbitration determines that circumstances
         five years' company seniority. Such request        warrant a longer period of time.
         must be made during the month of March of each
         year. Each request must be sent to the             Section 20.   Prior Seniority
         employment office for the Works In which the
         employee last worked and provide in writing the          An employee's seniority, as accumulated
         employee's name and correct permanent address.     prior to May 8, 1947, the date of this
         Such employee at the time of his layoff will be    Agreement, shall not In any way be changed as a
         given a written notice advising him of this        result of the seniority provisions of this
         clause and will, during each February while the    Agreement, but commencing as of the date of this
         employee is laid off, be mailed a reminder of      Agreement additions to seniority shall be
         the need for him to make such request during       determined by the application of the provisions




                                                                                                 SPK00004238
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           of this Agreement as they have been amended
                                                                        the company seniority of each employee at the
           since May 8, 1947.
                                                                        Works. Such list will be furnished once every
                                                  Representation        six (6) months unless mutually agreed otherwise
           Section 21.   Union Officials      -

                                                                        by the local Union and local Management.
                 Top company seniority for the purpose of
                                                                              The Company will also supply the local
           layoffs and restoration of forces shall be
                                                                        Union with a list of employees on layoff status,
           granted to local Union officials at each plant
                                                                        upon request of the local Union, In accordance
           on the following basis:
                                                                        with procedures to be worked out between the
                                                                        local Union and local Management at each plant.
                 A. The president, vice-president,
           grievance chairman, and other union officials
                                                                              At each location the Management will
           (the latter not to exceed six) regularly dealing
                                                                        provide the local Union with a list of "little
           directly with the grievance procedure or
                                                                        or no" jobs and will update that list as may be
           contract administration and one union
                                                                        appropriate.
           representative involved in the administration of
           the grievance procedure for each one hundred
                                                                        Section 23.   Reduction of Forces and Interplant
           (100) employees in the bargaining agency of the
                                                                        Transfer
           local Union. Each local Union will provide
           works management with a certified list of such
                                                                              A. If, due to a reduction in working
           union officials. The total number so certified
                                                                        forces, in any department (or agreed subdivision
           shall not be changed more often than every six
                                                                        thereof), an employee is to be demoted,
           (6) months.
                                                                        seniority shall, subject to the exception stated
                                                                        in Section 27, determine which employee shall be
                 B. The top company seniority provided In
                                                                        so demoted. Whether this shall be company
           the foregoing shall be applied in the department
                                                                        seniority or departmental seniority shall be in
           in which the employee works. No such seniority
                                                                        accordance with agreements between the local
           shall be exercised unless the union official is
                                                                        plant Management and the local Union, and after
           capable of doing a job which is available in his
                                                                        a period of ninety (90) days from the date of
           department.
                                                                        this Agreement, such local agreement shall not
                                                                        be changed during the life of this Agreement.
           Section 22.   Seniority and Classification Lists
                                                                               B. When it is necessary to lay off in the
                                                                        course of reducing the working forces in any
                 The Company will prepare and have
                                                                        department (or agreed subdivision thereof),
           available for inspection, and where practical
                                                                        company seniority shall, subject to the
           will post in each department, a list showing the
                                                                        exceptions stated in Section 27, govern the
           company, departmental, and accumulated
                                                                        order of the layoffs and the employee in such
           departmental seniority of all employees in that
                                                                        department (or agreed subdivision thereof) with
           department and will revise such lists at least
                                                                        the lowest company seniority shall be laid off
           once every three (3) months. Copies of these
                                                                        first.
           seniority lists will be given to the local
           Union. The Company will furnish the Uhion a
                                                                              C. An employee laid off In any reduction
           weekly list of all changes and additions
                                                                        of forces who has maintained his company
           thereto. The Company will also furnish the
                                                                        seniority and is willing and able to do the job
           local Union with a master seniority list showing
                                                                        shall be given preference for available




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         employment in other departments within the          provision for sufficient and reasonable cause,
         bargaining unit before new employees shall be       during or after the trial period herein
         hired in such other departments.                    provided, in which case all seniority and
                                                             employee status shall terminate in accordance
               D. 1. (a) An employee laid off in any         with Section 19-8 of this Article. Such a
         reductloh of forces who has maintained his          discharge is subject to the provisions of
         company seniority and for whom no suitable work     Article XI, Section 40 (Dismissals and
         is available within the bargaining unit within a    Disciplinary Action) of this Agreement.
         reasonable period of time shall be given
         preference for employment, if available, in               2. An employee who is employed pursuant
         other plants of the Company covered by this         to Section 23-0-1 in a plant at least 50 miles
         Agreement, if he so requests, such preference to    from the plant from which he was laid off and
         be in order of company seniority. Such an           who changes his permanent residence as a result
         employee shall not be rejected for employment on    thereof will receive a moving expense allowance
         the basis of medical and physical requirements      promptly after commencement of his employment at
         more stringent than those in effect for             the plant to which he is relocated, an the
         comparable jobs at his previous plant location.     following terms:
         An employee transferred under the provisions of
         this Paragraph shall retain departmental                 (a) The employee must make written
         seniority accumulated as provided In Article        request for such allowance in accordance with
         VIII, Seniority, Paragraph B, In the plant from     the procedure established by the Company.
         which he was laid off for the purposes of
         determining vacation entitlement under Article            (b) The amount of moving expense
         XVII; and group insurance benefits under Article    allowance will be determined in accordance with
         XVII and SUB entitlement under Article XV. He       the following:
         shall also retain credited service as provided
         for in the Pension Agreement. Such enplcyees so
         employed shall be eligible for a moving expense     Miles                    Allowance For:
         allowance under the provisions of Sectior           Between
         23-0-2.                                             Plant          Employees Without        Employees With
                                                             Locations          Dependents           Dependent(s)
                (b) An employee so transferred shall have
          a trial period of thirty (30) days worked during   50 - 99             $200                    $600
          which either the employee or the Company may       100   299
                                                                    -             250                     650
          decide that continoec employment at that           300   499
                                                                    -             300                     750
          location Is not in the best interests of the       500   999
                                                                    -             350                     950
          employee and/or the Company. If either party so    1,000   1,999
                                                                        -         450                    1200
          decides, the employee will revert to the status    2,000 or more        550                    1450
          previously held except that should such
          employment cease by the employee's initiative,
          he shall net thereby establish or re-establish           (c)(1) The amount of any such moving
          eligibility for the Supplemental Unemployment      expense allowance will be reduced by the amount
          Benefits provided by this Agreement.               of any moving expense allowance or its
                                                             equivalent to which the employee may be entitled
                Notwithstanding the above, the Company may   under any present or future federal or state
          discharge an employee transferred under this       legislation; and the amount of such allowance




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           shall be deducted from monies owed by the          department of the Works as may be decided upon
           Company in the form of pay, vacation benefits,     by the Company, provided that in the department
           supplemental unemployment benefits, pensions, or   to which the employee is to be transferred:
           other benefits if the employee quits, except as
           it shall be agreed locally that the employee had         1. There is work available which the
           proper cause, or is discharged for cause any       employee is able to perform in a vacancy in a
           time during the 12 months following the start of   classification for which he is presently
           such new job.                                      qualified or in a classification for which
                                                              little or no training or little or no experience
                 (2) An employee who moves residence          is required, or
           without also moving his dependent(s) will be
           provided the moving allowance for employees              2. The employee's company seniority is
           without dependents. In the event such employee     greater than that of the employee working in a
           later moves his dependent(s), he shall be paid     classification for which he is presently
           the difference between the moving allowance for    qualified or in a classification for which
           employees without dependents and the moving        little or no training or little or no experience
           allowance for employees with dependent(s).         is required, and he can perform the work, in
                                                              which case the employee will replace the
                 (d) Only one moving expense allowance        employee with the least company seniority in
           will be paid to the members of a family living     such classification. An employee so transferred
           in the same residence.                              hall earn departmental seniority as of the date
                                                              he starts work in the new department.
                 (e) Only one moving expense allowance, as
           covered by this Section, shall be allowed an             F. An employee who rs displaced because
           employee in any twelve (12) month period.          of a major improvement, a major change in
                                                              process, or the permanent elimination of an
                 (3) An employee who is eligible or could     entire operating unit or department shall:
           become eligible for a Rule of 65 Retirement and
           who accepts an offer of SLTE at an employment            1. Be transferred to such suitable
           location listed In Table IV of the Pension         department within the Works as may be decided by
           Agreement between the parties effective June 1,    the Company, provided there are employees in
           1993, at a Group B location shall be paid a        such department with loss company seniority and
           relocation allowance. Such allowances shall be     provided the employee is able to do the work.
           $3,500 plus $4.50 per mile between his home        In such case, the employee In the department
           location and such Group B location, In             with the least company seniority shall be
           accordance with a standard table of mileages       displaced. Such employee when transferred shall
           between locations agreed to by the parties. The    assume the departmental seniority of the
           Relocation Allowance provided above will become    employee he replaces, without prejudice to his
           payable as of the date the employee changes his    seniority for any other purpose.
           permanent residence or three months after the
           start of work at the new location, whichever            .2. If the cause of his displacement
           occurs sooner.                                     involves only part of the department, the
                                                              employee may use his company seniority to
                 E. An employee with one year or more         replace any employee with less company seniority
           company seniority who is scheduled to be laid      from a particular job in such department,
           off shall be offered transfer to such other        Provided he Is able to do the work.




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               3. The local Union anc the local plant        event, for vacation entitlement, group
         Management may agree upon such applications or      insurance, Supplemental Unemployment Benefits
         modifications of this Paragraph F as are            and pension entitlement, such employee shall
         suitable to any particular stuation. Such           retain and continue to accrue seniority and
         situations may include instances deemed by the      pension service accumulated at his home
         Company to represent permanent restructuring.       location, and except that his company seniority
                                                             shall be listed as commencing 60 days prior to
               G. An employee who is otherwise eligible      his start of work at such Group A or B
         or could become eligible for a Rule of 65           employment location.
         Retirement and who accepts an offer of SLTE at
         an employment location in Group A or B will         Section 24.   Notice of Reduction of Forces
         continue to accrue seniority at his home
         location in accordance with the applicable                When a reduction of forces is necessary,
         seniority rules.                                    the Company will post the names of the employees
                                                             to be laid off three (3) days, excluding Sundays
               H. If such an employee is recalled to his     and holidays, prior to such reduction unless
         home location such employee may elect to accept     cancellations or orders, changes in customer's
         or refuse such recall. The effect of such an        requirements, breakdown, accidents or other
         election will be as follows:                        emergency makes such notice impossible. A copy
                                                             of the posted list of employees to be laid off
               1. If an employee accepts a recall to his     will be given to the local Union at the time of
         home location, the employee's seniority at the      posting. Any question or grievance arising from
         location where employed at the time of such         such reduction of forces shall, if possible, be
         recall will be terminated, together with the        presented within the three(3) day period of any
         additional rights under the Income Maintenance      such notice.
         Program pursuant to Section 85 of this
         Agreement, the additional SUB credit units
         pursuant to Section 55 of this Agreement, and       Section 25.   Restoration of Forces
         the eligibility for a Rule of 65 Retirement.
                                                                   A. In the restoration of forces In any
                2. If an employee refuses a recall to his    department (or agreed subdivision thereof), the
          home location, the employee's seniority at such    employee shall be recalled to such department
          home location will be terminated.                  (or agreed subdivision thereof), in the order of
                                                             greatest company seniority, subject to the
                I. If an employee who has accepted an        exceptions stated in Section 27. Employees
          offer of SLTE is subsequently transferred at his   shall have recall rights to their regular
          request to any other employment location, such     department (or agreed subdivision thereof), or,
          employee's rights to any protection or benefit     if such employee is laid off from the Works, to
          under this Agreement will be cancelled.            other departments to a classification for which
                                                             he is presently qualified or to a classification
                J. If such an employee accepts an offer      for which little or no training or little or no
          of SLTE at an employment location in Group A or    experience is required. The employees being
          B, he will have employee status as provided by     recalled to such classifications must be able to
          the applicable Labor Agreement, except that the    perform the work available. In the course of
          probationary employee provisions of that           successive recalls, employees previously
          Agreement will not apply and, except that in any   recalled to other departments shall be recalled




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                                                             Section 26.   Notice of Restoration of Forces
         to their original departments as recalls to such
         departments are made.                                      A   When restoring forces, the Company
                                                             will give notice of such restoration of forces,
               B. The employee working in the department     either by registered mall or in person or by
         who had been demoted because of the reduction of    other adequate means, to the individuals to be
         forces shall, upon restoration of forces In that    recalled and will post In the department the
         department, be returned to the classification,      names of the individuals to be recalled as long
         when available, held prior to such reduction of     in advance of such restoration of forces as
         forces as caused his demotion.                      conditions permit. A copy of the posted list
                                                             will be given to the local Union at the time of
               C. If a vacancy is not filled by a            posting.
         restoration of forces in accordance with
         Paragraphs A and B of this Section, then such             If notice of restoration is given by other
         vacancy shall be filled from among the employees    than registered or certified mall and an
         then working in accordance with Article IX,         employee does not report for work in accordance
         Section 33, New Job Classification, Vacancy In      with Paragraph B below, such notice of
         Classification and Lines of Progression.            restoration will be confirmed by either
                                                             registered or certified mail.
               0. If an employee laid off from his
         department. and transferred to another department         B. If any employee laid off due to a
         refuses to return to the department from which      reduction of forces and not then working In
         he was either transferred or laid off, he shall     another department does not report for work
         lose his departmental seniority In that             within seventy-two (72) hours (excluding
         department.                                         Saturdays, Sundays, and holidays) after such
                                                             notice Is given, unless the employee can show
               E   If an employee, after retiring on a       reasonable cause for not having reported within
         disability retirement, ;an meet the medical         the seventy-two (72) hours after such notice was
         requirements for the job from which he retired      given in which case the seventy-two (72) hours
         and if he is restored to active status in           shall be Increased to ninety-six (96), the
         accordance with Section 5.1 of the Pension          employee shall forfeit his place in that
         Agreement, he will have his seniority               particular restoration of forces unless
         accumulated prior to retirement restored, except    sufficient employees have not been hired to
         that the employee's last date of hire will be       complete such restoration of forces, in which
         adjusted for company seniority purposes to          case the employee shall not forfeit such place
         reflect the period of his retirement status.        until such restoration has been completed.
         Such employee shall be placed in accordance with
         his seniority and ability as though the employee          C. If an employee fails to report for
         had been absent because of sickness.                work as provided above, but does, within a
                                                             period of ten (10) days after the first notice
                F. The local Union and the local plant       Is given, request the notice of the next
          Management may agree upon such applications or     restoration of forces, such request shall be
          modifications of this Section 25 as are suitable   granted. The second notice shall be final, and
          to that location.                                  employees who fail to report for work, as
                                                             provided above, upon the second notice, shall
                                                             lose all seniority.




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               B. The local Union and the local plant       department shall lose his departmental seniority
         Management shall negotiate and establish a         In his former regular department and begin to
         procedure whereby employees may, upon declining    accumulate departmental seniority in his new
         first recall, waive subsequent recalls other       department.
         than to their regular department, provided
         however, that such waiver will result In no              An employee temporarily transferred or
         further accumulation of accumulated departmental   loaned to any department other than his regular
         seniority. Company seniority for the purpose of    department at the request of such other
         recall to their regular department shall           department, shall, if mutually agreed between
         continue to accumulate.                            the local Management and the local Union,
                                                            continue to accumulate seniority In his regular
         Section 27.   Exceptions to the Application of     department. When such employee is requested to
   ii    Seniority                                          return to his former regular department, he may,
                                                            if mutually agreed between the local Management
               A. The Company may hire, retain, or          and the local Union, refuse such request without
         transfer an employee or recall a laid off          any penalty other than the loss of departmental
         employee regardless of his seniority when and if   seniority in his forcer regular department.
         the services of such employee are essential to
         the efficient operation of the plant because of          While any employees are laid off from any
         his special training or ability, provided he is    department, no other employees shall be
         used on a job making use of such special           transferred to such other department (except as
         training or ability, and provided such job         otherwise provided in this Agreement). However,
         cannot be properly performed except by resort to   this paragraph shall rot prohibit daily
         this provision. When the Company desires to        assignments to other departments under
         make use of this provision, the matter shall       circumstances In which laid off employees would
         first be discussed with the Union.                 not normally be recalled.

               B. In layoffs, or demotions in the course    Section 29.   Return to Bargaining Unit
         of a reduction of forces, a'i employee may be
         retained In or recalled to a job classification          Employees who have been promoted to
         regardless of his seniority when there is no       supervisory positions from production and
         other available employee with greater seniority    maintenance units whose employees are part of
         who is presently qualified to perform the job      the bargaining unit and who are subsequently
         classification under the conditions existing       returned shall be deemed to have seniority and
         after the reduction of forces. This exception      be placed as follows:
         does not apply as to job classifications for
         which no training or particular qual1ficatios           A.   Seniority
         are required. Local practices or agreements for
         methods of qualifying employees in connection            1. All employees promoted to supervisory
         with reductions of forces are not in conflict      positions prior to December 19, 1959, and all
         with this Paragraph.                               employees promoted between December 19, 1959,
                                                            and August 1, 1962, who at the time of their
         Section 28. Transfers                              promotion had accumulated one year or more of
                                                            company seniority shall be deemed to have
               Except as otherwise provided in this         company seniority from their date of hire and
         Agreement, an employee transferred to another      shall be deemed to have and accumulate




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           departmental seniority In the department in
                                                            classification then on the lowest
           which they are working as supervisors and to
                                                            classification.
           have lost or retained such departmental
           seniority in the case of transfer to another            2. Employees covered under Paragraph A-2
           department in accordance with Section 28, except
                                                            above who are demoted from their supervisory
           that such departmental seniority shall not be
                                                            positions shall be returned to the department
           deemed to accumulate in relation to those
                                                            from which they were promoted and placed on a
           employees in the department with more company
                                                            job classification to which their seniority
           seniority while such employees are laid off
                                                          ' e ntitles them. If such employees do not ha ve
           beyond thirty (30) days for lack of opportunity. sufficient seniority to remain in such
           to work.
                                                            department, they shall have rights under Section
                                                                                                ',_O   of      this    A,41,.1   •,,    •k,                      -L-.-    ,L,
                                                                                                                                 1.14   I.IIC    CA 4.CII .       .,IGç   the i r
                 2. All employees promoted to supervisory
                                                            seniority entitles them.
           positions between flecember 19, 1959, and August
           I    IflCfl   .1..... a.   ,.L,.   •.......   ..S   4.1.4                   k
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                                                                                                         3.      Employees covered under Paragraph A-3
      HH   accumulated less than one year of company
                                                           above who are demoted from their supervisory
           seniority, and all employees promoted between   positions shall be returned to the department
           August 1, 1962, and June 1, 1977, shall be
                                                           from which they were promoted and placed on the
           deemed to have departmental and company
                                                           job classification to which their seniority
           seniority In accordance with this Article VIII,
                                                           entitles them. If such employees do not have
           as though they had been on layoff from the
                                                           sufficient seniority to remain in such
           bargaining unit.                                             ,,  ..I..,11 k.._                                                                     .._.._                --
                                                                                           •    u.''   '.".'    4.,   .C.y        IICYC         rights         uliutr      tC1Ofl
                                                                                                23-E of this Article, to the extent that their
                 3. All employees promoted to supervisor
                                                                                                seniority entitles them.
           positions subsequent to June 1, 1977, shall be
           deemed to have and accumulate company and                                                  C. Persons who have not been employees in
           departmental seniority In the department in
                                                                                                classifications included In the bargaining units
           which they are working at the time of their
                                                                                                shall not be deemed to have any company
           promotion for a total of ninety (90) days
                                                                                                seniority or departmental seniority for the
           provided they return to a bargaining-unit job                                        purposes of this Section 29.
           before the end of such period, otherwise such
           seniority shall terminate at the end of such          D. Except for persons laid off from the
           ninety-day period.
                                                           bargaining unit In a reduction of forces, and
                                                           except as provided In Section 28 (Transfers)
                 B. Placement upon return to bargaining
                                                           employees in nonsupervisory positions who are
           unit.
                                                           not in the bargaining unit shall have no
                                                           seniority for the purpose of this Agreement.
                 1. Employees covered under Paragraph A-I
           above who are demoted from supervisory position       E. The local Uflion and the local plant
           shal' be returned to the production and         Management may agree upon such applications or
           maintenance unit In which they are then working
                                                           modifications of this Section 29 as are suitable
           In such supervisory position and they shall• be to that
                                                                   location.
           placed on the job classifications in such
           department to which their seniority entitles
           them and on which they have previously worked
           If they have not worked on any such




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         Section 30.   Temporary Supervisors                      E. An employee assigned as temporary
                                                            s upervisorshall remain an employee covered by
               A. The Company may assign employees to       this Agreement. However, such assignment, and
         act as temporary supervisors when a need for       the terms and conditions of employment during
         such assignment arises from short-term absences    such assignment will be decided by the
         of other
                , supervisors due to illness, jury duty,    Management
         vacation or increases in operating requirements'
         above normal levels not expected to be long              F. An employee assigned as a temporary
         term. Commencing June 1, 1980, the accumulated     supervisor will not issue discipline to
         time per indivldua' employee thus utilized shall   bargaining-Unit employees, except that a
         not exceed six (6) months per calendar year.       temporary supervisor will not be prohibited from
         The local parties may agree to such                suspending an employee from work for the balance
         modifications or applications of this              of the shift for alleged misconduct.
         sub-section as are suitable to that location.
                                                            Section 31.   Probationary Employees
               B. An employee will not be assigned as
         temporary supervisor solely to avoid a layoff            There shall be a probationary period of
         called for by his seniority or to effectuate his   sixty (60) days of actual work during which time
         recall from layoff despite lack of sufficient      any new employee shall be entitled to all rights
         seniority. An employee who works as a temporary    granted under :his Agreement, except during such
         supervisor for a work week will not perform        time the Company shall have the sole discretion
         bargaining unit work during that work week.        of discharging or transferring such employee.

               C. An employee who works as a temporary            If an employee is discharged, laid off, or
         supervisor on any given day will not be            terminated during his probationary period and is
         permitted to work overtime in the bargaining       recalled or rehired within one (1) year
         unit within the twenty-four (24) hour perioc       thereafter, the days worked prior to such
         following the completion of such assignment.       discharge, layoff, or termination shall be added
         Any employee who works for three shifts or more    to the days worked after rehire or recall In
         as a temporary supervisor will not subsequently    determining the completion of his probationary
         be permitted to work overtime in the Bargaining    period.
         Unit in that work week. Deviation from this
         restraint may occur when qualified employees are   Section 32. Local Rules
         not otherwise available to perform the necessary
         work.                                                    Other rules dealing with seniority,
                                                            reduction of forces, restoration of forces, and
               D. The use of any bargaining-unit            the other matters dealt with in Article VIII may
         employee as a temporary supervisor shall not       be negotiated DY the local Management and the
         affect the vacation schedule of any other          local Union and when, accepted by both parties
         bargaining-unit employee, nor shall an employee    such local rules shall be in full force and
         assigned as a temporary supervisor be granted a    effect, provided all such rules must be
         more favorable vacation schedule than such         consistert with the terms of this Agreement.
         employee would have been entitled to, except for   Grievances growing out of such rules shall be
         such assignment.                                   subject to the grievance and arbitration
                                                            provisions of this Agreement.




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                                                                employee to whom the trial is given (or his
                    ARTICLE IX. JOB POSTINGS AND
                           WORK ASSICNMENTS                     union representative) has had an opportunity to
                                                                have his case fully considered, provided such
           Section 33. New Job Classification, Vacancy In       case has been properly presented within five (5)
           Classification and Lines of Progression              days, (excluding Saturdays, Sundays, and
                                                                holidays) of the time when such new
                                                                classification or vacancy is temporarily filled.
                 A. When, as covered by this Agreement, a
           new job classification l.s created, or a vacancy
                                                                      D. If a new job classification or a
           occurs in an existing classification in any
                                                                vacancy in an existing classification Is not
           department, it shall be posted in that
           department so that employees in that department      filled as above from within a department,
                                                                consideration shall then be given to employees
           may apply for it.
                                                                from other departments who have on file requests
                 Consideration shall be given to applicants i   for transfer to that department. Such
                                                                consideration shall be on the basis of company
           on the basis of departmental seniority, provlded
                                                                seniority and ability.
           the employees have sufficient ability to
           qualify. Such consideration shall be in the
                                                                      Notices will be posted at up to five
           following order:
                                                                locations in each plant Informing employees of
                First, to employees In a higher                 those departments from which no employees are
          classification in the same line of progression,       laid off and that requests for transfer to those
                                                                departments will be accepted. An employee may
          and in a classification horizontally connected
          within the same line of progression.                  have requests for transfer to as many as three
                                                                departments on file at any one time, except that
                                                                in the case of apprenticeship programs there
                 Second, to employees In the classification
           next below the one in which the vacancy exists,      shall be no limit to the number of applications
                                                                which an employee may have pending at any time.
           and so on down, in accordance with existing
                                                                Requests for transfer will be retained on file
           lines of progression.
                                                                until withdrawn by the employee or until he
                                                                accepts transfer to another department.
                Third, if the vacancy is not filled from
          employees in the line of progression, or if
                                                                      Posting practices presently In effect at
          there Is no existing line of progression
                                                                certain locations which exceed the above will be
          covering the classification, then such
                                                                continued unless It is mutually agreed to change
          consideration shall be given to other employees
                                                                them,
          in the department.
                                                                      E. An employee's failure to fill the new
                B. An applicant who qualifies on the
                                                                classification or vacancy satisfactorily shall
          basis of departmental seniority shall, if heso
                                                                not penalize him with any loss of seniority, and
          requests be given a trial unless It Is obvious
          that such applicant does not have sufficient          he shall be placed. back on his former job.
          ability to fill such new classification or
                                                                      F. Whenever the Company o the Union
          vacancy.
                                                                determines that a change is needed In an
                                                                established line of progression, or that a new
                C. No such new classification or vacancy
          shall be permanently filled until any employee        line of progression should be established, the
                                                                appropriate company and local union
          with greater departmental seliority than the




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         representatives shall meet to discuss the                   B. When an employee is temporarily
         proposed change or new line of progression with       assigned to a lower-rated classification, he
         the objective of reaching agreement. If no            will receive his regular hourly rate of pay for
         agreement Is reached the Company may, or may          the first eight (8) working days or less of such
         not, Institute the change or establish the new        assignment, and will receive the rate of the
         line of progression.                                  classification for the time beyond eight (8)
                                                               working days. The rate paid any individual
               Thereafter, the Union may, within thirty        under this Paragraph will be subject to the
         (30) days, file a grievance at the Third Step of      provisions of Section G (Red Circle
         the grievance procedure. If such grievance is         Differentials) of the Wage Manual.
         not resolved in the grievance procedure, it may ,
         be appealed to arbitration. In determining the        Section 36.   Refusal of Assignment
         appropriateness of a proposed change or new line
         of progression, consideration shall be giver to:            An employee may not refuse a temporary
         the relationship between the classifications,         assignment outside his regular classification
         skills, training, job duties, seniority impact        provided the employee is capable of performing
         and promotional sequence.                             such work. The Company will not make such
                                                               assignments for disciplinary reasons.
         Section 34    Rates on Promotions or Demotion '
                                                                         ARTICLE X.       LEAVES OF ABSENCE
               A. When an employee is promoted to a
         higher-rated job classification, such employee        Section 37.   Employees
         will receive not less than the base rate of such
         higher-rated classification.                                A leave of absence without pay will be
                                                               granted an employee upon request for reasonable
               B. In a posted reduction of forces              cause when the requirements of the plant permit
         employees who are demoted shall receive the rate      under the following conditions:
         of the job to which they are demoted. Shoud an
         employee be permanently demoted from a                      A. An employee absent on leave shall be
         classification, such employee will receive the        considered as having quit if he engages in other
         rate of the job to which he is demoted. The           employment without the consent of the Company
         rate paid any individual under this Paragraph         and the Union.
         will be subject to the provisions of Section 0
         (Red Circle Differentials) of the Wage Manual.              B. A leave of absence shall be for a
                                                               specified period of time. The Union will be
               C. Payment of the rate of the                   notified in writing of any leave of absence and
         classification immediately upon promotion shall       the reason therefor granted for a period of
         not be evidence of qualification for the job.         thirty (30) days or more, and of any extension
                                                               thereof. Notwithstanding any provisions In
         Section 35.   Rates on Temporary Assignments          Section 19, an employee who overstays his leave
                                                               of absence without first notifying his plant
               A. While an employee is temporarily             management and securing permission for the
         assigned to a higher-rated classification, such       extension, unless such notification proves to be
         employee will receive not less than the base          impractical, may be subject to disciplinary
         rate of such higher-rated classification.             action.




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                                                                 ARTICLE XI.   RIGHTS UNDER THIS AGREEMENT
                C. An employee who Is appointed to, or
          campaigns for and serves in full-time political
          office and employees serving in the U. S. Peace    Section 39.   Legal Rights
          Corps and VISTA (Volunteers In Service to
                                                                   This Agreement shall be binding on both
          America) will be deemec to have met the
          "reasonable        requirement of this Section.    the Company and the Union and shall be
                                                             faithfully performed by each and shall apply
          Such leaves may initially be granted for a
          period not to exceed two (2) years, and are        alike to male and female employees.
          subject to renewal on a yearly basis on proper
          application by the employees and according to            Nothing herein shall be considered as
                                                             depriving either party or any employee of any
          the same rules affecting the original issuance
          of the leave.                                      rights or protection granted under any
                                                             applicable federal or state law.
                An employee on such leave, to be eligible
          for reemployment, should apply for reinstatement   Section 40.   Dismissals and Disciplinary Action
          prior to expiration of the leave, or within
                                                                   A. If an employee is disciplined, written
          fifteen (15) days of the termination of the
                                                             notice of such discipline shall be given to the
          political job or separation from the U. S. Peace
                                                             employee. The written notice shall include a
          Corps or VISTA, whichever comes first.
                                                             statement of his right to grieve the discipline
                Employees granted leaves of absence in       and to have union representation.
          accordance with this Paragraph C shall be deemed
          to have the "consent" of both parties called for         B. No dismissal, discharge, or
          in Paragraph A of this Section.                    disciplinary layoff In excess of five (5) days
                                                             shall be Imposed until a suspension period of up
                D. During any such leave of absence, the     to five (5) days shall have elapsed. However,
                                                             during the suspension period the Company may
          employee's company seniority shall not be
                                                             advise the employee and/or the employee's union
          broken, but his departmental seniority shall not
          accumulate beyond the limitations prescribed In    representative of the extent of any further
          Article VIII (Seniority).                          action being considered. Written notices of
                                                             such suspensions and subsequent actions and the
                        Union Officials                      reason therefor shall be given to the employee's
          Section 38.
                                                             grievance representative, when available, and a
                Employees duly elected or selected by the    copy mailed to the president of the local Union
          Union to an office of the Union shall be           at the time such action has been taken provided
          granted, upon request, a leave of absence          the employee does not object to such notices
                                                             being given. The suspended employee may request
          without pay for the period of the term of
          office. Employees on such leave of absence on      a hearing at Step 2 of the grievance procedure.
                                                             In the event a request for a hearing Is made
          or after August 1, 1962, shall not have their
                                                             promptly, such hearing will be held within the
          company seniority broken and their departmental
                                                             suspension period.
          seniority shall accumulate for that period of
          their leave which is subsequent to August 1,
                                                                   If the suspension is revoked or converted
          1962, in accordance with Article VIII, Paragraph
                                                             into a disciplinary layoff, dismissal or
          B (Departmental Senio"ity) as though they were
          on layoff from the bargaining unit.                discharge, the effective date will be the date
                                                             of the suspension.




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               C. If the Union is dissatisfied with the            F. If it is determined that the
         decision at Step 2, the case may be processed       dismissal, discharge, or disciplinary layoff was
         through the grievance procedure.                    not for proper and just cause, the penalty may
                                                             be modified or rescinded and restitution of pay
               D. Where grievances concerning written        may be made within the terms of the grievance
         reprimands or disciplinary layoffs of five (5)      procedure. The Board of Arbitration shall not
         days or less are not resolved at Step 3 and are     have the authority to offset earnings in any
         to be arbitrated, they shall be arbitrated In       such restitution.
         the Expedited Arbitration Procedure unless the
         appropriate representatives agree to refer such           G. In arbitration proceedings, the
         grievance to regular arbitration through regular    Company will not make use of any personnel
         procedures.                                         records of previous disciplinary action against
                                                             the employee Involved where the disciplinary
               Subject to agreement of the local Union ai    action occurred four (4) years prior to the date
         each plant, disciplinary suspensions of five (5     of the event which is the subject of such
         days or less for absenteeism or tardiness shalli    arbitration.
         be administrative in nature and shall not resu1
         in the affected employee being removed from               H. During each step of the grievance
         active work without pay prior to a final            procedure the Union and the Company shall
         determination of the merits of the suspension ii    disclose the pertinent facts and Information
         accordance with the Labor Agreement.                relied upon. Copies of such information and
         Disciplinary action of this nature will become      materials shall be made available.
         part of the employee's personnel record and may ,
         be considered when determining future                       ARTICLE XII.       SUPERVISORS WORKING
         disciplinary action for the employee. The
         parties agree that the administrative nature of           Any supervisor at a plant shall not
         this discipline does not minimize the impact of     perform work on a job normally performed by an
         the disciplinary action or the need for             employee In the Bargaining Unit at such plant;
         correction of employee conduct.                     provided, however, this provision shall not be
                                                             construed to prohibit supervisors from
                E. If a case of dismissal, discharge or      performing the following types of work:
          termination is not resolved at Step 3 it may be
          submitted to Step 4 of the grievance procedure           (a) experimental, development and other
          or directly to arbitration as provided in          research work;
          Article XIV, at the option of the international
          staff representative involved.                           (b) demonstration work performed for the
                                                             purpose of instructing and training employees;
                Dismissal, discharge and termination
          grievances shall receive prompt attention by th          (c) work required by emergency
          Board of Arbitration. The Board of Arbitration     conditions; and
          shall render a decision within 45 days after
          receipt of the transcript of the hearing ad.ap           (d) work which is negligible in amount
          post-hearing submission, unless the Board of       and which also, under the circumstances then
          Arbitration determines that circumstances          existing, it would be unreasonable to assign to
          warrant a longer period of time.                   a bargaining-unit employee.




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                 Work which Is incidental to supervisory     such grievance with his immediate supervisor
           duties on a job normally performed by a
                                                             with or without his union representative as the
           supervisor, even though similar to duties found
                                                             employee may elect, in an attempt to resolve the
           in jobs in the Bargaining Unit, shall not be      matter. The employee, may, if he so desires,
           affected by this provision.
                                                             report the matter directly to such union
                                                             representative or representatives who shall In
                    a supervisor performs work in violatio5      presence of the employee, present the
                                                             the
           of this Article XII and the employee who          grievance to the employee's supervisor who shall
           otherwise would have performed this work can
                                                             be empowered to and shall attempt to resolve it.
           reasonably be identified, the Company shall payi
           such employee  the applicable standard  hourly
                                                                   The supervisor, after discussion, shall
           wage rate for the time involved or for four (4) promptly give his oral answer. If the employee
           hours, whichever is greater    In the event  no
                                                             is not satisfied with the supervisor's answer,
           such employee can be reasonably identified, the . the union representative shall be empowered to
           Company shall pay the grievant the applicable
                                                             resolve, withdraw, or appeal the grievance. If
           standard hourly wage rate for the time Involved
                                            greater.         the supervisor's answer is not accepted, the
           or four (4) hours,  whichever Is
                                                             grievance may be appealed by the union
                                                             representative to Step 2 of the grievance
                 For the purpose of this Article, the tern procedure.
           "supervisor" shall include other
           nonbargalning-unit employees of the Company.            If the grievance is to be appealed to the
                                                             second step, an appeal form as set forth In
                       ARTICLE XIII. GRIEVANCES              Appendix IV attached to this Agreement, shall be
                                                             prepared by the union representative or the
           Section 41. Scope
                                                             supervisor and given to the department head or
                                                             his representative. The appeal form shall be
                 The grievance procedure may be applied to signed by the affected employee or employees or
           any differences, disputes, or complaints          the union representative. It shall be signed by
           regarding the interpretation or application of the Immediate supervisor to verify Its
           this Agreement, or regarding  matters  of wages,
                                                             processing at the first step. The appeal form
           hours, and working conditions excluded from or will be given to the proper union representative
           not covered by this Agreement.                    who normally appeals cases to Step 2 in that
                                                             area.
           Section 42.   Procedure
                                                                 Step 2. (Oral) With the department head
           Grievances may be presented and discussed by an or the department head's representative.
           employee or an employee's Union representative,
           or for a group of employees by their Union            On presentation of an appeal to the second
           representative or representatives. In the       step of the grievance procedure, the appeal form
           following steps:                                shall be signed and dated by the department head
                                                           or his representaYve to acknowledge receipt of
                 Step 1. (Oral) With the Immediate         the appeal.
           supervisor.
                                                                 The grievance shall be discussed between
                 If an employee believes that he has a     the department head or the department head's
           grievance, such employee may present and discus
                                                           representative and the union representative who




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                                                              appropriate recommendations and with appropriate
         shall be empowered to and shall attempt to           extension of time limitations.
         resolve the grievance. Other participants to.
         the discussion shall include the employee                  The grievance shall be discussed between
         complainant, the immediate supervisor involved       the works manager or the works manager's
         and such other witnesses as the parties may, by      representative or representatives and the union
         agreement, invite.                                   representative or representatives who shall be
                                                              empowered to and shall attempt to resolve the
               The department head after discussion of
                                                              grievance.
         the grievance shall promptly give his oral
         answer. The union representative shall be                  The company representative after
         enpowered to resolve, withdraw or appeal the
                                                              discussion of the grievance shall promptly give
         grievance.
                                                              his answer in writing. If the grievance is not
                                                              resolved, the appropriate union representative
               If the grievance is not resolved in Step
                                                              shall be empowered to resolve, withdraw or
         2, a written grievance record shall be prepared      appeal the grlevance.
         by the department head, or his representative,
         after consultation with the union
                                                                    Step 4. With the manager of Industrial
         representative, within three (3) days of the         Relations of the Company.
         delivery of the Step 2 answer. This time limit ;,
         may be extended by agreement of the company and             On presentation of an appeal, accompanied
         the union representative.                            by the grievance record, third step answer and
                                                              the appeal form, the appeal form shall be signed
               The grievance record shall contain the
                                                              and dated by the manager of Industrial Relations
         union representative's statement of the
                                                              of the Company to acknowledge receipt of the
         grievance, a statement of facts agreed to, a
                                                              appeal
         statement of the facts known to be in dispute,
         and the signatures of the proper representatives
                                                                    The grievance shall be discussed between
         of each party. The respective parties shall          the manager of Industrial Relations or his
         cite such contractual provisions as may have
                                                              representative and the union representative who
         been relied upon in the proceedings. The Union       shall be empowered to and shall attempt to
         shall indicate the remedy sought. The Company        resolve the grievance.
         shall record its answer to the grievance
         including reasons therefor.
                                                                    The company representative after
                                                              discussion of the grievance shall promptly give
               Step 3. (Written) With the works manager
                                                              his answer In writing. The union representative
         or the works manager's representative.
                                                              shall be empowered to resolve, withdraw or
                                                              appeal the grievance to arbitration, subject to
               On presentation of an appeal accompanied
                                                              the limitations of the arbitration provisions of
         by the grievance record and appeal form, to the      this Agreement.
         third step of the grievance procedure, the
         appeal form shall be signed and dated by the
                                                                    It Is recognized that the nature of a
         works manager or his representative to               grievance may be such that its initiation at a
         acknowledge receipt of the appeal.
                                                              step above Step 1 is appropriate. In such case,
                                                              the local parties may agree to their initiation
                If the parties mutually agree, a grievanCi
                                                              at a higher step. Without limiting the
          may be referred back to the previous step with




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         foregoing it is specifically agreed that                  Except as provided in Article IV, Sections
         grievances concerning suspensions, disciplinary    6 and 7, a grievance shall be initiated within
         layoffs, dismissals, discharges, and               five (5) days of the time at which the grievant
         terminations may be initiated at Step 2.           became aware of the facts on which the grievance
         Grievances concerning new or changed job           is based, unless precluded from filing a
         classifications, as provided in Article IV,        grievance by some determining circumstance
         contracting out as provided in Article VII, and    beyond his control. In such case the five (5)
         insurance issues, as provided in Article XXII,     day limitation shall become effective when such
         may be initiated at Step 3. When any grievance     determining circumstances ceases. In any event,
         is initiated at Step 3, the grievance record for   monetary liability shall not be assessed for any
         such a grievance shall be prepared at Step 3.      period prior to thirty (30) days before the
                                                            initiation of the complaint.
               Grievances resolved at Step 1 or 2 shall
         be considered resolved without precedent and             A grievance initiated at Step 1 shall be
         shall not be used in the discussion of other       answered within three (3) days.
         grievance or arbitration cases, provided however
         that disciplinary penalties resulting in such            Appeals of grievances to Step 2 shall be
         cases and the violation of which such              within seven (7) days of the answer at the
         disciplinary action resulted shall not be barred   previous step. Hearing at Step 2 shall be
         by this provision from use In other grievance or   within seven (7) days of the appeal to that
         arbitration cases, unless the parties'             step. A grievance record shall be prepared
         representatives at such step shall agree in        within three (3) days of the delivery of the
         writing that a specific resolution of a            answer to Step 2 if the grievance remains
         disciplinary grievance shall be nonprecedent       unresolved at that point.
         setting and noncitable.
                                                                  Appeals of grievances to Step 3 shall be
               Where one or more departments of a plant     within seven () days of the completion of the
         are directly involved, the grievance may be        grievance record. A hearing at Step 3 shall be
         taken up first with the proper supervisor, a       within seven (7) days of the appeal to that
         department head, or superintendent.                step. Grievances heard at Step 3 shall be
                                                            answered within fourteen (14) days of the
                The local Union and the local plant         hearing.
          Management may negotiate such modifications of
          or additions to Steps 1, 2 or 3 or preparation          Unless a time limit applicable to Step 1,
          of the appeal form as may be suitable to the      2, or 3 is extended by mutual agreement, no
          local situation.                                  grievance may be processed outside of the stated
                                                            time limit, except that if a hearing is not held
          Section 43.   Time Limitations                    or the answer is not given at Step 1, 2, or 3
                                                            within the applicable time limit, the Union may
                Grievances shall be processed within the    appeal the grievance to the subsequent step.
          following time limitations, except that the       The time limit for each respective appeal shall
          appropriate parties' representatives may          start as of the time the grievance answer is
          mutually agree to an extension of a time          given or upon expiration of the time in which
          limitation in any particular instance. Neither    such answer is due, whichever occurred earlier.
          party shall unreasonably withhold Its agreement
          to such an extension requested by the other.




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              Appeals to Step 4 shall be within thirty      such conferences shall not result in any loss of
        (30) days of the Step 3 answer or of the            time to any such employees.
        expiration of the time In which that answer is
        due, whichever is earlier. The staff                Section 45     Access to Plants
        representative appealing the grievance will be
        offered a hearing date to be set within sixty             A staff representative of the Union shall
        (60) days from the date of receipt of the           be granted access to the plants of the Company
        appeal. The company and staff representative        for the purpose of investigating grievances
        may agree upon such a date or any other found to    which are being considered by the Union and the
        be mutually acceptable under the circumstances.     Company at the third or fourth step of the
        A Step 4 answer, to be timely, shall be given       grievance procedure provided such investigations
        within forty-five (45) days of the hearing.         do not conflict with any government regulations
                                                            and are in accordance with general rules agreed
              If a hearing at the fourth step is not        upon by the Company and the Union.
        held within the applicable time limit, the
        grievance, if subject to arbitration, may be                      ARTICLE XIV.      ARBITRATION
        submitted to arbitration by the staff
        representative within thirty (30) days of the       Section 46.   Scope
        expiration of the time limit for fourth step
        hearing                                                   Not all grievances are subject to
                                                            arbitration. The scope of arbitration and the
               A grievance heard at the fourth step which   jurisdiction of the Board of Arbitration are
         is subject to arbitration pursuant to Article      defined in Section 50.
         XIV may be submitted to arbitration within
         thirty (30) days of the fourth step answer or            Grievances may be submitted to arbitration
         upon expiration of the time in which such answer   by either party after the grievance procedure
         is due, whichever is earlier.                      has been exhausted subject to the following
                                                            principles and procedure:
               However, if a grievance is not appealed to
         arbitration within fifteen (15) days from the      Section 47.   Board of Arbitration
         start of the applicable appeal period, monetary
         liability will not accumulate for the time               A Board of Arbitration is hereby created
         elapsing between the end of such fifteen (15)      consisting of one representative of the
         day period and the time the appeal is made.        International Union (to be appointed by the
                                                            Chairman of the Alcoa Negotiating Committee),
               Time limitations, as specified in this       one representative of the Company and a third
         Section 43, shall be calendar days exclusive of    party, wholly disinterested, to be appointed by
         Saturdays, Sundays and holidays specified in       the respective parties for such period of time
         Article V. Section 13.                             and upon such financial and other terms as may
                                                            be agreed upon. Such third party shall be
         Section 44.   Pay for Lost Time                    entitled the Umpire.

               When local plant conferences between any     Section 48.   Duties of Board
         employees (Including the union representative or
         representatives) and the local plant Management    It shall be the duty of the Board to hear
         are held during their regular working hours,       disputes on subjects within Its jurisdiction




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                                                              50, It shall dispose of the case by reducing
          certified to It by the Union or the Company         such determination to writing and may then refer
          after the grievance procedure of the Agreement      the dispute to the parties.
          has been exhausted. Such hearings shall be held
          in the vicinity (as presently designated by the          C. The Board shall not take jurisdiction
          parties) of the plant which is arbitrating the     of any dispute or grievance arising under any
          grievance, unless another place be unanimously     prior agreements.
          designated.
                                                                   D. The proposals made by each party with
                All decisions or awards of the Board shall
                                                             respect to changes in the basic labor
          be made by majority vote and shall be issued       agreements, and the discussions had with respect
          under the sole signature of the Umpire.            thereto, during the negotiations of the 1962
                                                             Agreement or subsequently shall not be used, or
          Section 49.   Finality of Awards
                                                             referred to, in any way during or in connection
                                                             with the arbitration of any grievance arising
                The decisions and awards of the Board        under the provisions of the basic labor
          shall be final and binding upon the parties.
                                                             agreements.
          Section 50.   Jurisdiction of the Board
                                                             Section 51.   Costs
                A. The Board shall regard the provisions
                                                                   The compensation and expenses of the Board
          of this Agreement as the basic principles and      representative of each party shall be borne by
          fundamental law governing the relationship of      such party. The compensation and expenses of
          the parties. The Board's function Is to            the Umpire shall be borne equally by the
          Interpret the provisions of the Agreement and to
                                                             parties.
          decide cases of alleged violation of such
          provisions. The Board shall not supplement,
                                                                   Interest shall be added to back pay awards
          enlarge, diminish, or alter the scope or meaning
                                                             granted by the Board of Arbitration which are
          of the Agreement as it exists from time to time,   not paid within thirty (30) working days from
          or any provisions therein nor entertain            the date the Company receives the decision.
          jurisdiction of any subject matter not covered
                                                             Such interest at the then prime rate, w-ill begin
          thereby (except to the extent necessary to         to accrue on the thirty—first (31st) day unless
          determine its jurisdiction). Without limiting
                                                             the Company is able to demonstrate the need for
          the foregoing, the subjects of wages, production   additional time to assemble the necessary data
          standards, and contracting out except as           to compute the back pay award in which case such
          specifically provided in the letter regarding      thirty (30) day period will commence with the
          the notification procedure are by this Section
                                                             date the data is available. Where it is
          excluded from arbitration, except that wage
                                                             necessary to obtain a clarification of the
          rates are arbitrable for new or changed job
                                                             Board's decision such thirty (30) day period
          classifications under Article IV of this           will commence with the date the Company receives
          Agreement, and except that questions of
                                                             clarification of the award.
          compliance with Article III are arbitrable.

                B. Whenever the Board may determine that
          the subject of a dispute is, or a decision or
          award thereon would be, beyond the Board's
          jurisdiction, or would contravene this Section




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        Section 52    Rules                                 Section 54.   Expedited Arbitration Procedure

              The rules for the functioning of the Board          A panel of arbitrators shall be maintained
        of Arbitration are set forth in Appendix VL o       for each plant area by the headquarters
        this Agreement. However, the Board may, by          representatives of the parties. The Rules of
        unanimous vote, make such other rules and           Procedure for Expedited Arbitration shall be
        regulations for the conduct of its business as      maintained by the headquarters representatives
        do not conflict with these provisions               of the parties and modified by them as deemed
                                                            appropriate. Their expenses and fees of the
                                                            expedited arbitration proceedings shall be borne
        Section 53.   Agreement Against Sirikes or          equally by the Company and the local Union.
        Lockouts
                                                                  As to any grievance appealed directly to
              As to any disputes subject to arbitration,    expedited arbitration under Article XI, Section
        the union agrees that it will not cause nor will    40, Paragraph D, such appeal shall be made by
        its members take part in any strike or work         the appropriate Union representative so
        stoppage, and the Company agrees that it will       notifying the Company's Step 3 representative
        not cause any lockout.                              within seven (7) days of the receipt of the Step
                                                            3 answer to the grievance.
              As to any dispute not subject to
        arbitration, no strike, work stoppage, or                 As to any grievance appealed to Step 4 of
        lockout will be caused or sanctioned until          the grievance procedure, the Step 4
        negotiations have continued for at least five       representatives within fifteen (15) days after
        (5) days at the final step of the bargaining        receipt of such appeal shall review the
        procedure described in Article XIII. Thereafter     grievance and communicate with one another and
        any strike which occurs under such circumstances    jointly determine whether such grievance shall
        shall not be deemed to be a violation of this       be referred back to Step 3 for final
        Agreement, which shall continue to remain in        disposition.
        full force notwithstanding such strike.
                                                                  As to any grievance referred back to Step
               During the life of this Agreement, the       3, the Union's Step 3 representative may appeal
         Urion will not cause nor will its members take     it to the Expedited Arbitration Procedure by
         part in any slow-down or similar interference      notifying the Step 3 representative of the
         with production, nor withhold services in          Company within seven (7) days of the receipt of
         recognition or support of issues between parties   the referral from Step 4.
         other than the parties to this Agreement.
                                                                  The Step 3 representatives shall then
               The Union agrees that the Company has the    arrange for handling in Expedited Arbitration as
         right to discipline or discharge anyone guilty     follows:
         of violating the provisions of this Section. In
         the event of an appeal to the Board of                   I. The list of members of the panel
         Arbitration of a grievance involving action        applicable to that plant shall be maintained
         taken under this paragraph, the Board shall have   alphabetically to be used by fixed rotation.
         the right in its discretion to affirm, reverse,    The next panel member shall be contacted and
         or modify the discharge or disciplinary penalty.   requested to serve on the case or cases
                                                            designated for Expedited Arbitration at a time




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    11.
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                                                             basis for such conclusion. These decisions will
          and place agreed upon by the Step 3                not be cited as a precedent in any discussion of
          representatives. The date for the hearing shall    grievances at any step of the grievance
          be within ten (10) days of the appeal unless an    procedure or in subsequent arbitration, except
          extension of time is mutually agreed by the Step
                                                             that the disciplinary outcome of such cases and
          3 representatives. The rotation shall be
                                                             the violation for which such disciplinary action
          followed until a panel member accepts the          resulted shall not be barred by this provision
          assignment. The next assignment shall be           from use in other grievances or arbitration
          offered to the next panel member in the            cases at the same location. However, when
          rotaticn.                                          previous disciplinary cases decided in Expedited
                                                             Arbitration are cited in subsequent grievances
                2. The hearing shall be conducted in         or arbitration cases, the citation shall be
          accordance with the following:                     limited to the result of that prior decision.
                                                             The decision Itself shall not be presented. The
               (a) The hearing shall be informal             authority of the Arbitrators shall be the same
                                                             as those provided in this Article XIV cf the
               (b) No briefs shall be filed or               Labor Agreement between the parties.
          transcripts made.
                                                                   4. The parties agree that the grievance
                (c) There shell be no formal evidence        appropriate for handling through the Expedited
          rules.                                             Arbitration Procedure should not involve novel
                                                             problems or Issues which have extensive
               (d) Each party's case shall be presented      contractual significance or which are unusually
          by a previously designated representative.         complex or which are beyond the jurisdiction of
                                                             the permanent Arbitrator.
                (e) The Arbitrator shall have the
          obligation of assuring that all necessary facts          5. The decisions in Expedited Arbitration
          and considerations are brought before him by the   shall be consistent with the decisions of the
          representatives of the parties. In all             permanent Arbitrator for the Company and the
          respects, the Arbitrator shall assure that the     Union.
          hearing Is a fair one.
                                                                   6. Duplicate originals of a dision
                (f) If the parties acting jointly or the     shall be furnished to the representatives
          Arbitrator conclude at the hearing that the        presenting the case, and copies shall be
          issues involved are of such complexity or          furnished to the union's Step 4 representative
          significance as to require further consideration   of the plant involved, the union's international
          by the parties, the case shall be referred to      office (Arbitration Department) and the
          the Fourth Step and it shall be processed as       company's manager of Industrial Relations.
          though appealed on such date.
                                                             ARTICLE XV.   SUPPLEMENTAL UNEMPLOYMENT BENEFITS
                3. The Arbitrator shall render his
          decision within forty-eight (48) hours after             This Supplemental Unemployment Benefits
          conclusion of the hearing (excluding Saturdays,    Plan is designed to provide a covered employee
          Sundays, and holidays). The Arbitrator's           who becomes wholly or partially unemployed (a)
          decision shall be based on the record developed    Weekly Benefits to provide income while he Is on
          by the parties before and at the hearing and       layoff, and (b) Short Week Benefits for any week
          shall include a brief written explanation of the




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        in which he is partially uneoip'oyed, that is, he             (i) as the length of layoff may exceed
        works some, but less than 32 hours for the              the duration of such state benefits to which he
        Company.                                                is entitled,

              A three-tiered program is established                   (ii)if he is compensated or receives a
        wherein employees are grouped depending upon            public or private pension payment (other than a
        their years of accumulated departmental                 pension payment wholly or partially financed by
        seniority. The Tier I group comprises those             the Company) In an amount which disqualifies him
        employees who have 2 but less than 10 years of          for state benefits,
        accumulated departmental seniority; the Tier U
        group comprises those employees who have 10 but               (iii)if he is on layoff on account of a
        less than 20 years of accumulated departmental          shutdown of the plant or department for vacatior
        seniority; and the Tier III group comprises             purposes and is ineligible for vacation pay,
        those employees who have 20 or more years of
        accumulated departmental seniority.                           (iv)if he did not have a sufficient
                                                                period of work in employment covered by the
        Section 55.   Weekly Benefits                           state system,

              1. Weekly Supplemental Unemployment                     (v) if he fails to receive a state
        Benefits shall be payable to employees covered          unemployment benefit because he is not
        by this Agreement who have two or more years'           physically able to work provided he became
        accumulated departmental seniority at the               disabled while on layoff and after sickness and
        beginning of the layoff. For purposes of this           accident coverage ceased under Article XXII, and
        Article, an employee shall be considered as             he supplies the same certification of disability
        having been laid off in any week in which,              as would be required for sickness and accident
        because of lack of work, he is not scheduled or         benefits If such coverage had not ceased. Any
        assigned to work for the Company.                       disability benefit paid under or pursuant to a
                                                                state or federal law with respect to the period
              2. A layoff shall not include one                 for which a Weekly Benefit is paid under this
        occasioned by (a) disciplinary reasons; or (b)          paragraph shall for the purposes of this Article
        strike, slow down, work stoppage, picketing, or         be deemed to be a state unemployment benefit.
        other labor dispute involving any employee or
        group of employees of the Company, at the                     (vi) if he does not receive a state
        company's plant, or involving the Union whether         unemployment benefit solely because he is
        at the company's plant or elsewhere; or (c) a           participating in a training program established
        hostile act of any foreign government.                  under or pursuant to federal law. In such case
                                                                any Income received by him under that program
              3. To qualify for a weekly supplemental           shall be deemed to be a state unemployrhent
        benefit in any week, the laid off employee              benefit.
        shall
                                                                      (b) have made application for benefits
              (a) be eligible for a state unemployment          from the, Company no later during the week
         benefit (including any state requirement for           following the week for which benefits are
         application) except:                                   payable, at a time and place designated by the
                                                                Company. The place at which reporting and
                                                                applying are required will be at or near the




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         location where the employee was last employed;         104 weeks for Tier III employees; (except as
         If such place is an unreasonable distance from         provided in Paragraph 11 (a) and (b) except
         the employee's residence, or if he leaves the          however, an employee shall not be eligible for
         area to seek work, the Company shall, upon             benefits in excess of 52 weeks If such employee
         request of the employee in person, grant               has refused to accept an assignment to any
         permission' to report at another company location      appropriate work at the work location where
         where an adequate office for such reporting is         employed.
         maintained. If no such office is within
         reasonable distance, the Company shall, upon                 Employees who complete either 10 years of
         request of the employee in person, grant               accumulated departmental seniority or 20 years
         permission to report and apply by mail. An             of accumulated departmental seniority shall have
         employee applying for a Weekly Benefit pursuant        their weeks of benefits eligibility increased by
         to Paragraph 3(a)(v) may report and apply by           26 at the time they complete each such seniority
         irafl. The necessary forms and instructions for        provided they are actively at work on that date.
         making S. U. B. applications by mail shall be          If not actively at work on that date, weeks of
         supplied by the Company to the employee at the         benefits eligibility shall be so increased at
         time his request for mail reporting Is granted.        the time such employee returns to active work.
         No employee shall receive a Weekly Benefit until
         be shows that he received a State unemployment               For purposes of this Article XV the phrase
         benefit for the week or failed to receive such         "actively at work" means an employee is present
         benefit for a reason which does not disqualify         at work for the Company. "Actively at work"
         him from receiving a Weekly Benefit. This may          shall also include an employee who is on
         be done by showing a State check or by some            vacation scheduled under the Vacation Plan of
         other method, which must reasonably provide for        the Company or is absent from work because of a
         securing such proof.                                   paid holiday, a paid jury or witness day, a paid
                                                                bereavement day, a short-term absence due to
                (c) not be receiving or claiming any            authorized local union business or an off day
          sickness or accident or disability benefit, or        within the employee's working schedule provided
          any pension or retirement benefit wholly or           in all cases such employee was present at work
          partially financed by the Company, for which he       on the last scheduled working day immediately
          Is eligible.                                          preceding such vacation or absence listed above.

                 (d) not be receiving a week's vacation                If an employee Is recalled to work, his
          pay.                                                  remaining weeks of benefits eligibility in any
                                                                subsequent layoffs shall be increased to his
              (e) not be in military service (Including         tier -maximum at a rate of one-half week for each
         training encampments).                                 week thereafter in which he has any of the
                                                                following hours:
               4. Weekly Benefits shall be payable, to
         employees meeting the qualifications of                     (a) Hours worked for the Company,
         Paragraph 1, and who have not been on continuous
         layoff for more than two years for periods of                (b) Hours not worked but for which he Is
         layoff not to exceed their weeks of benefits           paid, such as vacation hours or hours for which
         eligibility. The maximum number of weeks of            he received jury or witness pay or bereavement
         benefits eligibility shall be 52 weeks for Tier        pay.
         I employees, 78 weeks for Tier II employees and




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             (c) Hours not worked and not paid for but    employee's state unemployment benefit is reduced
       which were lost because:                           or elimina:ed because of the receipt of a public
                                                          or private pension.
             (I) He was performing his duties as a
       member of the Grievance Committee, or president,         (I) Where the employee's state
       vice-president, recording secretary, financial     unemployment benefit is reduced solely because
       secretary and/or treasurer of a local of the       of the receipt of a public or private pension,
       Union which is his collective bargaining           the Weekly Benefit shall be 28 hours of average
       representative, or                                 straight time hourly earnings minus the amount
                                                          of state unemployment benefit received.
             (ii) He was absent because of disability
       for which benefits are payable under a Workers'          (ii) Where the employee's state
       Compensation or Occupational Disease law or the    unemployment benefit is eliminated solely
       Company Program of Insurance Benefits.             because of the receipt of a public or private
                                                          pension and the employee is not in receipt of
             An employee who receives benefits which      compensation, the Weekly Benefit shall be 28
       are reduced under Paragraph 6 shall be deemed to   hours of average straight-time hourly earnings.
       have used only three-quarters of a week of
       eligibility unless his benefit was so reduced by         (ill) Where the employee's state
       one-half or more, in which case he shall be        unemployment benefit is eliminated because of
       deened to have used only one-quarter of a week's   the receipt of a public or private pension and
       eligibility. Any employee having less than a       compensation, the employee would not have
       full week's eligibility for any week shall be      otherwise been disqualified for a state
       entitled to receive a proportionate benefit for    unemployment benefit because of receipt of
       such week.                                         compensation, the Weekly Benefit shall be as
                                                          computed in (a) above plus that portion of the
             5. (a) The amount of an employee's Weekly    public or private pension used in the reduction
       Benefit (subject to the provisions of Paragraph    of the State unemployment benefit.
       6 through 10 of this Section and Paragraph 3 of
       Section 57) shall be 28 hours of average                 (iv) Where the employee's state
       straight time hourly earnings (computed for the    unemployment berefit is eliminated because of
       last calendar quarter which ended one month or     the receipt of public or private pension but the
       more prior to the beginning of the employee's      employee would have otherwise been disqualified
       layoff, excluding pay for vacations, extended      for a state unemployment benefit because of the
       vacations and holidays from such calculation of    receipt of compensation, the Weekly Benefit
       straight-time hourly earnings and adjusting for    shall be as computed in Paragraph 6(a).
       any intervening general wage change) minus the
       amount of the state unemployment benefit the             (c) In the event that Trade Readjustment
       employee receives or, if he Is only partially      Act benefits are payable to an employee who is
       unemployed, the amount he would have received      also receiving a state unemployment benefit,
       for that week if totally unemployed.               such T.R.A. benefits shall not be deducted from
                                                          the employee's Weekly Benefit. In those weeks
             (b) In the application of (a) above, the     for which no state unemployment benefits are
       following shall apply (subject to the provisions   payable, such I.R.A. benefits shall be deducted
       of Paragraph 6 through 10 of this Section and      but limited to the amount of a full state
       Paragraph 3 of Section 57) in cases where the      unemployment benefit if it had been payable,




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           assuming the employee in all respects is           limit. In other weeks, the maximum Weekly
           otherwise qualified for the State unemployment     Benefit for employees in Tier I shall be $260.00
           benefit                                            and for employees In Tier II and Tier III there
                                                              shall be no maximum Weekly Benefit.
                 6.(a) An employee who Is or would be
           disqualified for state unemployment benefits             In the case of an employee who accumulates
           solely because of the receipt of compensation      two years' departmental seniority after he has
           shall have his benefit as computed in Paragraph    established a state benefit year, he shall be
           5(a) reduced by the amount by which his            deemed to receive state unemployment benefits
           compensation exceeds the sum of:                   for the number of weeks subsequent to his
                                                              exhaustion of state benefits equal to the number
                 (I) the state unemployment benefit he        of weeks in that benefit year in which he
           would have received for that week if totally       received state benefits although not yet
           unemployed and                                     eligible under this Agreement.

                 (ii) the maximum amount, not in excess of          9. To the amount set forth above shall be
           $10.00, which is disregarded by the state in       added $1.50 per week for each dependent for whom
           calculating unemployment benefits for partial      the personal exemption deduction is allowed the
           unemployment.                                      employee under federal income tax laws, but such
                                                              additional amount shall not exceed $6.00 per
                 (b) An employee who is or would be           week.
           Ineligible for state unemployment benefits, for
           a reason other than the receipt of compensation,          10.In such instances as the Company
           shall receive a Weekly Benefit equal to the suef   determines that state unemployment benefits are
           of the state unemployment benefit, If any, and     not payable to an eligible employee because of
           the Weekly Benefit which he would have received'   the receipt of such supplemental unemployment
           under Paragraph 5, or subparagraph (a) of this     benefits from the Company, the Company and Union
           Paragraph 6, except for his ineligibility for a;   shall determine a suitable alternate method of
           state benefit.                                     payment. Such method of payment shall be
                                                              effective as of the date of the Company's
                 7. The amount of benefits to which a         determination that supplementation is not
           part-tine employee is entitled shall be cornpute   p ermitted.
           as above, except the 28 hours shall be reduced
           in the proportion that the part-time employee's        11. (a) If an employee who would be
           regularly scheduled hours per week bear to 40. eligible for a Rule of 65 Retirement under the
           A part-time employee is an employee who, for hi   ension Agreement effective June 1, 1993, except
           own convenience, works less than the regularly for the fact that the Company has not yet
           scheduled hours.                                 determined whether he will be offered "Suitable
                                                            Long-Term Employment" (SLTE) as defined In
                 S. Notwithstanding the above an employee Appendix A of such Pension Agreement exhausts
           who receives a state unemployment benefit, or I; his weeks of benefits eligibility, the Company
           ineligible for such benefit solely because of    shall grant the employee weeks of benefits
           the receipt of compensation or a public or       eligibility to provide Weekly Benefits for which
           private pension payment as set forth In          the employee may otherwise be eligible for
           Paragraph 3(a)(1i), shall have his Weekly        whatever period of time that it may require to
           Benefit calculated without a maximum benefit     offer SLTE or to determine not to offer SLTE.




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               (b) If an employee who is otherwise          hours are worked for the Company, unless the sum
         eligible or could become eligible for a Rule of    of hours described in Paragraph 2 below equals
         65 Retirement accepts an offer of SLTE at an       or exceeds 32.
         employment location included in Group A or B of
         Table IV of the Pension Agreement effective June         2. A Short Week Benefit for a particular
         1, 1993, and is subsequently laid off at any       week will be calculated by multiplying the
         time during the two-year period following the      employee's standard hourly wage rate by the
         date on which he starts work at the new            difference between 32 and the sum of the hours:
         employment location, the employee will be
         afforded the following additional protection.            (a)He worked in the week, ard
         If the employee's weeks of benefits eligibility
         become exhausted, the Company will grant                 (b)He did not work but for which he was
         whatever additional weeks of benefits              paid by the Company, provided, however, that
         eligibility may be necessary to permit             hours for which he was paid for one unworked
         continuation of any Weekly Benefits for which      holiday shall not be counted, and
         the employee may be otherwise eligible during
         such layoff.                                             (c)He did not work for reasons other than
                                                            lack of work.
               12. No weekly benefit of less than $2.00
         will be paid, nor will any week of eligibility,          3. If the employee applies for state
         or fraction thereof, be cancelled for any week     unemployment benefit for any portion of the
         in which the Weekly Benefit would have been les    week, he must notify the Company of such
         than $2.00.                                        application and of the total amount of any such
                                                            benefit received. One-seventh of the amount of
               13. An employee is not eligible to           such state unemployment benefit will be deducted
         receive a Weekly or Short Week Benefit if he       from the amount calculated in accordance with
         receives, or is eligible to receive, a simiar      Paragraph 2 above for each day of the State
         benefit under an arrangement provided by an        benefit week which falls within the payroll week
         employer with whom he has more service than with   for which the Short Week Benefit is paid.
         the Company.
                                                                  4. Short Week Benefits shall be paid
               14. If pursuant to any federal law, or       directly by the Company and-shall not be charged
         the law of any state or political subd i vision,   against the contributions to or the finances of
         an employee receives or would be eligible to       the SUB plan. Paragraphs 3(b) and (c) of
         receive any benefit or payment because of layoff   Section 57 shall not apply to Short Week
         or employment displacement resultant from an       Benefits.
         energy crisis, such benefit or payment shall be
         considered and tfeated as State Unemployment             5. A Short Week Benefit will be paid to
         Compensation for the purpose of this Article.      the employee, without, application by him for any
                                                            week for which he qualifies.
         Section 56.   Short Week Benefits
                                                                  6. One-half week of eligibility will be
               1. An employee having two or more years      cancelled for each Short Week Benefit.
         of accumulated departmental seniority will
         receive a Short Week Benefit from the Company            7. If pursuant to any federal law, or the
         for any week in which some, but less than 32,      law of any state or political subdvlslon an




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          employee receives or would be eligible to            as in (a) above, shall be less than .35, the
          receive any benefit or payment because of layoff     benefits otherwise payable during the month
          or employment displacement resultant from an         shall be reduced in accordance with the
          energy crisis, such benefit or payment shall be      following table:
          considered and treated as State Unemployment
          Compensation for the purpose of the Article.
                                                                                                 The Portion of the
                                                                     When the ratio is:           Benefit Paid is
          Section 57.   Finance
                                                              .25 or more but less than .35            60°/
                1. For each month the Company shall           .15 or more but less than .25            30%
          compute a Maximum Benefit Limit. Such Maximum
          Benefit Limit shall be equal to thirty (30)               (c)In the event that such ratio shall be
          cents per hour worked In the first twelve of the    less than .15, no benefit shall be paid until
          previous thirteen months.                           such month as the ratio shall exceed .15; In no
                                                              event however hall the total benefits paid
                2. For each month the Company shall           during any month exceed the Available Benefit
          compute an Available Benefit Limit, which shall     Limit calculated for such month.
          be the Available Benefit Limit for the preceding
          month adjusted by subtracting the Weekly                   (d)Notwithstanding Paragraphs 3(b) and
          Benefits paid during the second preceding month,    (c) above, the Company guarantees that all
          and adding the amount required to bring the          Weekly Benefits payable under the Plan shall be
          Available Benefit Limit up to 125 percent of the     paid in full to employees who are in Tier II or
          Maximum Benefit Limit; but such additional           Tier III. To the extent that Weekly Benefits to
          amount shall not exceed an amount computed by        such employees are reduced pursuant to
          multiplying (I) nine and one-half (9.5) cents       Paragraphs 3(b) and (c), the Company shall
          times the hours worked In the second preceding       advance to the trust fund the amount by which
          month until the Available Benefit Limit has been    the Weekly Benefits paid to such employees
          brought up to the Maximum Benefit Limit and (Ii);    pursuant to Paragraphs 3(b) and (c) need to be
          an additional fifteen (15) cents times the hours'   supplemented to provide full payment. The
          worked in the second preceding month. The           Company shall maintain a separate record of such
          addition of the fifteen (15) cents shall be         advances. In any month in which there is an
          subject to the provisions of Paragraph 3(d).        outstanding balance of such advances, and the
                                                              Available Benefit Limit would otherwise exceed
                3. (a) For each month the Company shall       the Maximum Benefit Limit, the Company may
          compute the ratio of Available Benefit Limit to     reduce the additions which would otherwise be
          the Maximum Benefit Limit. Until the first          made to the Available Benefit Limit pursuant to
          month after May 1983, in which the ratio of the     Paragraph 2, but such reduction shall not reduce
          Available Benefit Limit to the Maximum Benefit      the Available Benefit Limit below the Maximum
          Limit calculated on the basis of thirty (30)        Benefit Limit. Any such reduction in the
          cents equals at least one, the ratio shall          additions which would otherwise be made to the
          continue to be calculated by reference to a         Available Benefit Limit shall be recorded as a
          Maximum Benefit Limit based on twenty-three (23)    credit against the outstanding balance of
          cents.                                              advances made pursuant to this paragraph.
                 (b) If the ratio of the Available Benefit          4. The word "month" as used in this
           Limit to the Maximum Benefit Limit, calculated     Article shall be construed to mean a four or




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        five-week period, depending upon the number of             10.Disputes arising from the application
        weekly payroll ending dates falling within a         of supplemental unemployment benefits shall be
        calendar month.                                      initiated at the third step of the grievance
                                                             procedure.
              5. The Company shall continue the trust
        fund established under the Agreement dated               11.Upon the expiration of this Agreement,
        August 1, 1956, which is administered by a         the Company shall have the right to suspend or
        trustee selected by the Company. All payments      terminate contributions, except as may be
        of benefits shall be made from the trust fund      otherwise provided in any subsequent agreement
        and for each month, the Company shall contribute   between the Company and the Union. If
        to the fund an amount to cover all benefits        contributions are terminated, any assets then
        payable.                                           remaining in the fund, plus that portion of the
                                                           Available Benefit Limit made up of accrued
              6. Federal Income Tax Ruling. Continued      liability, shall be subject to all the
        contributions to the Plan shall be conditioned     applicable provisions of this Article and shall
        upon the continuation in effect of the ruling of   be used until exhausted to pay similar benefits
        the Commissioner of Internal Revenue that such     to applicants laid off or thereafter laid off In
        contributions constitute a currently deductible    the order, each week, of the respective dates as
        expense for income tax purposes under the          of which they were laid off. In such case, the
        Internal Revenue laws of the United States.        provision for reduction of benefits of Paragraph
                                                           3 of this Section shall not be effective.
              7. Fair Labor Standards Act Ruling.
        Continued contributions to the Plan shall be             12.The Union shall be furnished, on forms
        conditioned upon the continuation In effect of     and at times to be agreed upon, such information
        the ruling of the United States Department of      as may be reasonably required to enable the
        Labor that no part of such contribution shall be   Union to be properly Informed concerning the
        irciuded in the regular wage rate of any           operation of the Plan.
        employee.

              S. Withholding Provision. If the Company                ARTICLE XVI.   BULLETIN BOARDS
        or trustee at any time shall be required to
        withhold any amount from any payment of                  The Company will provide union bulletin
        benefits, by reason of any federal, state,         boards in the principal departments of or at
        county, or municipal law or regulation, the        other suitable locations in each plant and will
        Company or trustee shall have the right to         post thereon notices (not larger than legal
        deduct such amount from such payment.              caption paper) of union meetings and union
                                                           activities as may be submitted by the Union for
              9. If an employee is disqualified from       such posting.
        supplemental unemployment benefit payments for
        the reason that his eligibility for state                       ARTICLE XVII.         VACATIONS
        unemployment Insurance benefits is in dispute,
        and withheld pending a ruling from an Appeal to          The following regulations shall govern the
        the State, company benefits shall not be paid      Vacation Plan for Hourly-Rated Employees.
        but shall be set aside pending such state
        ruling.




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          Section 58.   Eligibility
                                                             Forces, for the, purpose of determining whether
                                                             1000 hours have been worked during the
                1. An employee shall be entitled to a        immediately preceding 365 days, and will be
          vacation with pay during a calendar year If, at    credited with accumulated departmental seniority
          December 31 of the preceding year or at any time   for the balance of such year for the purpose of
          while such employee is working between January 1   satisfying the seniority requirements for
          and November 30, inclusive, of such calendar       eligibility and length of vacation for that
          year, he has completed one or more years of        year.
          accumulated departmental seniority and has
          either (a) worked 1000 or more hours in the              An employee, who after being honorably
          immediately preceding 365 days or (b) worked in    discharged from the Armed Forces, is reinstated
          at least 60% of the preceding 52 weeks, provided   pursuant to the Company's Military Service
          during such period the scheduled work weeks have   Regulations, shall, in the year of his
          been reduced below five (5) days per week for      reinstatement without regard to the hours or
          more than twenty- six (26) weeks.                  weeks worked requirements, be entitled to a
                                                             regular vacation.
                For the purpose of determining whether
          1000 or more hours have been worked, time lost           3. Any employee otherwise entitled to a
          during such 365 days due to an injury arising      regular vacation pursuant to this Agreement In
          out of company employment, or due to jury or       the calendar year In which he retires under the
          witness duty (Article XXVII) or due to             terms of the Pension Agreement between the
          bereavement leave (Article XXVIII) or due to       Company and the Union, which makes such employee
          absence from work while on a previous year's       eligible for a special retirement payment, but
          vacation, or time lost while participating in      who has not taken such vacation prior to the
          national contract negotiations with the Company    date of such retirement, shall not be required
          and in preparations contiguous therewith, or       to take a regular vacation in that calendar year
          holiday hours not worked but paid for, shall be    and shall not be entitled to regular vacation
          added to the actual hours the employee worked at   pay for that calendar year or in any subsequent
          the rate of eight (8) hours per day but no more    year.
          than forty (40) hours per week.

                An employee otherwise eligible, who on       Section 59.   Length of Va'cation
          November 30 lacks 31 days or less of the
          required accumulated departmental seniority will         An eligible employee who has attained the
          be deemed to have satisfied the seniority          years of accumulated departmental seniority
          requirements for eligibility and for length of     indicated in the following table in any calendar
          vacation.                                          year during the continuation of the Agreement
                                                             shall receive a regular vacation (except as
                2. An employee, who in any calendar year     otherwise provided) corresponding to such years
          obtains a leave of absence for the purpose of      of accumulated departmental seniority as shown
          entering the Armed Forces, and who provides        In the following table:
          proof of having entered the Armed Forces, in
          such year, will be credited with hours worked at
          the rate of eight (8) hours per day but not more
          than forty (40) hours per week during such leave
          up to the date of having entered the Armed




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                                                             his regular pay providing he has not had time
                                              Weeks of       lost as described applied to all regular
                                              Regular        Vacation time to which he Is entitled.
         Accumulated Departmental Seniority   Vacation
                                                                   4. In light of the amount of regular
          1 year but less than 3 years........1 week         vacation provided by this Article, the local
          3 years but less than 10 years......2 weeks        Union and local plant Management shall meet as
         10 years but less than 17 years......3 weeks        necessary to review the vacation scheduling
         17 years but less than 25 years......4 weeks        practices in effect for the purpose of arriving
         25 years or more.....................S weeks        at mutually satisfactory scheduling
                                                             arrangements. In such review, the parties shall
               The vacation taken shall consist of           endeavor to accommodate the wishes of the
         consecutive days and shall Include Sundays and      employees as to desired vacation periods in an
         holidays; however, vacations of two, three, fou     equitable manner, giving consideration to
         or five weeks may consist of separate periods ot    operating requirements and the desire of
         one week each.                                      employees to take their regular vacations at
                                                             times most appropriate to their Individual
         Section 60.   Return from Vacation                  situations.

               Notwithstanding any provisions of Section           5. If no local agreement exists at a
         19, an employee who overstays his vacation leav     plant concerning vacation scheduling practices,
         without first notifying his plant management an     the following provision shall apply:
         securing permission for the extension, unless
         such notification proves to be Impractical, may           The employee shall take his vacaticn as
         be subject to disciplinary action                   scheduled by the Management provided he has not
                                                             had time lost as described applied to all
         Section 61.   Vacation Scheduling                   regular vacation time to which he is then
                                                             entitled. The employee's wishes as to the time
               1. The vacation period shall be from          his vacation is to be scheduled will necessarily
         January 1 to December 31, inclusive.                be governed by the operating requirements of the
                                                             plant. To the extent that seniority is involved
               2. Time lost by an employee for a period      In such consideration, whether it shall be
         of at least an entire payroll week during the       company seniority or departmental seniority
         vacation period due to the necessity of reducis     shall be in accordance with agreements between
         the working forces or due to bona fide sickness:,   the local plant Management and the local Union,
         or injury or due to leave of absence shall be       and after a period of ninety (90) days from the
         applied to any regular vacation time to which       date of this Agreement, such local agreements
         such employee is entitled If the employee so        shall not be changed during the life of this
         requests                                            Agreement.

               3. It is the intent and purpose of the              Whenever an employee moves voluntarily or
         Vacation Plan that all eligible employees shall:    otherwise, from one department to another
         receive benefit of a vacation from work.            subsequent to the completion of the scheduling
         However, the employee who Is required to work       of regular vacations in the latter department
         instead of taking time off for regular vacation     for an oncoming year, he shall not be entitled
         shall be entitled to vacation pay in addition ti    to displace another employee of the second




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          department from an established regular vacation          (a)Vacation pay will be paid on the
                                                             regular pay days for the period of the
          schedule regardless of their relative
                                                             employee's vacation. However, an employee may
          seniori ties.
                                                             receive vacation pay In a lump sum for vacation
                                                             time off provided such request Is made in
                The employee moving to a different
          department shall be scheduled for his vacation     writing to the Company at least 14 days prior to
                                                             the date the employee wishes such lump sum.
          in accordance with his preference but subject to
          the orderly operation and production               However, such lump sum shall not be paid prior
          requirements of his new department.                to the last day worked before his vacation is
                                                             scheduled to start.
          Section 62.   Vacation Pay
                                                                    (b)For the employee who requests that
                                                              regular vacation be applied because of the time
                 1. The vacation pay for a vacation of one
                                                              lost or who works Instead of taking time off, as
          week shall be 44 hours multiplied by the
                                                              described under Sections,61-2 and 61-3, the
          employee's average earnings per hour (exclusive
                                                              vacation pay shall be paid the employee on the
          of overtime earnings, Cast-of-Living Allowance,
                            Weekend  Premium). The  vacation  first regular pay day occurring not less than
          and Schedule and
                                                              ten (10) days following the date the employee
          pay for 2, 3, etc., weeks shall be twice, three
                                                              makes such request.
          times, etc., that amount, respectively. The
          employee's average earnings per hour are
          averaged over the period of the first four of             (c)In the event of death of an employee
                                                                  was eligible for a vacation, the amount of
          the last six weeks (excluding any week In which who
                                                             vacation pay to which the employee would have
          a paid holiday is observed) in which the
                                                             been entitled shall be paid to his proper legal
          employee worked prior to the date an which (a)
                                                             representative.
          the vacation period begins (or fourteen days
          preceding that date if the employee requests
                                                             Section 63. Legislative Impact
          advance vacation pay), or (b) the date the
          vacation is considered as starting.
                                                                    In the event of a war or other national
                 Vacation pay computed on the basis of       emergency, or federal legislation designed to
          payroll weeks prior to a general wage Increase     reduce the normal work week below 40 hours,
                                                             either party may notify the other of a desire to
          for a vacation or portion thereof scheduled
                                                             negotiate with respect to an appropriate
          after such wage increase in such year shall be
          adjusted for such increase for the vacation time codification of this Plan or Its termination.
          taken after the effective date of the Increase. In the event of failure to agree within 120 days
          The adjustment will consist of the amount by       from notice, if given as a result of the
           which the hourly rate of the employee's payroll above-described type notice, if given as a.
                                                             result of the above-described type of federal
          classification is Increased as part of such
          General  Wage Increase.   The adjustment so        legislation,  the Plan shall remain in effect
                                                             subject to the termination provision of the
          determined shall be added to those hours of
                                                             Agreement, but the parties shall be free to
           vacation pay entitlement subject to adjustment.
                                                             strike or lockout in support of their positions
           This Is in accordance with the practices In
                                                             with respect to such matters (and no other)
           effect under the August 1, 1954 Agreement.
                                                             notwithstanding the provisions of this or any
                 2. The vacation pay will be paid as         other agreement between the parties.
          follows:




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                  ARTICLE XVIII.         APPRENTICESHIP       of the program specifically related to the
                                                              occupation involved and the physical ability to
         Section 64.    Posting and Selection                 perform the duties of the occupation involved.
                                                              In addition, age and prior training are factors
                The Company and the Union recognize the       which may be considered without diminishing
          advantage to train and develop interested and       considerations of seniority.
          qualified employees for predictable needs in
          skilled trade classifications through bone flde           In determining ability and physical
          apprentice programs in accordance with Section      fitness as used to fill apprenticeship vacancies
          33. In keeping with this recognition it is          In accordance with the applicable seniority
          agreed that full and fair opportunity for           provisions of the Labor Agreement, only such
          advancement through properly organized and          examinations and testing procedures which are
          supervised apprenticeship programs shall be         job-related and fair In their administration
          provided to all interested employees who meet       will be used.
          the entrance requirements for filling vacancies
          in apprenticeships, and only when it is                   A job-related test is one which measures
          determined that there are not a sufficient          whether an applicant can satisfactorily meet the
          number of interested employees who meet the         specific requirements of the given craft,
          entrance requirements to fill such jobs will th     Including the ability to absorb the appropriate
          Company hire from outside the plant to fill         training. For applicants determined not to be
          apprenticeship vacancies.                           qualified, the testing procedures should include
                                                              notification to such applicants of deficiencies
                Applicants who meet the entrance              and an offer of counsel as to how deficiencies
          requirements as outlined below shall be selectel    may be overcome.
          to fill declared vacancies in the apprent1ceshi
          program in accordance with the Labor Agreement,           Applicants who have withdrawn or been
          Applicants selected for app'enticeship shall        disqualified from any apprenticeship program or
          thereupon be considered to be included in the       who are currently enrolled in or have
          designated craft classification for purposes of     satisfactorily completed any apprenticeship
          Section 33. Apprentices are nonetheless subject     program in the Company shall not be eligible for
          to the applicable rate progression herein           participation in another apprenticeship program,
          provided and required to complete satisfactorili    except in special cases such as:
          their apprenticeship training.
                                                                    (a)Applicant has been disqualified
                The Company will not hire new employees t     because of unsatisfactory ratings and thereafter
          fill vacancies for skilled trade classification.(   remedied the cause of the unsatisfactory rating.
          if there are interested and suitable qualified
          employees available In the plant.                         (b) Applicant is requesting consideration
                                                              for a different craft which has a rate at least
          Section 65.   Entrance Requirements                 three (3) job grades higher than his present
                                                              craft, or the applicant has worked as a
                The Company will select apprentices from      journeyman for the Company for at least six (6)
          applicants for apprenticeship who are qualified,    years, to be measured by the actual time worked
          to enter such programs. Among the criteria to       in his craft. In such cases the applicant must
          be used In making the selection are whether the     meet the qualifying requirements for entering
          applicant has the ability to absorb the trainlsl    the applicable Apprenticeship.




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                (c) Applicant has been removed in a                Time spent by apprentices on designated
          reduction of forces from a craft to which there    related instruction during their regular working
          Is little likelihood that he will be recalled.     hours shall be paid for at the applicable hourly
                                                             rate of the apprentice and shall count toward
          Section 66.   Credit                               completing the training program hours   Such
                                                             time shall be counted as hours worked for
               Individuals who have been selected to fill    overtime or premium pay purposes. Related
         vacancies in an apprenticeship program shall        Instruction shall pertain to the requirements of
         promptly be furnished a form which contains a       the specific job classification.
         space for the Individual's name, seniority,
         schooling and any other special training or         Section 68. Apprentice Program Standards and
         experience which directly relates to the            Work Experience
         training involved and as such may qualify them
         for credit in the form of advanced standing In            A work experience schedule for the major
         the apprenticeship program. The form when           areas of the job classification to be learned
         completed by the employee shall be reviewed by      for each apprenticeship covered by this
         the Joint Apprenticeship Advisory Committee         Agreement will be prepared for guidance of
         before completion of the first period of            on-the-job assignments. Instructions of the
         training and a determination made by the Company    apprentice need not follow the chronological
         as to whether or not advanced standing Is           order of the areas as they appear In the work
         warranted. Individuals granted such credit          experience schedule, but may be assigned in the
         shall be paid the wage rate commensurate with       sequence deemed best suited to the volume and
         credit granted. Such determination is subject       type of work common to the classification,
         to review in the grievance procedure.               provided that all apprentices shall receive
                                                             instruction in all major areas of the
          Section 67.   Related Instruction                  classification as listed in the work experience
                                                             schedule except for those areas for which credit
                Apprentices shall be required to             allowance has been made.
          satisfactorily complete a program of related
          instruction which, over the duration of his              Both the on-the-job training and related
          apprenticeship, will average at least 72 hours     instruction courses shall be reviewed and
          oer 1000-hour period, but will rot exceed 200      updated periodically to asure they are job
          hours per 1000-hour period.                        related and reflect the current requirements of
                                                             the classifications as they are being performed.
                The Company shall arrange for and outline    Such review and updating will be discussed with
          all courses of related instructions which may be   the Joint Apprenticeship Advisory Committee,
          given In plant classroom, vocational facilities,
          or approved correspondence course. Such courses
          will be discussed with the Joint Apprenticeship    Section 69.   Periodic Review of Progress
          Advisory Committee. The cost of any designated
          related instruction including books shall be             Progress of apprentices shall be subject
          paid for by the Company upon satisfactory          to review at any time while In a course of
          completion of the involved training period,        apprenticeship training and will be discussed
          provided such costs are neither covered nor        with the Joint Apprenticeship Advisory
          reimbursable to the apprentice by some other       Committee. Should such review reveal
          agency.                                            unsatisfactory progress on the part of the




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       apprentice, corrective measures will be taken in         The apprentice rate progression schedule
       an effort to remedy the situation.                 shall not prevent more rapid advancement or time
                                                          credit when exceptional progress or
             The Company shall arrange appropriate        qualifications are shown.
       methods to determine satisfactory progress in
       the program through job-related examinations and   Section 70.   Joint Apprenticeship Advisory
       tests specifically job-related to the occupation   Committee
       involved. This will include progress in related
       instruction courses and field training.                  It is the desire of the parties that
                                                          effective liaison exists between them as it
             If an unsatisfactory progress rating is      relates to the operation of apprenticeship
       given in a specific phase of field training or     programs at the various works and operations
       related instruction courses, or both, the          locations. To further facilitate this objective
       apprentice must remove the unsatisfactory rating   a Joint Apprenticeship Advisory Committee shall
       before advancing to the next training period.      be established. It shall consist of not more
       If the apprentice receives a second                than three (3) representatives to be appointed
       unsatisfactory rating the same field training      by the local plant Management and not more than
       phase or related instruction course, such may be   three (3) representatives to be appointed by the
       considered cause for terminating the apprentice    local Union at least two (2) of whom shall be
       from the program.                                  Journeymen, The offices of chairman and
                                                          co-chairman shall be filled and held alternately
             Tests used in determining the satisfactory   by a company -epresentative and a union
       progress rating of an apprentice either In a       representative.
       specific phase of field training or related
       instruction course of the occupation involved            In order to assure a supply of qualified
       shall be job related and limited to such           apprenticeship candidates, the Company shall
       specific field training or related Instruction     modify Its present pre-apprenticeship training
       course on which the apprentice has received        program to include a course of Instruction of
       appropriate craft-related, and on-the-job          not less than eighty (80) hours in subject
       training or classroom training. Such tests         matters relevant to apprenticeship programs. It
       shall be fairly administered with regard to the    shall be the responsibility of the Joint
       time for completion of the test, normalcy of the   Committee to advise regarding the development,
       job conditions for test purposes and evaluation    content and operation of this course. The Joint
       of the results.                                    Committee shall also be responsible for
                                                          encouraging interested employees (regardless of
             An apprentice terminated or laid off from    race, sex, religion or national origin) to avail
       the program during the first training period       themselves of this opportunity. In addition,
       shall return to his former department without      the Joint Committee shall monitor the progress
       loss of seniority and be placed in his former      of the participants in this program In order to
       classification. An apprentice terminated during    assure that the program Is achieving Its goals.
       subsequent training periods shall be placed as     The Joint Committee shall make recommendations
       though he were laid off from the department        to the Company regarding changes to the program
       except that if he entered the apprentice program   from time to time If the same appear to be
       from that department he shall be demoted in        necessary.
       accordance with his applicable seniority.




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                It shall be a function of the Joint              Section 72.   Status of Apprentice Program
          Committee to assure that apprentices receive
          training in those areas necessary to satisfy the             V. A. approval will be sought for all
          requirements of apprenticeship. It shall be the        apprentice programs.
          Joint Committee's responsibility to assure that
          apprentices are not measured against work not                B. A. T. registration will be sought for
                                                                 all apprentice programs.
          performed or classroom instruction not received
          and that accurate records reflecting actual
          experience and exposure are maintained.                Section 73.   Local Implementation

                The rating results, Including classroon,               Details necessary to implement this
          field and on-the-job training, shall be made           Agreement shall be worked out locally provided
          available to the Joint Committee on a regular          they do not contravene the provisions of this
          basis in order that apprentice progress may be         Agreement.
          monitored. It shall be incumbent upon the Joint
          Committee to discuss less than satisfactory            Section 74.   Certificate of Completion
          performance with apprentices in order that risks
          of failure are minimized to the extent possible.             Upon the satisfactory completion of his
                                                                 apprenticeship under these standards, the
                The Joint Committee shall be Informed of         graduating apprentice will be Issued a
          decisions to add, or reduce the number of              áertificate signifying his accomplishment.
          journeymen and apprentices and the reasons
          therefor and it shall be Informed of any               Section 75.   Apprentice Program Lengths and
          decision to remove any apprentice from the             Rates
          program for lack of adequate progress.
                                                                       In recognition of the substantially
                It Is the continuing intent of the parties       accelerated apprentice training program, shift
          that related instruction and on-the-job training       and job assignments, vacation scheduling, and
                                                                 related training scheduling must be arranged so
          be kept current and relevant to the needs of the
          craft. The Joint Committee may review the              as to assure full training of competent
          related training course content to determine if        craftsmen. Such arrangement shall not, except
          these criteria are being met.                          as the Company demonstrates( the specific and
                                                                 direct necessity therefor, deprive any employee
                Any committee member may make                    of rights to which such employee would otherwise
          recommendations as to any of these matters and         be entitled.
          their effect on Individual apprentices or on the
          apprenticeship program generally. In the event               The following six (6) period apprentice
                                                                 rate progression shall apply to each craft as
          that any of these matters is not satisfactorily
          resolved then such question may be initiated           noted In the rate schedule:
          directly by the grievance committee at the final
          local step of the grievance procedure.

          Section 71.   Ratio

                There shall be no ratio of apprentices to
          journeymen.




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                                                           safety committees and its officers, employees
                          SIX PERIOD APPRENTICE            and agents shall not be liable for any
                            RATE PROGRESSIONS              work-connected injuries, disabilities or
                                                           diseases which may be incurred by employees. In
        1,000 Hour Training Period                         this Safety and Health Article, the Union,
                                                           through its various representatives, committees,
        1   2   3     4    5    6     Prob*    Job Grade   officers, employees and agents, has been
                                                           accorded certain participatory rights relating
            8   10   12                12         16       to employee safety and health; however, it is
            8   10   12                13         17       not the Intention of the parties that these
            8   10   12    14          14         18       provisions or the Union's exercise of Its rights
            8   10   12    14          15         19       thereunder shall in any way diminish the
            8   10   12    14   16     15         20       Company's exclusive responsibility. The Company
            8   10   12    14   16     17         21       and the Union will continue to cooperate toward
            8   10   12    14   16     18         22       the objective of eliminating accident and health
            8   10   12    14   17     19         23       hazard; and will encourage employees to use the
            8   10   12    14   17     20         24       procedures stated herein in reaching this
            8   10   12    14   17     21         25       objective.
            8   10   12    14   18     22         26
            8   10   12    14   18     23         27       Section 77.   Safety and Health Committee
            8   10   12    14   18     24         28**
                                                                 A representative Safety and Health
                    *Probationary rate applicable to       Committee will function at each of the plants on
        newly hired journeymen for period not to exceed    a joint basis, the number of members to be
        six months.                                        agreed on locally and the union members to be
                                                           selected by the Union. The committee shall
                    **Journeymen in other crafts who bid   assist, make recommendations to, and cooperate
        the toolmaker classification shall remain at       with the Safety Department of the plant.
        their present rate for six months and thereafter   Departmental safety committees are encouraged to
        advance two job grades each six months until       fellow the principle of rotating members in
        reaching Job Grade 28.                             order to achieve broad participation. The Union
                                                           will appoint the union members. Where the union
                ARTICLE XIX.         SAFETY AND HEALTH     co-chairman requests that a specific union
                                                           departmental committee member excluded from
        Section 76.   General                              rotation because of special training or positive
                                                           contribution to the committee, such request will
              The Company, in compliance with applicable   be granted.
        federal law, shall furnish to each employee
        employment free from recognized hazards that are         This committee will be guided by the
        causing or are likely to cause death or serious    principles of the eight-point program set forth
        physical harm. Further, the Company shall          below:
        comply with occupational safety and health
        standards promulgated under such law. It is              1. Conduct monthly meetings for the sole
        Intended that, consistent with the following       purpose of discussing accident prevention and
        functions of the safety and health committees,     the health conditions of the plant. The Company
        the International Llrilon, Local Unions, union     will keep minutes and provide copies for the




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          committee members. At every third monthly           satisfying its responsibility for work-connected
          meeting, the committee shall review and evaluate    injuries, disabilities, or diseases which may be
          the activities of the previous period at which      incurred by employees. The union co-chairman or
          time the international union staff                  the co-chairman's designee from the committee
          representative may attend.                          will be accorded timely access to the plant work
                                                              areas in the conduct of committee
                2. Review published plant safety reports      responsibilities but a standard of
          such as, relevant near-miss and accident            reasonableness must be met In the obtaining of
          Investigations and deveThp other data which         permission to leave that individual's regular
          would be useful in identifying accident sources     job, in the amount of time involved if it is
          and injury trends.                                  during regular working hours, in the amount of
                                                              disruption involved if other employees are to be
                3. Recommend changes or additions to          contacted, and In the arranging for advance
          protective equipment or devices for the             clearance to be in work areas other than the
          elimination of hazards.                             chairman's own. The company co-chairman may
                                                              accompany the union co-chairman or the
                4. Participate in the promotion and           co-chairman's designees from the committee
          advertising of safety.                              during such access.

                S. Review safety and health matters that            The Safety Department and departmental
          have been raised by members of the bargaining       management are responsible for effective and
          unit as referred to in the third from the last      accurate accident and near-accident
          paragraph of this Article.                          investigation. Where lost-time Injuries are
                                                              involved, the Safety Department and/or
                6. Coordinate with the Management             departmental management will send notification
          Environmental Steering Committee.                   to the co-chairman or designee as soon as
                                                              possible and no later than 24 hours from the
                7. Encourage employees to use procedures      time the Safety Department received knowledge of
          established by the Company and the Union to         the injury. In the event of serious disabling
          process matters relating to safety and hea'th.      accidents, the union co-chairman of the Safety
                                                              and Health Committee or designee shall be
                8. Review existing safety orientation and     included among those on the list of those to be
          safety training activities for new employees as     promptly notified. SuclYnotification is made
          well as those existing safety training              for the purpose of providing him an opportunity
          activities applicable to present employees who      to review the circumstances of the accident,
          may change job classifications.                     which may include a site visit, in preparation
                                                              for participating in item two (2) of the eight
                The Union shall certify its co-chairman       point program.
          from the local bargaining unit. The union
          co-chairman or the co-chairman's designee from            When local plant conferences between any
          the Safety and Health Committee and the                       (including the union representative or
          management co-chairman will jointly Inspect work    representatives) and the local plant Management
          areas they deem appropriate on a day immediatelyl   are held during his or their regular working
          prior to each monthly Committee meeting. It Is      hours, such conferences shall not result in any
          understood that the purpose of the plant            loss of time to any such employees. This would
          inspection is to assist the Company in




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        lncude any special conferences that the             Section 79.   Employee Safety and Health Rights
        co-chairman mutually agree to arrange.
                                                                  The Company will continue to provide
                                                            adequate first-aid facilities and access to
        Section 78.   Safety Equipment and Facilities       emergency medical treatment when necessary, as
                                                            recommended by qualified medical personnel.
              A. Protective devices, wearing apparel,
        and other equipment necessary to protect                  An employee hurt in an industrial accident
        employees from injury shall be provided by the      will be paid for time lost during that shift,
        Company in accordance with practices now            including any applicable overtime or shift
        prevailing In each separate plant or as such        premium, due to time required for medical
        practices may be lmroved from time to time by       treatment or due to being sent home for the
        the Company. Where protective wearing apparel       balance of the shift by the Medical Department.
        is sold to employees, it is understood that         If the employee is sent to the Plant Medical
        prices of such apparel as is sold in the plants     Department and is required to remain in the
        to employees will be at such levels as to not       Medical Department for medical examination or
        assure profit to the Company. The Company will      treatment beyond the end of that shift, such
        discuss significant intended improved practices     time shall be paid as hours worked.
        with the Safety and Health Committee in advance
        of their implementation. Such discussions do              When an employee is temporarily reassigned
        not necessarily have to precede discussions of       o another department, or to another job
        the same matters in the grievance procedure.        classification in a different area in the same
                                                            department, as a result of the Medical
               .  Effective December 1, 1993, each          Department's determination that his exposure to
        employee, other than a probationary employee,       a toxic substance calls for such temporary
        will be provided an allowance of $40.00 to          reassignment, he shall receive for hours worked
        purchase safety shoes for the employee's wear at    his regular rate of pay or the pay of the job
        the plant. On June 1, 1995, each employee who       classification or job classifications to which
        on that date has one year of accumulated            such employee is assigned, whichever is higher,
        departmental seniority shall receive an             for a period of sixty (60) days following
        allowance of $40.00 to purchase safety shoes for    reassignment or upon such employee's return to
        the employee's wear at the plant. This benefit      his former department, whichever is sooner. The
        is In lieu of and supersedes any local practice     local parties may mutU'ally agree to extensions
        or agreement to pay for shoes or metatarsals        of the rate retention period.
        except where the employees have any superior
        conditions they may elect to retain the existing          If an employee shall believe that there
        practice or agreement, and except where the         exists an unsafe condition, changed from the
        Company is required by law to pay for such shoes    normal hazards inherent in the operation, so
        and metatarsals.                                    that the employee is in danger of injury, he
                                                            shall notify his foreman of such danger and of
               This agreement is also applicable to         the facts relating thereto. Thereafter, unless
         employees in clerical and technical jobs who are   there shall be a dispute as to the existence of
         required by the Company to wear safety shoes or    such unsafe condition, such employee shall have
         metatarsals.                                       the right, subject to reasonable steps for
                                                            protecting other employees and the equipment
                                                            from injury, to be relieved from duty on the job




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        about which he has complained and to return to
                                                           though he had been affected by a reduction in
        such job when such unsafe condition shall be
                                                           forces. Such rights include, but are not
        remedied. If the existence of such alleged
                                                           limited to, the right to transfer to an
        unsafe condition shall be disputed, the chairman
                                                           available job in his own plant or to one In
        of the Grievance Committee and the works manager
                                                           another plant if no job is available in his own
        or his representative shall immediately
                                                           plant.
        investigate such alleged unsafe condition and
        determine whether it exists. If they shall not
                                                                 b. For purposes of this Section
        agree and if the chairman of the Grievance
                                                           "available job" means one to which the employee
        Committee is of the opinion that such alleged
                                                           Is entitled under the Agreement and which he can
        unsafe condition exists, the employee shall have
                                                           perform consistent with his physical ability and
        the right to present a grievance In writing to
                                                           condition and health requirements.
        the works manager or his representative and
        thereafter to be relieved from duty on the job
                                                                 c. In the event no available job exists
        as stated above. Such grievance shall be
                                                           In the plant, the chairman of the plant
        presented without delay directly to the Board of
                                                           Grievance Committee and the representative of
        Arbitration under the provisions of Article XIV    the plant manager may agree upon the alternative
        of this Agreement, which shall determine whether
                                                           suitable job in the plant for a removed employee
        such employee was justified in leaving the job
                                                           or provide assistance in arranging for a job In
        because of the existence of such an unsafe
                                                           another plant of the Company to which the
        condition. If an employee is relieved from duty
                                                           removed employee is willing to transfer. A job
        on the job as stated above, the Company will
                                                           shall not be deemed suitable unless the removed
        make a reasonable effort to advise any potential
                                                           employee can perform it consistent with his
        replacement of the grounds upon which the job
                                                           physical ability and condition and health
        was challenged as unsafe, until the outcome of
                                                           requirements.
        such dispute is determined.
                                                                 d. Should any dispute arise under this
              Other matters pertaining to unsafe
                                                           program as to disability, medical indication or
        conditions may be entered in the grievance
                                                           health requirements, the company's medical
        procedure on a regular basis or, after notifying
                                                           representatives shall make the initial
        the supervisor in charge so that he can
                                                           determination. If that determination is
        Investigate and respond within a reasonable
                                                           disputed by the Union, the matter shall be
        time, registering the matter with the Health and
                                                           referred to a mutually-designated physician or
        Safety Committee if the supervisor's response Is
                                                           medical center for a final and binding
        unsatisfactory.
                                                           determination. The fees incurred in this
                                                           determination shall be shared by the local
        Section 80.   Rate Retention
                                                           parties. Any lost wages or expense involving
                                                           the employee, shall be borne by the Company.
              1. When, because of a disability
        attributable in whole or In part to his
                                                                 2. a. A removed employee, demoted or
        employment with the Company, it is medically
                                                           transferred pursuant to Paragraph La. to a job
        Indicated that an employee be removed from his
                                                           of a lower job grade shall nevertheless be paid
        job, the following shall apply:
                                                           at the job grade not less than the job from
                                                           which be was removed.
              a. The removed employee shall be entitled
        to exercise all rights under the Agreement as




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             b. If the removed employee refuses two        this objective is to facilitate the placement of
       promotions to available jobs, as defined in         such employees in suitable long-term jobs and,
       Paragraph 1.b. above, he shall thereafter           when such jobs are nt available, to reduce the
       forfeit his right to receive the guaranteed job     adverse economic consequences to such employees
       grade described in Paragraph 2s.                    by providing additional benefits.

        Section 81.   Advisory and Review Procedures             The program includes Supplemental
                                                           Unemployment, Group Insurance and Income
              The Health and Safety Committee may          Maintenance Benefits and special benefits under
        contact and use the Management Environmental       the Pension Agreement.
        Steering Committee as a technical and advisory
        resource in the area of ventilation, temperature         The provisions covering these benefits are
        control, fumes, smoke, toxic or corrosive          incorporated in the appropriate Sections of this
        substances, flammable materials, chemicals,        Agreement and the Pension Agreement. A summary
        solvents, and compounds. Specifically, the         of this Program appears In Appendix V of this
        Management Environmental Steering Committee is     Agreement.
        available to indoctrinate the Health and Safety
        Committee in matters pertaining to acceptable          ARTICLE XXI.   INCOME MAINTENANCE PROGRAM
        health levels and techniques of monitoring
        environmental control. It is also expected that    Section 82.   Purpose
        the Steering Committee will have occasion to
        communicate with Individual employees and groups         The purpose of the Income Maintenance
        of employees concerning implementation of          Program is to provide a guaranteed level of rate
        Occupational Safety and Health Act of 1970. Any    protection for eligible employees whose average
        unresolved issues may be entered at the third      job grade has been lowered solely through
        step of the grievance procedure.                   involuntary demotion resulting from a reduction
                                                           of forcas. This rate protection will be
              Representatives of the International         provided by the payment of an Income Maintenance
        Union's Safety and Health Department and           Allowance which, when added to the employee's
        corporate representatives of the Company's         average job grade rate for hours worked In a
        Health and Environmental Department may meet       quarter, will increase such average job grade
        annually to review the effectiveness of safety     rate to a specified percentage of the current
        and health activities.                             rate applicable to the employee's average job
                                                           grade established during a base period preceding
              The international director or his designee   such quarter.
        may arrange to make a plant visitation by
        contacting the corporate office of the vice        Section 83    Definitions
        president of Environment and Health.
                                                                 For the purposes of the Income Maintenance
              ARTICLE XX.   JOB AND INCOME SECURITY        Program, the following terms are intended to
                                                           have the meaning set forth below:
              The Job and Income Security Program was
        established by the parties to provide increased          A. "Base Year"     The 92 pay periods
                                                                                   --


        economic protection for long-service employees     prior to the first pay period commencing In
        who are Involuntarily displaced from their jobs    December of the year preceding the end of any
        The parties agree that the method of achieving     benefit quarter.




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                 B. "Benefit Quarter"   --The 13 pay            assignment consideration shall follow the
                                                                principles noted above under "Base Year Job
           periods preceding the first pay period
                                                                Grade."
           commencing in March, June, September and
           December.
                                                                      F. "Base Year Rate"      The standard
                                                                                                --


                     "Eligible Employees"    Employees who      hourly wage rate I,, effect duri ng the Benefit
                 C                               --

                                                                Quarter for the Base Year Job Grade.
           have two or more years of accumulated
           departmental seniority as of the end of the lao      Interpolation shall be used between val ues on
                                                                the Standard Hourly Wage Rate schedule to
           pay period in a Benefit Quarter and who have
                                                                determine the appropriate rate to the nearest
           worked 160 or more hours during the Base Year.
                                                                tenth of a job grade.
                 0. "Base Year Job Grade"        The  --


           employee's average job grade during the Base                G. "Benefit Quarter Rate"      The standard
                                                                                                     --

                                                                hourly wage rate ir effect d uri ng the Benefi t
           Year as determined by weighting the job grade
                                                                Quarter for the Berefit Quarter Job Grade.
           paid for each job in which the employee was
           payroll classified by the hours worked while so Interpolation shall be used between val ues on
                                                                the Standard Hourly Rate schedul e to determi ne
           classified, except that:
                                                                the appropriate rate to the nearest tenth of a
                          the pn,n1nvp durinG the Base Yearl
                                                                job grade.
                                             .--.,
                  or any subsequent Benefit Quarter, throu111
                  "voluntary means" become payroll                     H. "Income Maintenance              -  An
                  classified In or retain any job grade         amount of money to be calculated each Benefit
                                                               Quarter as noted below and paid to eligible
                  lower than that determined above, such
                                                               employees at the same time normal payment Is
                  lower job grade shall Immediately become
                  his Base Year Job Grade for purposes of       made at the locaticn Involved for the first pay
                  this  program.  "Voluntary  means" Includes'  period  commencing in the months of March, June,
                                                               September, and December.
                  but is not limited to bidding down,
                  refusal of a restoration, or refusal of ai
                  promotion which in accordance with local Section 84. Benefit Calculation
                  nrrticc    an employee would normally be
                  expected to seek.                                   The Income Maintenance Allowance shall be
                                                             I
                                                               calculated as follows: The employee's Base Year
                                                               Rate during the Benefit Quarter shall be
                  Temporary assignments to classifications
                                                               multiplied by the appropriate percentage
           paid a higher or lower job grade than that of
                                                               specified in the table below. The resulting
           employee's regular job shall not be considered
                                                               rate represents the Income security guarantee
           except In those situations where the local
                                                               provided by the program to eligible employees
           parties have agreed that normal plant operatio
                                                               for the hours worked during the Benefit Quarter.
           and the purposes of this Program require that
                                                               If the employee's Benefit Quarter Rate equals or
           special accommodation be made.
                                                               exceeds the guaranteed rate, no Income
                                                        The    Maintenance Allowance is payable for the Benefit
                   E. "Benefit Quarter Job Grade"          --

                                                               Quarter. If the employee's Benefit Quarter Rate
           employee's average job grade during the Benefi
                                                               is less than the guaranteed rate, the Income
           Quarter as determined by weighting the job gra
                                        the  employee  was     Maintenance Allowance shall be determined by
            paid for each job in which
                                                               multiplying the difference between the
            payroll classified during the Benefit Quarter
           the hours worked while so classified. Tempora




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        guaranteed rate and the Benefit Quarter Rate by      Maintenance Allowance benefits specified in 2.
        the hours worked during the Benefit Quarter.         below unless employment status Is terminated.

                      I.M.A. PERCENTAGE TABLE                      2. The Base Year Job Grade to be used to
                                                             calculate the special quarterly income
        Accumulated Departmental                             Maintenance Allowance for an employee accepting
           Seniority At End Of             Base Year Job     SLTE at other than his home location shall be
              Benefit Quarter             Grade Percentage   the Base Year Grade in effect for that employee
                                                             at his home location immediately prior to the
        2 years but less than 10                90           employee's last layoff from that loc a tion. Such
        10 years or more                        95           Base Year Job Grade shall be in effect for the
                                                             benefit quarter during which ho starts work at
                                                             the new location, plus the following applicable
        Section 85.   General                                period:

               A   No Income Mantenance Allowance shall            Group A location:   The next four
         be payable to any individual for a Benefit          consecutive benefit quarters.
         Quarter during which his seniority is terminated
         under any of the provisions of Article VIII,              Group B locations: The next eight
         Section 19 of the Labor Agreement,                  consecutive be.iefit quarters. Thereafter, the
                                                             transferred employee's Base Year Job Grade shall
               B. Money paid as an Income Maintenance        he that calculated by regular procedures, based
         Allowance shall not be used in the base for         upon his work experience at the new location.
         calculation of overtime (except where
         statutorily required), premium pay, benefits or           3. The Income Maintenance Allowance Base
         other pay additive except in those cases where      Year Job Grade percentage for an employee
         benefit levels are determined by reference to       accepting SLTE at a Group B location shall be
         annual earnings.                                    100% rather than 95% for the benefit quarter
                                                             during which the employee starts work at the
               C. An employee who is otherwise eligible      Group B location and for the next eight
         or could become eligible for a Rule of 65           consecutive benefit quarters.
         Retirement and who accepts an offer of SLTE (as
         defined in Appendix A of the Pension Agreement            4. The special Base Year Job Grades
         effective June 1, 1993) at an employment            provided in 2, above will cease to be applicable
         location listed in Group A or B for the             should the employee, during the covered period,
         employee's location in Table IV of the Persion      through "voluntary" means, become payroll
         Agreement effective June 1, 1993, shall be          classified In or retain any job grade lower than
         covered by the Income Maintenance Program (IMP)     such special Base Year Job Grade.
         in effect subject to the following:
                                                                      ARTICLE XXII— GROUP INSURANCE
               I. The employee immediately shall be
         deemed to be an eligible employee as defined by           The Company will provide the following
         the IMP, irrespective of his most recent hours      coverages: Life, Surviving Spouse, and Weekly
         of work history.   The waiver of hours of work      Sickness and Accident for active employees and
         eligibility requirement shall continue              Hospital Expense, Surgical-Medical Expense,
         throughout the periods of special Income            Extended Medical Expense, Dental Expense, and




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          Vision Expense for active employees and eligible   elimination to the benefit payment for such
          dependents. Effective January 1, 1994 the          Medicare premium for that person and such
          Hospital Expense, Surgical-Medical Expense, and    governmental action shall not require further
          Extended Medical Expense program will be           modification or adjustment in this Article.
          replaced with the Managed Care Medical Program,    Medicare Part B premium reimbursement shall be
          the Prescription Drug Program, and the             the monthly government charged premium to a
          Behavioral Health Care Program. The Company        maximum of $46.10.
          will provide the following coverages for retired
          employees (and eligible dependents) and                  2.    It is intended that the provisions
          surviving spouses of active and retired            for benefits in this Article shall comply with
          employees (and eligible dependents) who are        and be in substitution for provisions for
          receiving a pension under the Pension Agreement:   similar benefits which are, or shall be, made by
                                                             any law or laws. Amounts paid by the Company
                (1) For persons not eligible for             for such similar benefits either as
          Medicare-Hospital Expense, Surgical-Medical        contributions, taxes, or benefits under any law
          Expense, and Extended Medical Expense program.     or laws providing non-occupational insurance
          Effective January 1, 1994 the Hospital Expense,    benefits shall reduce to that extent the amounts
          Surgical-Medical Expense, and Extended Medical     the Company shall pay under this Article and
          Expense program will be replaced with the          appropriate readjustment shall likewise be made
          Managed Care Medical Program, the Prescription     In the benefits.
          Drug Program, and the Behavioral Health Care
          Program.                                                 3.    Benefits otherwise payable under the
                                                             Hospital Expense Coverage or the Managed Care
                (2) For persons eligible for                 Medical Benefit Program shall be reduced to the
          Medicare-Supplemental Hospital Expense,            extent of the hospital benefits the employee
          Supplemental Surgical-Medical Expense, and         received or could upon application receive under
          Supplemental Extended Medical Expense, and         or pursuant to the California Unemployment
          Prescription Drug Program.                         Insurance Code.

                The Company will also provide Life                 4.    Unless otherwise provided in this
          Coverage and Surviving Spouse Coverage for such    Article, the parties will meet and agree on a
          retired employees.                                 modification of this plan to eliminate
                                                             duplication of benefits and the disposition of
                All of the above benefits will be provided   any savings to the Company if subsequent
          without cost to employees and retirees except as   governmental legislation should provide any of
          otherwise provided. Separate booklets              the benefits described herein.
          describing these benefits are incorporated
          herein and made a part of this Agreement.                5. Upon the request of either the Company
                                                             or the International Union, the parties will
          General Provisions Applicable to Article XXII      jointly study the health-care program provided
                                                             by a Health Maintenance Organization Plan (HMO)
                1.    It Is agreed that If subsequent        In any area, Furthermore, if desired by the
          governmental legislation provides for the          International Union, the parties will also
          reduction or elimination of the premium for        jointly study the health-care program provided
          Medicare Part B for any person, the Company        by a qualified Health Maintenance Organization
          shall make a corresponding reduction or            plan that presents to the Company an appropriate




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        request for inclusion in this plan. A mutual        of the several health-care benefits of this
        agreement will be sought as to the desirability     Article
        of providing at no additional cost to the
        Company an individual choice between an                   (b) The Company shall, without cost to
        employee's coverage under this Article and          the employee, provide a plan of benefits
        similar coverages provided by the Health            supplementary to those available under such
        Maintenance Organization plan under study. The      Governmental System to the extent necessary to
        Company and the International Union will make a     cake each benefit comparable to the
        mutual determination of the costs In such area      corresponding benefit provided under this
        of the hospital-surgical-medical benefits           Article.
        provided for individuals by this Article and th e
        costs for individuals of participation In such            (c) When an employee or dependent
        HMO plan. In the event the parties agree to         covered by this Article is required by law to
        provide such an individual choice, then with        make contributions, whether in the form of
        respect to employees who choose participation i     direct taxes, personal premiums, levies or
        such HMO plan, the Company will deduct from the     otherwise, specifically designated by law toward
        pay of each such employee the amount, if any, by    the cost of benefits under such a Governmental
        which the cost of such employee's participation     System, the Company, in addition to any
        In such plan exceeds the cost in such area          contributions required of it by law, shall pay
        the Managed Care Medical benefits theretofore       to or on behalf of such employee or dependent
        provided for such employee by this Article, as      any such required contributions to the extent
        above determined, and the Company will pay to       such contributions are for benefits covered by
        such plan the cost of such employee's               this Article.
        participation in such plan. The parties agree
        that they will not unreasonably withhold                  (d) The Company will not be required to
        agreement in reaching such mutual determination.    provide any benefits or makm payment for any
                                                            benefit to the extent that the employee or
                6.   Notwithstanding the provisions in 2    dependent covered hereby receives or would be
         and 4 above, when and If, during the term of       able to receive such benefit as a matter of
         this Agreement, any employee covered by this       right and without means test of any kind if
         Agreement becomes entitled to apply for or to      timely and proper steps had been taken to obtain
         obtain health care or other medical, dental,       the benefit or payment for the benefit under
         vision, or surgical benefits by reason of the      such Governmental System.
         enactment by the United States or any state of
         the United States of a Governmental System of            (e) To preclude any duplicating of
         health security or medical service program         benefits to employees or their deperdents and to
         ("Governmental System") for active employees,      preclude any duplication of costs to the Company
         the parties shall promptly meet and undertake t    including the costs arising from Taxes and
         negotiate a modification of the benefits under     contributions of employees paid by the Company.
         this Article of the type and character provided
         or available under such Governmental System in           (f) To negotiate the disposition of any
         order to achieve or to assure the following        actual savings disregarding any Increase or
          results:                                          decrease in administrative cost which may accrue
                                                            to the Company as a result of any such
               (a) No employee covered by this Article      Governmental System.
         shall suffer any reduction in the level of any




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          ARTICLE XXIII.   REPORT OF PHYSICAL EXAMINATION     is intended to apply equally to males and
                                                              females.
                Upon written request of an employee, any
          report of his physical examination and                   A Joint Committee on Civil Rights shall be
          laboratory tests made by physicians acting for     established at each plant. The Union shall have
          the Company shall be given to the personal         no more than three members of the local Union,
          physician of such employee.                        in addition to the president and a designated
                                                             representative of the Grievance Committee or
                                                             Committees. The union members shall be
                     ARTICLE XXIV. DISABLED OR               certified to the plant manager by the president
                        HANDICAPPED EMPLOYEES                of the local Union.

                The local Union and local Management may           The company and union members of the Joint
          by mutual agreement provide rules whereby          Committee shall meet as required. The Joint
          disabled or handicapped employees may be           Committee shall review complaints involving
          assigned to jobs which they are able to perform    civil rights. In the event a matter taken up by
          without regard to provisions of Article VIII,      the Joint Committee is not satisfactorily
          Seniority, or Article IX, Job Posting and Work     resolved, it may then be dealt with as a
          Assignments.                                       grievance. It is not intended by the parties
                                                             that this Committee shall displace the normal
                     ARTICLE XXV.    CIVIL RIGHTS            operation of the grievance procedure. The
                                                             appropriate union representative may file a
                A. The provisions of the Memorandum of       grievance in the third step of the grievance
          Understanding effective April 2, 1975, are         procedure. The Joint Committee shall have no
          hereby made a part of the Agreement. In any        jurisdiction over the filing and processing of
          case of conflict between the other provisions of   grievances.
          the Agreement and the provisions of such
          Memorandum of Understanding, the Memorandum of           When a matter is referred to the Joint
          Understanding shall control.                       Committee, the time limit for filing a grievance
                                                             will commence with the day following the date of
                B. There shall be no discrimination at       the Initial meeting In which the matter was
          the time of employment against any prospective     discussed unless mutually extended by the
          employee, nor after employment, by supervisors,    parties as long as the complaint is recorded
          superintendents, or any other person in the        with the Joint Committee within thirty (30) days
          employ of the Company against any employee         of the incident giving rise to the complaint.
          because of membership or nonnenibershiP in the
          Union.                                                   When local plant meetings are held between
                                                             employees, including the union representative or
                It is the continuing policy of the Conipa    representatives, and company representative of
          and Union that the provisions of the Agreement     the Joint Committee during their regular working
          shall be applied to all employees without rega     hours, such meetings, shall not result In any
          to race, color, religious creed, national          loss of time to any such employees.
          origin, handicap, Vietnam era service, sex or
          age, except where sex or age is a bona fide
          occupational qualification. Wherever in this
          Agreement a masculine pronoun Is used, such us




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                 ARTICLE XXVI.    MILITARY SERVICE         son-in-law, daughter-In-law, grandparents, or
                                                           grandchildren), an employee, upon request, will
               A. The Company agrees to comply with all    be excused for up to three (3) days (or for such
         applicable federal laws relating to the           fewer days as the employee may be absent) on
         re-employment rights of veterans.                 which such employee otherwise would have worked
                                                           and which occur witHn six (6) days of the
               B. An employee entitled to reinstatement    death, funeral, or service. The employee shall
         under the Article who applied for re-employment   receive pay for any such excused scheduled shift
         and who desires to pursue a course of study In    provided such employee attends the funeral or
         accordance with the federal aw granting him       service. Payment shall be eight (8) times an
         such opportunity before or after returning to     employee's average straight-time hourly
         employment with the Company shall be granted a    earnings. An employee will not receive
         leave of absence for such purpose.                bereavement pay when it duplicates pay received
                                                           for time not worked for any other reason.
               C. Should an employee fail to meet the
         eligibility requirements for holiday pay solely
         because of being on active military encampment          ARTICLE XXIX. PERIOD OF AGREEMENT
         during the eligibility period, such employee
         will be considered as having met the eligibility       Except as otherwise provided below, this
         requirements.                                    Agreement shall terminate 60 days after either
                                                          party shall give written notice of termination
               0. An employee will not be required to     to the other party, but in any event shall not
         take vacation time during his pe"Iod of active   terminate earlier than 12;00 midnight, or the
         military encampment.                             end of the shift starting before midnight,
                                                          whichever is later, May 31, 1996.
                ARTICLE XXVII. JURY AND WITNESS PAY
                                                                If either party gives such notice It may
                An employee who is called for jury servic include therein notice of its desire to
         or as a result of being subpoenaed as a witness negotiate with respect to pensions (existing
         In a court of law or duly constituted            provisions or agreements as to pensions to the
         governmental agency shall be excused from work contrary notwithstanding), and the parties shall
         for the days on which he serves and such         meet within 30 days thereafter to negotiate with
         employee shall receive, for each such day of     respect to such matters. If the parties shall'
         jury or witness service on which he otherwise    not agree with respect to such matters by the
         would have worked, eight (8) times his average end of 60 days after the giving of such notice,
         straight-time hourly earnings. The employee      either party may thereafter resort to strike or
         will present proof of such service.              lockout as the case may be in support of its
                                                          position in respect to such matters as well as
                  ARTICLE XXVIII. BEREAVEMENT PAY         any other matter in dispute, but not earlier
                                                          than midnight, May 31, 1996 (the existing
                When death occurs in an employee's        agreements or provisions with respect to
          immediate family (i.e., employee's legal spou   pensions to the contrary notwithstanding).
          mother, stepmother, father, stepfather,
          mother-in-law, father-in-law, son, stepson,
          daughter, stepdaughter, brother, halfbrother,
          stepbrother, sister, halfsister, stepsister,




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                             FOR THE COMPANY:                              APPENDIX I
                                                                       STANDARD HOURLY RATES
           G. E. Bergeron      A. C. Roemhild, Jr.
           R. R. Hoffman       D. L. Root, Jr.                   Job            Rate        Rate*
           R. W. Porter        N. J. Schreier                   Grade        Effective    Effective
           J. Quaglia          E. T. Woloshyn                                 6/7193       6/5/95
           R. C. Rawe
                                                               1 and 2       $12.157       $12.407
                             FOR THE UNION:                        3          12.286        12.536
                                                                   4          12.415        12.665
           Lynn R. Williams, President                             5          12.544        12.794
           Edgar L. Ball, Secretary-Treasurer                      6          12.673        12.923
           George Becker, Vice President    Administration
                                               -                   7          12.802        13.052
           Leon Lynch, Vice President   Human Affairs
                                           -                       8          12.931        13.181
           Joe L. Kiker, Director, District 35                     9          13.060        13.310
           Dick Davis, Director, District 36                      10          13.189        13.439
           Jack R. Golden, Director, District 37                  11          13.318        13.568
           David Cyrus, Jr. , Representative                      12          13.447        13.697
           Jim C. Brumley, Representative                         13          13.576           13.826
           Fred Mabry, Representative                             14          13.705           13.955
           John Herron, Representative                            15          13.834           14.084
                                                                  16          13.963           14.213
           INTERNATIONAL UNION HEADQUARTERS PERSONNEL:            17          14.092           14.342
                                                                  18          14.221           14.471
           Patti Seehafer       James English                     19          14.350           14.600
           Edward Chearing      Melena Barkman                    20          14.479           14.729
                                                                  21          14.608           14.858
           LOCAL UNION PRESIDENTS:                                22          14.137           14.987
                                                                  23          14866            15.116
           Tom Moore, Local Union 309                             24          14.995           15.245
           Randall Smith, Local Union 303                         25          15.124           15.374
           C. H. Satcher, Local Union 4895                        26          15.253           15.503
           Russell Pruitt, Local Union 4370                       27          15.382           15.632
           D. LeLand Turbyfill, Local Union 4880                  28          15.511           15.761
                                                             *Applicable to only those employees not taking
                                                             the 401k match local option.




                                                                                                        SPK00004283
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    'If
•                           APPENDIX II                                  APPENDIX III
                     SHIFT PREMIUM HOURLY RATES                         COST OF LIVING

             Job             Second         Third          1.    For purposes of this Agreement:
             Grade            Shift         Shift
             Paid                                          "Consumer Price Index" refers to the
    if                                               "Consumer Price Index for Urban Wage Earners and
             12               .342           .570    Clerical Workers (CPI-W)    United States
                                                                                --                All
                                                                                                   --

             3                .346           .577    Items (1967 = 100)" published by the Bureau of
             4                .350           .583    Labor Statistics, U.S. Department of Labor.
             5                .354           .590
             6                .358            .596         "Consumer Price Index Base" shall be
             7                .362            .603   determined as follows:
             8                .365           .605
             9                .369           .616          (I)  For the June 7, 1993, September 6,
             10               .373           .622    1993, December 6, 1993, and March 7, 1994
             11               .377           .628    Adjustment Dates, the Consumer Price Index Base
             12               .381            .635   refers to the Consumer Price Index for the month
             13               .385            .641   of January 1993 published by BLS In February
             14               .389           .648    1993 as    417.8, multiplied by 103.0%.
             15               .393           .654
             16               .396           .661          (Ii)  For the June 6, 1994, September 5,
             17               .400           .667    1994, December 5. 1994, and March 6, 1995
             19               .404           .674    Adjustment Dates, the Consumer Price Index Base
             19               .408           .680    refers to the Consumer Price Index for the month
             20               .412           .686    of January 1994, multiplied by 103.0%.
             21               .416           .693
             22               .420            .699         (iii)  For the June 5, 1995, September 4,
             23               .423           .706    1995, December 4, 1995, and March 4, 1996
             24               .427            .712   Adjustment Dates, the Consumer Price Index Base
             25               .431            .719   refers to the Consumer Price Index for the month
             26               .435           .725    of January 1995, multiplied by 103.0%.
             27               .439           .732
             28               .443           .738          "Adjustment Dates" are June 7, September
                                                     6, and December 6, 1993; March 7, June 6,
                                                     September 5, and December 5, 1994; March 6, June
                                                     5, September 4, and December 4, 1995; and March
                                                     4, 1996.

                                                           "Change In the Consumer Price Index" is
                                                     defined as the difference between (I) the
                                                          me Price Index Base and (ii) the Consumer
                                                     Consur
                                                     Price Index for the second calendar month next
                                                     preceding the month in which the applicable
                                                     Adjustment Date falls.




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                       2. Cost-of-Living Adjustment:   Effective
                 on each Adjustment Date a Cost-of-Living
                 Adjustment equal to It per hour for each full .3
                 of a point change in the Consumer Price Index
                 shall be calculated. In calculating the
                 adjustments,. if any, for June, September and
         jJ      December 1993 and March 1994, there shall be                            a


                 added to the calculated amount a fixed carryover
                 amount of one hundred seventeen and six-tenths                          >
                 cents (117.64). In calculating the adjustments,
                 if any, for June, September, and December 1994,                         0
                 and March 1995, there shall be added to the                                                                            :
                 calculated amount an amount equal to the
                 Cast-of-Living Adjustment, if any, which was
                 payable on March 7, 1994. In calculating the
                 adjustments, if any, for June, September, and                      Q1
                 December 1995, and March 1996, there shall be                                :
                                                                                                                                            LOL
                 added to the calculated amount an amount equal
                 to the Cost-of-Living Adjustment, if any, which
                 was payable on March 6, 1995.                                      "-

                                                                                                                     .
                                                                                    ..        .            .

                                                                            0
                                                                                     a                     .         .         .    a                              .             a
                       Effective on each Adjustment Date, the
                 Cost-of-Living Adjustment as determined above
                 shall become payable for all hours worked by an
                 hourly-rated
                 employee until the next Adjustment. Date. The                                                                         44

         •       Cost-of-Living Adjustments under this paragraph
     •       .   shall be considered an "add-on" and shall not be                            :
                 deemed part of the employee's standard hourly
                 rate. Such adjustment shall be included with                                                                           :
         •       the hourly rate only in the calculation of pay                                        :            :                   :
                 for hours worked (including overtime hours) and                             :         :
 •               allowed time in accordance with Sections 17 and
                 18                                                                 0         .                     .                                      ..->

                       3. Should the monthly Consumer Price Index                            :                                              .                      ,             °
                 In its present form and on the same basis as the                                                   :         :         :                  >,,_

                 Index published for January 1993 become                                     :             .        :                           .
                                                                                                                                                           10 °        .
                                                                                                                                                                             '


                 unavailable, the parties shall attempt to adjust                                                   :                   :       :     a



                 this Section or, if agreement is not reached,                  •
                                                                                             :         .            :         :                                        -         a



                 request the Bureau of Labor Statistics to              .           .        :                      :         :        :        :   ' -    0
                                                                                                                                                                           a 5-
                                                                                                                                                                           0
                 provide an appropriate conversion of adjustment,   .               •                 :                       :        :        :
                 which shall be applicable as of the appropriate
                 Adjustment Date and thereafter.                                              -                 c                       -
                                                                                                                a         a        13
                                                                                             a
                                                                                             E         '       C.        '.-       •"
                                                                                             M         -       C
                                                                                             z
                                                                                                                         -                          -
                                                                                             aX                'i-

                                                                                             0 .                                            o        a
                                                                                                   U           a          a        a
                                                                                             CL                          •.g                C.       5..       -
                                                                                             E    -                       aa
                                                                                                                         c,                                    .




                                                                                                                                                           SPK00004285
STEP 2

Date Appeal received

by Company ........................Company Representative .........................

Date Heard ........................

Date Answered .....................Union Representative ...........................

Agreed Time Extension (If applicable)

          days beyond 7-day requirement for appeal

                                        Company Representative .........................

          days beyond requirement for hearing

                                        Company Representative .........................

                                        Union Representative ...........................

          days beyond 7-day requirement for answer

                                        Union Representative ...........................
                                                                                                                                7738




GRIEVANCE RECORD PREPARATION

Date of Completion of Agreed Grievance Record .............................

Agreed Time Extension (If applicable)

         days beyond 3-day subsequent to 2nd step answer

                               Union Representative .......................

                               Company Representative .....................
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                                            APPENO!5 V

                                56VMIM1T OF JOG MO INCOME SECURITY
                                               PROGRAM
                                                                                 Tier III
                                 Tier I                  Her II                  (Employees wth twenty or
                                 (Employees with         (Employees with         more years of accumulated
                                 two years but lets      ten years but less      departmental teniority)            Reference far further   details
                                                                                                           .
                                 than ten years of       than twenty years
                                 accumulated depart-     o7 accumulated de-

  4       Subject                mental seniority)       partner    seniority)

          A.   SUE
                                                                                 Sane as Tier II.                   See Article ES, Section 57 of
               1. Financing   (a) The Maximum            All SUE benefits
                                                                                                                    Labor Agreement
                                  Benefit Limit          are guaranteed.
                                  will be 30 cents       The Company will
                                  tines all hours        advance amounts
                                 corked in the           raqul red to pay
                                 boom 12 months.         buealte In 1c11

                              (b)The Company will
                                 accrue a liability
                                 of 5.5 canto per
                                 hoar worked until
                                 the fund balance
                                 equals lEO
                                 percent of the
                                 Maximum Benefit
                                 Limit.

                              (c) The Company mill
                                 also accrue a
                                 liability for an
                                 additional 15
                                 cents per hour
                                 worked until the
                                       .
                                 land balance
                                 equals 125
                                 pecent of the
                                 Bailouts Benefit
                                 Licit.




                                                                                                                                        SPK00004287
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11
 ,a                                 APPENDIX V coet'd

                             SUMMARY OF JOB AND INCOME SECURITY
                                           PROGRAM

                                    Tie" I                   Tier II                Tier III
                                    (Em p loyees with        (Employees with        (Employees with twenty or
                                    two years but less       ten years but less     more years of accumulated
                                    than ten yearn of        than twenty years of    Jepartasental seniority             Reference for further details
                                    accjmuiated depart-      accumulated depart-
          Subject                   renta l sen1or1t         mental seniority)

          A. SUB (cont'd)                                                                                          -


             2. ilaximun             Up to 57 weeks.         UP to 78 weeks.        Up to LOU weeks                      Sew Article XV, Section SB-U of
                Ouratfon                                                                                                 Labor Agreement

             J. Maximum             no 5efleflt  oN          BaLi macloses          Sane as Tier II.                     See Article IV, Section 55-5 of
                Benefits            mum for weeks In         are nucleated.                                              Labor Agreement
                                    which unemployment
                                    cooensatlon is
 •                                  racewed. 5260 max-
                                    imum for other weeks.
                                                                                                       -

          B. Short Week
             Benefits

             1. Finaecfng            All Short Weak          Sam.   as Tier I.      Seam as Tier 1                           Article XV,
                                                                                                                         See              Section 565 of
                                     Benefits are
                                                                                                                         Labor Agreement.
                                     guaranteed; no charge
                                     against SUB Find.

             2. Deducolon            One holiday in a        Sane as Tier 1         Same as Tier I                       See Article IV, Section 55-2 of
                of Holiday           week will not be                                                                    Labor Agrasoont
                Pay                  deducted.

          C. Income                  Enpioyees hill be       Employees              Employees will be guaranteed         See Article XII , Section 84
             Maintenance             guaranteed 92%          wIll be                95%  income protection,              of labor Agreement.
                                     income protection       guaranteed 95%
      •                              while working on a      income protection.
                                     loeer-ratec Job (in
                                     addition to ex15t105
                                     protection).




                                                                                                                                                SPK00004288
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                                   APPENDIX V cot'd.

                        SUMMARY OF JOB AND INCIJIE SECURITY
                                      PROG RAM
                                                                          Tier III
                        Tier I                     Tier Ii                (Eepoyees with twenty or
                        (Employees wit)            (top oyees with        more years of accumulated
                        tan yearn but less         ten years but lees     departmental oanlortty                Reference for further details
                        than ten years of          than twenty years of
                        accumulated dea0rt         accunulated cepart-                                          See Section 11 of Pension
          Subject       mental seniority)          ennUi seniority)       Rule of 65 Pension          -         Agreement

          D. Pensions                                                     1.Rain of 55 Pension
                                                                          (age plus Pension Service
                                                                          equals 65) for employees who
                                                                          ore affected by extended
                                                                          I ayoff or disability; also, such
                                                                          Pension applies to employees
                                                                          who are displaced as a result
                                                                          of a p' - 1 cbutdowe (including
                                                                          shutdown relating to energy
                                                                          pobleris) and the Coiaoy
                                                                          fails to preside suitable long-
                                                                          term empluyeent.
                                                                          2.Enp'oyee must have a
                                                                          minimum of 2C years of Pen-
                                                                          sion Service as of tha last day
                                                                          worked.
                                                                          3.Benefit includes a special
                                                                          retirement paynent, a full Pen-
                                                                          sion, plus (until the employee
                                                                          becomes untitled to Social
                                                                          Security) a $00 supplement.
                                                                          4 Supplement Is suspended
                                                                          whenever the employee ob-
                                                                          tains suitable long-term
                                                                          employment.




                                                                                                                                     SPK00004289
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                                   APPEBSJX V cot'd.

 (I                        SUp4OA1ln OF JON AND fl1Ci)T SECURITY
                                           pRliaIl

                                   Tier I                   Tier LI                  Tier III
                                   (Employees with          (Employees with          (Employees with twenty or
                                   two years but less       ten years but less       more years of accuoulated
                                   than ten years of        than twenty years        departmental seniority          Reference for fsrter details
                                   accumulated depart-      of accumulated de-
        Subject                    mental senianit__        part,sentai seniority)   Sane as 11cr I.                 See Sickness & Accident
                                                                                                                 -   section of Insurance Booklet
        F. Sickness and            1. Effective June 7,      Sane as Tier I.
           Accident                1993, benefits are                                Same as Tier I.                 See General Proololans of
                                   Increased to a range                                                              Insurance Booklet
                                   Of from $265 to $333
                                   per week.

                                   0. Effectlae Jane S.
                                   1995, benefits are
                                   Increased to a range
                                   of fro.n $285 to $353
                                   per week.

        F.   tesan-ance            Medical Insurance        Medical Insurance
UC            overage In           and Lila Insurance       and Life Insurance
             Event of              continued for up to       continued for up to
             Layoff                one year.                 two years.




                                                                                                                                             SPK00004290
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                            APPENDIX VI                    sixty (50) days after the date of certification.
                         PROCEDURAL RULES                  The hearing on arbitrability shall be held
               USWA -   ALCOA REGULAR ARBITRATION          separate from and the decision rendered prior tc
                                                           any hearing if required, on the merits. The
             I. Cases to the Arbitration Procedure,        party raising the question of arbitrability
       except cases .pertaining to Safety and Health,      shall open and close first.
       may be certified to the Board of Arbitration by
       persons whom are authorized to represent the              6. Closing arguments shall be confined to
       parties in the contractual Step 4 of the            summarization and conclusions; no new evidence
       Grievance Procedure. A copy of such                 or allegations shall then be presented.
       certification will be sent to the other party.
       The parties agree that continuing liability                7. Assertions of material fact made by
       cases will be given priority in scheduling cases    either party and not disputed by the other party
       for arbitration.                                    shall be accepted by the Board without specific
                                                           proof.
             2. Each party shall designate a spokesman
       (advocate) who shall make the party's                     8. Written transcripts will be utilized
       presentation, calling upon other representatives    only in cases where the Umpire decides they are
       of that party as witnesses as he deems              necessary. A record of all hearings will be
       appropriate. No representatives of either party     made through the use of a tape recorder, or
       shall be required to testify at the hearing         other mutually agreed-to method, during the
       except by designation of that party's advocate.     hearing. The record of the hearing will not be
       Each person who testifies is subject to             typed for the Umpire unless the Umpire requests
       questioning by Board Members and                    same. The Umpire is responsible for arranging
       cross-examination by the opposing advocate.         to have the transcript typed, the cost of typing
       Witnesses shall not be sworn.                       such transcript will be borne equally by the
                                                           parties. The Umpire will retain in his
             3. Each party shall prepare a written         possession the copy of all tapes.
       opening statement in each case presented.
       Copies of those statements will be given to the           9. The record of the case will include
       other party and the Board at the start of           the hearing transcript, if applicable, pertinent
       hearing and read into the record of the hearing     documents exchanged by the parties and provided
                                                           to the Board prior to the hearing, and documents
             4. When a grievance is arbitrated cn its      provided to the Board prior to the hearing, and
       merits, the party haying the burden o prcof         documents provided by either party to the other
       will open and close first. In matters               and to the Board during the hearing.
       pertaining to Discipline,. Discharge, Termination
       of Seniority, and Exceptions to the Application           10. Each party shall make a good faith
       of Seniority (Section 27) the Company will go       effort to avoid surprising the othe" party at
       first.                                              the hearing with new or changed issues or
                                                           contended facts. If, however, either party.
             5. The question of a case being subject       feels unable to respond adequately to a. specific
       to arbitration shall be raised by the party         contention presented by the other at the hearing
       having the objection prior to a hearing on the      with new or changed issues or contended facts.
       merits of the case. Such objection should be        If, however, either party feels unable to
       communicated to the other party not later than      respond adequately to a specific contention




L.




                                                                                                  SPK00004291
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       presented by the other at the hearing, the         consideration in executive session the final
       record of the case will, upon request made at      decision shall be issued by the Board.
       the hearing, be held open for a stated
       reasonable period of time for submission of a            14. In cases involving disputes arising
       post-hearing statement on that specific            under Section 79 (Employee Safety and Health
       contention.- A copy of that post-hearing           Rights) of the Labor Agreement, wherein an
       statement will be sent to the other party, which   employee has been relieved from duty on the job,
       shall have a similar period of time within which   the Roard, after completion of the hearing, will
       to send a response to the Board members and the    review the record, consult with the parties if
       originating party. Except by special request of    it is deemed necessary and may issue a verbal
       the Board, post-hearing briefs will not be         decision at the time or communicate the decision
       submitted.                                         by wire to the parties within 24 hours of the
                                                          close of the hearing. In either event the
             11. Either party may refer to prior          initial decision will be followed by a complete
       regular USWA   Alcoa arbitration decisions
                       -                                  written decision.
       believed to be relevant by case number. The
       Beard will be provided with a complete set of            15. If the Company intends to submit
       such prior decisions so that it may                photographs of Company Premises or equipment in
       appropriately review cases so cited.               evidence in any case, the Union will be so
       Arbitration decisions in matters not arising out   advised and copies of such photographs will be
       of the USWA - Alcoa relationship shall not be      given to the Union if requested, thirty (30)
       cited by either party.                             days in advance of the hearing, If possible. If
                                                          the Union wishes to similarly use such
             12. Legal rules of evidence shall not be     photographs, they may request the Company
       enforced, and each advocate shall be permitted     provide them thirty (30) days in advance of the
       wide latitude in presenting the case. However,     hearing if possible. After use of such evidence
       In using a wide latitude In presenting his case,   at the hearing, the Board shall retain
       each advocate must avoid suggesting answers to     possession of the photos during consideration of
       the witness.                                       the case, after which they will be returned to
                                                          the Company.
             The Job Descriptions prepared jointly by
       the parties for wage evaluation are not            It is understood and agreed that these
       admissible in cases other than wage evaluation      procedural rules are part of Article XI
       issues argued in accordance with the joint Wage    (Arbitration) of the Labor Agreement.
       Manual. Also, an offer of settlement made by
       one party shall not be submitted or referred to                      APPENDIX VII
       by the other party. Restrictions on the use of                  USW HOURLY 401(K) PLAN
       bargaining history are provided In Section 50-0
       of the Labor Agreement.                            During the 1993 negotiations it was agreed that
                                                          there would be a company allocation of matching
             13. There shall be no bench decisions        contributions to participants in the Alcoa
       regarding the outcome of a case rendered at a      Savings Plan for Bargaining Employees (the
       hearing except as provided for in Item 14. In       Plan") during the term of the 1993 Labor
       executive session of the Board, both parties'      Agreement.
       representatives may provide comment and/or




I
       suggestions to the Umpire. After due




                                                                                                     SPK00004292
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                                                              Financial and Business Unit/Location goals will
           Provided a local union elects a company match j,
                                                                     in increased profitability for the
           lieu of a 254 wage increase and in conjunction result
                                                             business and monetary reward to employees. The
           with the Plan's provision which permits the
                                                             intent is that all employees in a Business
           allocation of Participating Employer
                         ("Company Match") to  participants' Unit/Location will have the same goals for
           Contributions
                                       shall  be agreed  to  variable compensation to achieve a common focus
           accounts in such amounts as
                                                             on key performance goals and congruency of
           by the Company and the Union, the parties agree
                                                             employee treatment.
           that effective June 5, 1995, the Company shall
           allocate to the account of each participant a
           Company Match equal to 504 per $1.00 of the
                                                                    Guiding Principles for Performance Pay
           participant's eligible compensation contributed
           to the Plan as pre—tax savings up to 6% of the
                                                                          The design and goals will be
           participant's eligible compensation. It is
                                                                         -



           acknowledged and agreed that other than the       consistent with the Business Unit/Location's
           increase or decrease of the Company Match, the business strategies and with Alcoa's vision and
           Plan's administration and participants' rights values.
           under the Plan shall be concurrent with the
           administration and participants' rights under             -    The design and goals should support
           the Alcoa Savings Plan for Non—Bargaining         teamwork and employee involvement, be perceived
           Employees. In addition, It was agreed that the as fair, and be easily understood by employees.
           description of the United Steelworkers of
           America Hourly 401(k) plan, will be updated to            -    All employees in a Business
           reflect the changes to the plan effective         Unit/Location will have their Performance Pay
                                                             payout based on the same Performance Measures.
           January 1, 1993.

                             APPENDIX VIII                       -     A specified award opportunity will
                            PERFORMANCE PAY                be based on the performance of the Business
                                                           Unit/Location.   A separate award opportunity
                                                           will be based on Corporate Financial
           During 1993 negotiations it was agreed that the
                                                           Performance. Payouts for Business Unit/Location
           profit sharing arrangements previously
                                                           and Corporate Financial Performance are
           negotiated should be revised as set forth
                                                           independent of each other.
           herein. The following Performance Pay provides
           for participation by hourly employees
           represented by the Union in the plants located        -     Variable compensation payouts will
           at Alcoa, Tennessee; Badin, North Carolina;     supplement the negotiated base level of wages.
           Bauxite, Arkansas; Point Comfort, Texas; and
                                                           II.   ELIGIBLE EMPLOYEE
           Rockdale, Texas.
                                                                 An Eligible Employee Is an hourly employee
           I.    PURPOSE AND PHILOSOPHY                    covered by this Agreement who had actual hours
                                                           worked during the payroll weeks disbursed in the
           The purpose of Performance Pay is to share      Year and who either had employee status on
           profits and gains while focusing employees in   December 31 of the Year or whose employee status
           Business Unit/location on overall Corporate     terminated during the Year due to death or
           Financial Performance and critical business     retirement.
           goals. Working together and achieving Corpor



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                                                                                                     SPK00004293
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                                                                      Corporate Financial Performance
         III.   EFFECTIVE DATE
                                                                 The Corporate Financial Performance has a
               Performance Pay will be applicable for ti   threshold of 10.0% ROE, a 15.0% ROE target, and
         full year 1993 and for the duration of the        an uncapped performance range, except that for
         Agreement.                                        1993 the threshold shall be 8.0% ROE and the
                                                           target shall be 10.0% ROE.

                                                                      Business Unit/Location Performance
         IV     DESIGN
                                                                 Each Year beginning in 1994, a joint
                1.   General                               Company/Union committee at each location will
                                                           meet to review, discuss and provide input to the
               The design requires that a range of         set of Performance Measures, together with a
         performance improvement be established for each threshold, target, and maximum value for each
         Performance Pleasure (financial or non-financial) measure, which will become the basis for the
         that in turn translates to a range of payout      Business Unit/Location payout for that Year. If
         opportunity for employees. Higher levels of       more than one Performance Measure will be used,
         performance results provide for higher levels of the committee will recommend a relative weight
         payout as a percentage of employee Eligible       to each measure. The weights of the Business
         Earnings.                                         Unit/Location Performance Measures must sum to
                                                           50%.
               The normal payout range for Performance
         Pay is up to 10.0% of Eligible Earnings.                If the joint committee is unable to agree
                                                           on performance measures, management will
               The design provides that the award          determine and implement the measurements,
         opportunity of up to 5.0% of Eligible Earnings    performance ranges, and weightings applicable to
         will be based on Alcoa Corporate Financial        all employees at the location including
         Performance as measured by Return on Equity of    bargaining unit employees for that Year,
         Alcoa and consolidated subsidiaries (ROE), with provided, however, that such measurements,
         an additional payout opportunity for outstanding performance ranges, and weightings shall be no
         corporate results. There is no cap on the         more difficult to achieve than those last
         payout opportunity for Corporate Financial        proposed by management in the joint committee.
         Performance. Another payout opportunity of up
         to 5.0% of Eligible Earnings will be based on
                                                                        !y2iLt Opportunities
         Business Unit/Location measurements.
                                                                 The range of Performance Measures and the
               The payouts for the corporate               range of payout percents forms the basis for
         opportunities and the Business Unit/Location      payout opportunities.
         opportunities are calculated independently of
         each other.                                             If neither Corporate Financial Performance
                                                           nor Business Unit/Location Performance reaches
                                                           its threshold, no Performance Pay payout will be
                                                           made.




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                2.5% of Eligible Earnings will be the              3.     CORPORATE FINANCIAL
          payout should both Corporate Financial             PERFORMANCE. .  has a threshold of 10.0% ROE, a
                                                                              ..

          Performance and Business Unit/Location             15.0% ROE target, and an uncapped performance
          Performance be at the threshold of the range       range. The Compensation Committee of the Board
                                                             of Directors has the authority to make
                5.0% of Eligible Earnings will be the        adjustments to results because of unusual events
          payout should both Corporate Financial             or extraordinary circumstances.
          Performance and Business Unit/Location
          Performance be at target.                                4.     ELIGIBLE EARNINGS. .means the sum
                                                                                                 .   .

                                                             of straight-time hourly-base wages (for
                10.0% of Eligible Earnings will be the       straight-time hours and overtime hours);
          payout should both Corporate Financial             straight- time cost-of-living allowance (for
          Performance and Business Unit/Location             straight-time hours and overtime hours),
          Performance be at the normal range maximum.        straight-time shift and schedule premiums (for
                                                             straight-time hours and overtime hours);
                The normal maximum payout opportunity on     vacation pay; unworked holiday pay; and jury,
          the corporate portion is uncapped above a 22.5%    witness and bereavement pay.
          ROE. Performance results above a 22.5% ROE will
          result in extending the payout opportunity on            The definition of Eligible Earnings for an
          Eligible Earnings at two times the rate of         Eligible Employee who is on disability
          Increase of the corporate portion as compared tc   attributable In whole or In part to his or her
          the normal range above 15.0% ROE.                  employment with the Company, shall include the
                                                             time lost and the straight-time earnings
                For Corporate Financial Performance and/or   associated with that time lost at a rate not to
          Business Unit/Location Performance which falls     exceed B hours per day or 40 hours per week.
          between the threshold and maximum values, the
          payout percent will be calculated by                     The period used to determine Eligible
          Interpolation.                                     Earnings for a Year shall encompass the same
                                                             payroll weeks used in the determination of the
                DEFINITIONS:                                 Year's W-2 earnings.

                For purposes of Performance Pay, the               5.    ELIGIBLE EMPLOYEE.... Is an hourly
          following definitions are established:             employee covered by this Agreement who hail
                                                             actual hours worked during the payroll weeks
                1.    BUSINESS UNIT/LOCATION... .means a     disbursed In the Year and who either had
          business unit, plant location or organizational    employee status on December 31 of the Year or
          unit within a location.                            whose employee status terminated during the Year
                                                             due to death or retirement.
                2.    BUSINESS UNIT/LOCATION
          PERFORMANCE.... are goals which will be                  6.    FINANCIAL THRESHOLDS....payouts will
          determined locally and communicated to all         only occur after meeting specified financial
          participants normally at the beginning of the      profit thresholds. For the Corporate Financial
          Year. Business Unit/Location Performance           Performance, the Financial Threshold Is 100%
          Measures may be financial, non-financial, or a     ROE. There is no financial threshold for
          mix.                                               Business Unit/Location non-financial performance
                                                             measurements.




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               7.    PERCENT OF TARGET ATTAINED... Is the
                                                  .                     For each Performance Measure used to
                                                                          -

                                                            determine the Business Unit/Location portion of
         ratio of actual results to target value for
         corporate performance and Business Unit/Lncatio    the payout, a result which is below the
         Performance Measures, with values of 50% at        threshold will result In a Percent of Target
                                                            Attained of zero (0%) for that Performance
         threshold, 100% at target, and 200% at maximum
                                                            Measure;
         or higher for outstanding Corporate Financial                             -


         Performance above 22.5% ROE.
                                                                        For results which are between the
                                                                          -


               8.    PERFORMANCE MEASURES.....are the set   threshold and maximum values for Corporate
                                                            Financial Performance or a Business
         of financial and/or non-financial measures upon
         which the Business Unit/Location portion of any    Unit/Location Performance Measure, interpolation
         Performance Pay payout is based. If more than      will be used to determine the respective Percent
                                                            of Target Attained.
         one Performance Measure will be used, each of
         the measures must be weighted in Importance, the
         suns of the weights totaling 50%.                            - For each Business Unit/Location
                                                            Performance Measure, a result which exceeds the
               9.    YEAR....means the 12-month period      maximum will result in a Percent of Target
         beginning January 1 and ending on December 31      Attained of 200% for that Performance Measure;
         for the Year 1993 and each additional Year for
         the duration of the Agreement.                               -       For Corporate Financial Performance
                                                            which exceeds 22.5% ROE, a Percent of Target
         VI.   CALCULATION OF THE PERFORMANCE PAY PAYOUT    Attained will be calculated by doubling the rate
                                                            of increase in payout opportunity as compared to
               At the and of each Year, full-year results   the range above 150% ROE for that portion of
         will be used to calculate a Performance Pay        the results which exceed 22.5% ROE;
         payout, with corporate results against a Target
         value of 15.0% Return on Equity determining the          The corporate Percent of Target Attained
         corporate portion of the payout and attainment     will be multiplied by 50% to determine a
         against Performance Measures as the basis for      weighted corporate Percent of Target Attained;
         the Business Unit/Location portion of the
                                                                  -     The Percent of Target Attained for
         payout.
                                                            each Business Unit/Location Performance Measure
               A worksheet has been prepared for the        will be multiplied by the weight assigned to it
         calculation of the Performance Pay payout.         to determine a weighted Percent of Target
                                                            Attained;
               The actual result for Corporate Financial
         Performance and each Performance Measure will be         -     The weighted results will be summed
         compared to its range of performance to            to determine a total Business Unit/location
         determine a Percent of Target Attained, as         Percent of Target Attained;
         follows:
                                                                 -      The total Business Unit/Location
                -    If the Corporate Financial             Percent of Target Attained will be added to the
         Performance is below the threshold value of        weighted corporate Percent of Target Attained to
         10.0% ROE, the corporate Percent of Target         determine a Total Percent of Target Attained.
         Attained will be zero (0%) for the corporate
         portion of the payout;




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                  -    The Total Percent of Target Attained   shall be applied in accordance with accounting
           will be multiplied by 5.0% to determine the        practices of the Company.
           payout percentage.
                                                                     The Compensation Committee of Alcoa's
                  -    An employee's Performance Pay payout   Board of Directors has the authority to make
           will be calculated by multiplying his/her          adjustments to results because of unusual
           Eligible Earnings by the payout percentage.        events. Business Unit/Location management and
                                                              bargaining unit representatives will be provided
           VII.   ADMINISTRATION OF THE PERFORMANCE PAY       the opportunity to g1velnput for consideration
                                                              for such adjustments. Such events might include
                 The information necessary to administer      the purchase or sale of business assets that was
           the provisions of Performance Pay will be          not planned when goals were set for that Year,
           prepared and maintained by the Company. The        plant shutdowns, etc. It Is intended that, once
           costs associated with its administration will b    a commitment has been made to goals, changes
           borne by the Company.                              will not be entertained except in truly unusual
                                                              situations.

                 Communication                                      The Performance Pay calculations for each
                 The parties believe that it is Important     business unit and corporate performance for each
           for participants in Performance Pay to             Year will be communicated to the Union prior to
           understand the relevant goals, thresholds and      payment.
           maximum performance levels to understand the
           Business Unit/location focus and their potential         A report of such calculations, when
           payout opportunities.                              accompanied by a certification by the Controller
                                                              of the Company that the Performance Pay
                 Administration                               calculations are in accordance with the
                 In the event an employee quits or is         provisions of Performance Pay, shall be final
           terminated during the Year, no payout shall be     and binding on the Union, participants,
           paid. In the event of death, disability,           beneficiaries, and the Company.
           retirement or layoff, an employee's award will
           be calculated on actual Eligible Earnings.               Payments of Performance Pay shall not be
                                                              considered earnings for any other purpose,
                 In the event an employee is transferred      except as subject to the applicable statutory
           between Business Unit/Location, the payout shall   taxes on income.
           be pro-rated for the number of whole weeks
           worked in each unit, based on the employee's job         The provisions governing Performance Pay
           classification for each week.                      shall not be subject to the grievance and
                                                              arbitration procedures of the labor Agreement.
                 Payouts will be determined annually and
           shall be determined and paid as soon as                  This Agreement has been reached on the
           practical after the close of the calendar Year     basis that the Union will ensure that, until and
                                                              only to the extent the information Is made
                 The determination of accounting policies     available by the Company to the public at large,
           in regards to Performance Pay shall be at the      the information will be disclosed only to those
           sole discretion of the Company. Such policies      reviewing for the Union the computations related
                                                              to Performance Pay and neither the Union nor




                                                                                                    SPK00004297
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        anyone reviewing such information for the Union    ALUMINUM COMPANY 07 AMERICA
        will make any other disclosure of the              ps.CO0 BUILDING                                                              10
        information.                                       pItTSBURGH, Phi9i9SVLVuNlA 15219                                           ALCOA

                                                           Jul., 1. 1993

              It Is the intent and understanding of the
        parties that Performance Pay provide a vehicle     Sir Joe L. 519,,
        for sharing profits, and should payment of         Director, Distrirt 35
                                                           United 5ten100rk,rO Of kenrlca
        Performance Pay, or any part of such payment, b    900 tlrtie 75 P,rkaay
                                                           Slt, 1790
        required to be Included In the regular rate        Atlanta. Georgl, 30339

        under the Fair Labor Standards Act of any          Dear Cr. KlAn,,
        eligible hourly employee, the Company will         3rieg our 1993 neantlation,, the parti es •gr,ad that is ,00,sld be dealnobi,
                                                           For the local Parties to adopt
        reduce applicable percentages and adjust                                               provision guar,rteotng forty (40) hours of
                                                           mock on pay to cr,fttoee laid off or or short work weeks while outside
H       individual payout amounts such that the total      contractors perfono aort In time plant with craft,eoo of tie tine craft.
                                                           local parties shill ,ddresa Onweso sec to the des frabi II Up of tied
                                                                                                                                 r:     Oh.
                                                                                                                                    local
H       payout for the applicable Year for each Business   urd,rttaedfrme. Lw doing ,o, tire 100,1 partIes mould consIder cirtlarrstorice,
                                                           under winch it 1"16 not he practical to preulda ouch protection, such as in
        Unit/Location for bargaining-unit employees will   relatiOn to ,ajor       toflstruotloo an d reconstruction projects. or uwrt rot
                                                                              new
                                                           normally dons by Bargaieing    Unit o,pioyeeo at the plant, The following it
        not be changed by such decision. The parties       presided as a iulde for the local parties in deonioping 0 cone detailed
        shall make any and all adjustments to this         pnograe of mmcl ee,eta tlon at the plant level,

        document as may be necessary from time to time                Should outside contn,ttori performs work 1v the elant with the use
                                                                      If crafto,npn while eeployeeo In that craft anon layoff fm, the
        to ensure that the intent and understanding is                pilot and not working ai anotboroonpany p1,01 jndsr Sautfon 23-0
                                                                      of It. Ago'oorr.aO, ted who are qualified and available for eaock, on
        upheld.                                                       oor'k1n4 on thorn ewes 00.9, 19.11 be gqanaeuaed forty (40) h.ursof
                                                                      work or pay oath wash to the eoteet of the nu.ben of unfts,nen
                                                                      engoget I 0 contractIng out relatlee to that craft.

                                                           hocal yam lieu Intareoted Ii ouch a proo Is Ion are ado Ised to oonuider auth
                           APPENDIX IX                     prebl act as the 0 rotectiwe nf recall rIghts, the iospaot of SUB and
                                                           un,eployeentcoennnsation . and ,he catted of              no stint of the aid
                           NEUTRALITY                      oil employees or nnpleyaos On short work nooksdeter"""'
                                                                                                             will recelue the guarantee,
                                                           Any such local a]nneront shall be subject to the procedures of Section 5-C If
                                                            he Agreenen

                                                           Very truly yours.
        The Company agrees to a position of neutrality
        In the event that the Union seeks to represent
                                                           A. A Poet.,
        any nonrepresented employees of the Aluminum       Director, Industrial Balatloes
                                                           & two., Resources Planning & flephoynent
        Company of America. Neutrality means that the
                                                           SWP,rbu
        Company shall not comment negatively concerning
        the Integrity or character of the Union or its     Co,f' reed: _
                                                                               Jon L. Clear
        officials.

        The Company's commitment to remain neutral shall
        cease if the Union, Its agents, or its
        supporters comment negatively on the integrity
        or character of the Aluminum Company of America
        or its representatives.

        The Company shall not unduly delay an election
        by the National Labor Relations Board.




                                                                                                                                         SPK00004298
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                                                                                               ALUMINUM COMPANY OF AMERICA
           ALUMINUM COMPANY OF AMERICA
                                                                                               91 COA tUILDInIG
           ALCOA BUILDING                                                              to     uiTTSViJRGU. PF9.4Svi Camlu 1 5211                                      ALCOA
           PITTSBURGH, PENNSYLVANIA 13219                                            ALCOA
                                                                                              June 1, 1993
           June 1. 1993


                                                                                              Cr Joe L. Kiter
           Mr. Joe L. III                                                                     Ciro, tor District St
           Director. District
                          k.    31                                                             nItid Steelworker, of America
           Salted Steelworkers of A,,srina                                                    igl Circle 75 Parkway
           953 Circle 75 P a rkway                                                            suite 1790
           $.I so 790                                                                         inlarta, Georgia 00139
           Atlanta, Sen'91a 30339
                                                                                              lear Hr. Kiter:
           Dear Mr. Kiter:
                                                                                              Ibis vi I coefi   that in applying Paragraph A-3 of Section IS, if altar
           ml, niil cenfin that during our 1993 negotiations the Conpeny stated that          ,nhauatleg the voluntary 000'ti nE proceduros customary to that nl,csiiioatioe
           it cciii be Its procedure when an employee doubles near fros the bit shift of      and department it should be necessary to schedule an eoiplcyen far a shift
           any do1, terelnatint appncInctnby at midnight to the flrtt shift of the day        extension due to the conditions of Paragraph S-I, such employee snail be
           leendiately fel 1001113, to COinpeo,ats the CliP 10390 at 3100 and cnn- half for   entitled to the oddluicool Tote- (4) huora' pay at his atmedard hourly race
           tUG           war a, an natnovion of the enoloyne' , dii it terminating at         prooldad for in Section IV, Paragraph 63.    The conseitumoet of this iettor
               double, Nothing
           oidei 3ht            in thi s procedure affects the eel sting tti and 7th day      apellen to slUt eoteeslo, Situations only.
           pr,ei c,n pay handling for coeti nuoae oporatlen (3ev Schedule) eiepboyee,.
                                                                                              Very truly ysura,
           The Company agrees that this pr000dirn will remain unchanged until May 31,
           1996.

           Very truly your,.                                                                  I. V Porter
                                                                                              Di     tor, Industrial Relations
                                                                                                   liuoor Cesouron, 'Tanning I Dsplopneoet
                                                                                                 Yet
                                                                                                 9

           9 V. Porter                                                                        PVC: rbt
           Drecter,
            i        Industrial Relations
             Human RenouoCas Planning & Deployment                                            30sf I rood:
                                                                                                                  Joe L. Kiter
 II        R9P: cUt


                               Jon L. Kiter




                                                                                                                                                                      SPK00004299
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         ALUMINUM COMPANY OF AMEFICA
                                                                                            ALCOA BUILDING
         ALCOA WuILOINO
                                                                                    ALCOA   PITTSBURGH cEuiuGnLUAoou 1629                                          ALrDA,
         PInSCUROil.PtNi059LVAeUA 15219
                                                                                            June 1, 1993
         June 1, 1993



         Mr Joe I. RIVer                                                                    MI. Joe 1. Mike,
                                                                                            Directer. olotrlot 35
         Director. Olnirlct 35                                                              United Steelworkers of Aannica
         Oil lad Ste.ioorkert oR Anserine
                                                                                            900 CIrcle 75 Rnk.y
         9    Cle'ola 75 Parkooay
                                                                                            tnite 753           -
         Suite 1760
                                                                                            Atlanta, Georgia    19339
         Atlanta, Georgia 33339
                                                                                            Dear N,. Kiter
         DeanIII-. Kite,-

                                                   Company us stated during eur 1993        During the 000rse of oar 1001 contr act nogi
                                                                                                                                       ot etlon A the Company agreed it
         Thin will co,eilriil tAo position till,.
                                                                                            could eel utlllon Inicrorutice provided to the Company by an erthcyea in
         hegotiot'ons that the schedule change Dr000dcres of Section 35 el 11 not he
                                                                                            Connection with its esployeant process, a s   basin Ion diouplile or
         used to call empl oys-     on their scheduled III day within the Work cock and
                                                                                            discharge lute, chin %1(3) calendar years ocbon9unn t to tout employee'n
         schedule them to Work on that day.
                                                                                            data of hIre.
         Weary truly Coon
                                                                                            Very truly yours,



         C. V. Porter
                                                                                            K. H. Porter
         DI rector. Industrial Relations
                                                                                            Director. InduotrIal Relations
         & Hone Resources Planning & Deployment
                                                                                            & Huron Rocouruec Rlnnaieg & Oeoioynwnt
         Rh?. rht
                                                                                            tWPlrbi
         Con firmed!
                                                                                            CorfirradI
                            Joe I. Kilter
                                                                                                                 Jo5 L. Kite,




                                                                                                                                                                SPK00004300
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                  ALUMINUM COMPANY OF AMERICA
             I    ALCOS BUILDING
                  PI1 TS3URGI. PENNSYLVANIA 11219                                               AL
            ",•
                  June 1, 1993




                  Mr. ,0e L. biker
                  Dirnotor, District 15
                  United Steelwork... of ftceerice
                  900 Ciroli IS Parkway
                  Suite 1150
                  Atla.t9, Georgia         30339

                  Dear Mr   tikor:

                  In the 000rse of 1993 reqollaticru the Cilepefly agreed to inuorpw,'ele the
       'U         indicting litter between the parties with thOse Otis.? letters between the
                  perU., that .rc to be published in the 1993 Labor Agreewent:

                            Hey)', 191

                            Mr. Bee Fischer
                            01rector, Contract A,h.Ini strotion Department
                            Vetted Steel workers of Awn.1c.

                            Deer Mr. Fischer:

                            In the negctl ations for our 1971 Agreement the Coapeey and the
                            Union have timed soon the f oil owing to clarify end leplenoent

       I'                   Article IBId of the Labor igreenentI

                               1.    Artiie hfld Is dironted solely towards the safety end hn.ltl
                                     of the iedwei       eeoployeen. My attempt by an trip loyen, or
                                     .eplouree.. to otfilee the proCedure, 0' the Article For
                                     hareeseeeet. coercion, ratel ietlOn, or 10 achieve objection
                                     Other thanhoeith and safety, however 9r00e those otiectinel
                                                  purcoed by other woens, could be chose of this
                                     ei9ht be if
                                     Article and contrery to the labor Agrernent itself.

                            0.       An employee who is ml ievtd from duty on the job about which
                                     he lies cooelelnnd shell not be paid for nnrk tint lest as Is
                                     re,i,lt of hi. being 00 'il coed onins, the Boerd of
                                     Arbitration finds that he eat justified in leaving the job
   •
        ',                           because of tire Colttence of enutsa by condition, ohenged fro,
   •                                 the forma l Seconds i,hern,nu In Ut,. openstion. The period of
                                     111 t o which ssci, psy.ent is applicable will end chaos the
   •                                 unse., condition is rocedind or when through applicetfin of
                                     airoBer mere050r aseigneent or edjustiteet procedures, the
                                     relieved employee Is either reassigned. scfedolnd ofe, or le
                                     off




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       ALUMINUM COMPANY OF AMERICA
       ALC13u9iJiCDiNG                                                             D
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                                                                                        ALCOA 5tlLLulrlti
                                                                                        nirr500030 PESNSYLVAOiA 15219                                            ALCOA
       PIT155JRGH OErINO'YLVAMIA 15219

       Jure 1. 1953                                                                     June 1, 1993




       Mr. Joe L. Hikar                                                                 I,  Joe C. Hi kin
       Director, District 35                                                            Diractor, Dietniet ç.
       United 15ce1,eonkerc oH America                                                  United Steelworkers of America
       999 Circle 75 Parkway                                                            900 circle Pt Parkway
       Suite 1750                                                                       Suite 1750
       Atlanta, Georgia 00330                                                           Atlanta, laorgla 30939

       Dear Cn   Hiker                                                                  Dear Mr   Hiker,

       During the course of the negotiaiiens or our 1993 Labor hgrenwei t, the          tilt io to consPire that shm.Cucnpony during 1993 oegotlaiicos, agroed Sc the
       question of when oauatiuo pay wcuid be paid to those employees requesting        fcllcoieg eeitee5
       ad Vance way was discussed.
                                                                                             The Coepany recogiieea the epncial need to provide appropriate safety
       It u.s agreed that, aitheut a change In Contract laequaed, the loapany aonid          and is     training to all aoplOyeeg. The Company presently riot safety
       adopt a Poi ioy of pay leg such ad, ance pay or the last reguiar payday before         no tee Oh training inn pr-too dee either the training described Onion or
       the eeapioyee' seacatico is scheduled to begin. Should than be abuse of this          the bass for suDs tralnitg as it relates to the needs of the Company
       proceoure, the Company my recant to nabi no such advance pay en the last day          and Its curious plants,
       wonted before the eacation is scheduled to start rather than the last reguiar
       payday before ouch cacaticn In scheduled to start.                                    frantea oroaraans shall r,cognioe that there ore different needs fur
                                                                                             safety and i,aalth training for newly hirad amployaot. eeployoes cMos are
       Very truly yours,                                                                     trace Corned or assigned to a nau Job ard eopioyesa who require Periodic
                                                                                             retroining.

                                                                                             A.    Ira toe05 of Anole Hired Eeeieoeee
       P. A. Porter
       Diractor. Industrial Polationt                                                              Mnnlp hired ecqOocees ti,ail rsceioa Ura5e109 in the general
       & homer Reooarceo Planning & Deployment                                                     recognition on sainty and fleeitfl mar05, tte aypi icabie Labor
                                                                                                   Agr.eenentpnoototons. and the ponpuoc and function of the Conpany's
                                                                                                   Safety (Mmclii) and Medical Departneots. the local Safety Coonnitten
                                                                                                   arid the International totem Serene and Health pepartnnent. In
                                                                                                   addition, upon initial issitneent is their duties, they shell
                           Joe C   Hiker                                                           recei ow ceueota,-y Cr. ioing on the ratuee of the operation or
                                                                                                   process, the safety and health haOandc of their duties, safe
                                                                                                   working procedures, the purotea, use and limitations of personal
                                                                                                   protection equlmeest required, and ether Controls or precaution
                                                                                                   aseaotated with their duties.

                                                                                                   training of Other Eeoiooess

                                                                                                   The recesoaey training ci eepioyras, ashen chin thosa nanly hired
                                                                                                   be the Corneoy shall be di ,-ectnd to the hacerda ,f the dutine to
                                                                                                   which they are assigned. Such traieiog thai i intl ode hasand
                                                                                                   recegnition. safe esrklng pracedurno, pjrposn, use and ilaitations
                                                                                                   of special personal pretectine equlganeot nnqui red and any other
                                                                                                   approprsate special bed insur,uctioe.




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                                                                                               ALUMINUM COMPANY OF AMEPICA
          June 3. 1953                                                                         ALCOA
          Psgn 0                                                                                                                                                       ALCOA
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                                                                                               June 1, 0393



               C.       Re tra in lee
                                                                                               Mr. oa L. biker
                        As required by in engloyec'o duties arid eosigrereflt area, periodic   Olrertor, Diotniet 35
                        r.irei,, leg ao secesmery shill be given on oaf. working procedures.   United Steelworkers of America
                        5r00ard recognition, and other necessary pencodurns and precautiOnS.   300 Circe 75 Parknoy
                                                                                               Suite 1750
                        The tnioe Co-Chsinnsan of the Safety (and beuith( nnesitteo and the    Ptlanta, Georgia 30339
                        International Union Safety and health Oeparteiert arades igner
                        ohell, upce reqeeot, bn afforded tire opportunity so moles the         Co., He. biker:
                        training pmngrao fee nnnly hi red eeployees en the plant earl .
                                                                                               This to to confire that the Company during lire course of 1990
          Very truly yours,                                                                    agreed to the Tolloolng policy strteeeit:                      negotiations

                                                                                               Aicoholioe and drug abase urn recognIzed by the parties to beatrnetebla
                                                                                               Illness    without detracting tire the eolttflng rights ond sbligatinnt of the
          U. P. Porter                                                                         parties recognized in tine other peovlsions if bib Agreement, the Cenpany And
         birector, Industrial Rnlatlsns                                                        the Anton agren to cooperate St the plant level in encouragin3 enplgyeeo
           hunan Sennumces 910rn1ng & beplotcsent                                              afflicted iTCh elCoholiSoi or drug addicticn to undergo a ,rogroe directed to
                                                                                               the objective of their rnhabilitotloo. Nnither job snucrity cur prenutlunel
          PolP.rbt                                                                             opportuni ties should be jeoparnito,d he a request 'or treatnont for alther
                                                                                               alcoholIsm Cr drug use    Such request and all records shell remain
          Conf irmed:
                                                                                               confidential.
                                  Joe L. biker
                                                                                               Very truly yours,



                                                                                               U. P porter
                                                                                               Inrnntar, industrial Relations
                                                                                               U Hurnae Sesouruns Planning A Deploy,aeet

                                                                                               RAP: rAt

                                                                                               Confirmed:




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       ALUMINUM COMPANY OF AMERICA
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       MTlseunon PENIvOYLVANA 15219                                                 Al COA
                                                                                              PiTISOIJRC-H, PEi0e150LVAinIA 15219                                           ALDA

       Jvvs I, 1993
                                                                                              June 1, 1993




       ii,' J5.   ether
       Dir.ctnr, Uistn'int 35                                                                 It. Joe L Kiter
                                                                                              Gnraotor, District 35
       United ttooioorioors of Meerloa
                                                                                              United tteolneerbnrs of kherica
       900 Cirole 75 Pa-has0
       Suite 1750                                                         -
                                                                                              900 Circle iS Parkway
                                                                                              Stile 1150
       Atlanta. Georgia 10339
                                                                                              Albe  it , Ae on-iSo 30339
       Denr fib. Hiker:
                                                                                              Dean 9.    UK-
       This is to confinna that tine Conpsny, during 1993 negonistione, agreed to the
                                                                                              This 's to confirm that the Ceapony, durIng l q93 negotiations, agreed no the
       following 900t9r91
                                                                                              folioning eattars:--
                                         PCB CIUqIROL PROGRAM
                                                                                                                                     SAMPLING
            For the plurposa of protecting oorAee hea lth the Coopany shall 50951 floe
            Its control program for handling and disposing of ails contalndng
                                                                                                     -he Coapeny mill continue its proiron of pnrlodic in-plant sir 5oep1in1
                                                                                                     and noise nesting under tb.n direction of qo.ilfied pernonnel.    Alnern the
            pniyti'l orinoted bioinnnyis (PCI's). This progrs,n will inclu . inst not
                                                                                                     Union Co-Chetr.nae of the tefety and Health Coonittan reasonably believes
            be lieflt.d no. provisions for testing devices that way contain
                                                                          de PCO'o,
                                                                                                     thorn is a significant on-the-Job health boated due to in-plant air
            air and soil ,.epling, lsbeiinn, protertloeclethi.g and rnnpinator
                                                                                                     polluiion, or moles, the Conpaey will make appropriate Swats and
            orogrann, pnopar tfleinlng f a r Inandi isg PCI'
                                                                                                     inoestigationns that are re0500able and necetse ry end ciii notify tine
                                                                                                     Union Co-Onai rean of, the Safety and Health Comeitten omen auth o lost Is
             line Local Union Co-Choi c.n.n of tine Safety and Health Coe.ni ttnn or the
                                                                                                     to tend nlaca. A report based on ascii teats and investigations oiil be
             Lnt,rratioc.i Union Safety and Health flepartaest nay request in
                                                                                                     reel reed and dl -.d     with the W an Co-Citai nose. For tonin conveys
             iroln,ninlgie - -     designated by the Company currant inforenation     as to
                                                                                   writing
             tile oeogroe for PCI control -                                                          conducted at the request at the Uni on Co-Clsoin'o.at, a written senary of
                                                                                                     the sanpi ing and nesting nec,, Ito — d the ,,vnciu,io,et of the
                                                                                                     lnosatigstnon will in. pronided to the Onlen, Ct-Cinoienun
       Very trnsly yours,
                                                                                                     The Co'npany sinai 1 protid. the Onion Cv-Chsfnenan, or nine Joint Safety cad
                                                                                                     Iieaith Coeeiitteo, upon roqoes t. naples of specific environnontal er
                                                                                                     tepioyta exposure tests on ourney reports.
       P. A. Porter
       Ii rettor, Industniti Relations
                                                                                              Very truly years,
       & hLen Pesocrtne Planning A Deployment

       RWP:nht
                                                                                              R 0. Pnrtar
       Confi nand:
                                                                                              Director Industrial Relations
                            Joe L. Piker
                                                                                              & iowan ieooiancns P1 anei ng & Deployment

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                                                                                              Confineod:
                                                                                                                  Joe L. tHen




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         ALUMINUM COMPANY OF AMERICA                                                               BU 1,OISC
         ALCOA BUILDING                                                                      PITTSBURGH. PENNSVLUCBIO    5219                                         ALCOA
         PIT 0010010. p .unusytvvuit istis                                          ALCOA
                                                                                             Juno 1. 1993
         Juno

                                                                                             Mr. Joe L. Kiter
         Mr. Jo. L Kiter                                                                     lirecccr. District US'
         Director, District 3B                                                               deiLei btweltoeters ci Merit.
         United Steelsorters of Merit.                                                       910 Gird. Pb Iarkvay
         900 Circle PS Parkway                                                               Sito 0750
            te 1150                                                                          Utianc.. lecrgio 30330
         Atlanta, teos'qlu 30539
                                                                                             Soar 4r. Kiter:
         0... Mr. Ulkar
                                                                                             1915 Is to confine that 5150 Company. during 1903 neqntiotions, egreod to the
         Tisls Is to conhIn that tilt Company during 1993 negotlotions, agreed to the        fclloz9sg aattOrs:
         folloolog leathers:
                                                                                                                                TOXIC MATERIALS
                                             MEDICAL RECORDS
                                                                                                   Sioere Bib Company uses osteri.ls at levels considered to be teals under
                0010/sn Medical record (I leo .10.11 to .aint.Ined undo,- tile control of          no-noi cotdlticos ale,., cr.nherenepluyneooi9ht be espoond so unusual
                the Codicil Department era licensed peysician, under conuitions of                 concentrolines of ton IC materials through accident, it shall I crone she
                confidentiality appropriate to ethical modical practice. An enpleyne's             affected employees oioat hazards, if any, are inuc100d, and what
                medical record file shall not to rolesoed to any Individual without the            precautIons shell be totes to insure the safety and health of the
                Informed written consent of the employee, except where legally required,           eleplayess. Upon the wrItten rofuest of the Union Co-Chairman of Safety
                or in grieosnce and arbitration proceedings, litigation, Doneniti                  end Veal U Cobol toe.. the Company shall provide in writing requested
                proceedioss. or eeiliu.l studies. The Medical Departseont cay provide              inforreotico frost s.teriai safety data shoots, if they are available Jo
                .nndlcal opinions, prognoses, or r.00nmendatisns to the Company or to the          tine Company, or their equlualant On tonic substances so which employees
                Union, oithost the consent of the employee. where such InlonnetiOn doss            em exposed in the sort elate: provided that when the information is
                 net contain specific diagnosas or details, and shier. such Information is         considered propei.tary, the Company shell so advise the Union
                necessary to ti,e Company as the enployar or the Union a, the employee             Co-Chai mean, and 0recide suffi ci.nt infOneotion for the Unioe to not.
                ropresensaslve. Whnneocr the coopuny physiCian dst.ctsm .,edl 1.1                  further Osqulcy.
                candltien ohich. in his Judgoocnt, requiems furthar e.dieal etiannion,
                the cowan, phy sician shall advise the espied. of mush oondition or to       Very truly clues,
                coesolt with his personal physician.

         Very truly yours,
                                                                                             R A. Porter
                                                                                             Droetor.
                                                                                              i        Industrial Relations
                                                                                             & Ocean feseurges Planning & Deployment
         9 A. Porter
         Di rector, Industrial Relations                                                     RAP: ntot
         & dua.an Resources Plsrrley & Deeioyeent

         RhO: ebB                                                                                                Joe L. Kiter

         Confirmed:
                             Jo. I. Kilo,




                                                                                                                                                                 SPK00004305
Case 3:19-cv-00258-RLY-CSW Document 173-31 Filed 08/11/23 Page 89 of 106 PageID #:
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                      ALUMINUM COMPANY OF AMERICA                                                         Jure 1, 1993
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                      OLCON OIJILDIHG
                      plrTssumcii PENNSVLVPJIIA 15219                                             ALCOA

                      Jane 1, 1993                                                                        3sr natuel discussions during 1993 negotiations
                                                                                                                                                             oem in snnnn depth as to what
                                                                                                          than. autinitins emigtnt be within Alcoa. We
                                                                                                                                                        sperifiCally concurred that Input
                                                                                                          From 100.1 ilse000nont and each local Union, prior
                                                                                                                                                               go ocr mootlng, nould be
                                                                                                          both uoluabl e end Oelcome as cc Chart a future
                                                                                                                                                            course so dopendent on the
                      Mr Joe L Kite,                                                                      nectually cooperative support and level oonent of
                                                                                                                                                             the local partIes and the
                      Ciceltor. Uiotniot II                                                               soploynos at each location.
         3            united Ste eleorkers of Aaoenica
                      980 Circle 75 Par'kio,y                                                             Vary truly yours,
                      SuIte TIC
                      Atlanta, Georgia 30339

                      hear M   hiker:                                                                     It, W. Porter
                                                                                                          Directoc, Industrial Relations
                      This Bill oevfi,-e the portlet' essabilsl,c,.,cl dIcIng 0993 negoti at i on ' of    & Human Rosourcos Fiend I., & Deploy-mane
                      Joint iUior,/iianagellent Conoitteo on ilutuol Growth, an @-      1 ran,edjuect
                         our collective bargain ing agreement.                                            RAP: rbt
                      to

                      This Coafeittnn is intended to serve asauteful and I01309 tool for progrnsf,        Confine               ______
                      400111017 ta blat lot In contradiCtt an nfth force 1  l'ectice bargaining,                              ,9o. L. titan
• -
•                                and antoltrotlOe procedures. Th-cu9b I tacl'..tioe, the parties hans
                      camel toed to the improuteont of relaticnsnfps, to syotwoatic fact finding uI
                      • bests for cooperetine is        soining, end to the timely discussion of
                      certain irçendlng business deaeiopnnents that are relevant to the I nterosss of
                      the Union. the eanployens, and the Company.

                      the Cecof Ste. is further intended by the parties to be a cooperative response
                             e leng-eano eonpotiti a. economic chat lenge nov oonfnoet' ng the health
                      to
                      cod grcnth of the Company ted the future job security of eoployees. Mussel ly
      Bi              responding to that challenge will develop twit a busUess and e relationship
                      anoironront in .111 oil aonstent changes A.    efi.vti rely be I etroduced. Under
                           cognlusnce or the Ccsedt5en, it. psrsi.s includIng those et the local
                      tie th
             'i         tool, will hay.autilable cngcfng end more irnonetine options for
                      anticipeti en and s0000anodatirog such changes -

                      Tim poetics recognl no than the progress we are camel tted he cohn is only
                                when cooperotive, constructIon attitudes pr000f I betneen the
                      Company, the Union, and all eepinyeen. In this 'copout, our respective
                      r ,or.seetetines In'these IieggtIatfnns hene pledged to bring good feith,
                      diligence, and notoal rnsponainernss to the future Issues and concerns raised
                      by the other. Where the partIes at certain locatiaco hint elree      made
                      subutontal nnutual pcegreoo In thi e regard, nothing herein it Intended to
                  '   Interrupt cc .00liify these .oiiolnies
    'I
                      hi thu n 90 days ml lowing she coed csinn of 1988 negotiatIons, you and I
                                                                                                bane
                      agreed to seet to appoint our own naspactioe Caeaittee eemdnmrs and to set
                      forth Certann baeiu goalu end prue.dursl guidelines in support oi its
                      soomeeoingacsl.Ities.




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        ALUMINUM COMPANY OF AMERICA                                                            Jose 5, 1993
        ALCOA UtILOINS                                                                 13      Pace 2
        PiflS0Ufl0H, PENNSYLVANIA 15110                                              ,o&.COA

        Jute I. 1303                                                                           Th. Conpan, and the International Onion
                                                                                                                                         shufl, ninernoer possible, assist
                                                                                               local coennittees in carrying not the   etaet of our understanding
                                                                                                                                                                           the

                                                                                               iery truly yours,
        Mr. Jon L. III        -
        Director. District 35
        United Steelworkers of ineenico
        900 Circle it Pathway                                                                  I. W. Porter
        Suit,. IltO                                                                            Director,    nduetrlal Relations
        Atlanta, Coorif. 30330                                                                 £ ilusse teocurons Planning u Doploynont

        Doer Mr. tibet:                                                                        RAP: tint

        During the SconE of our recent nogotletlomo, ".parties discussed she                   Confir,og:
        problne of •sc.IstIng health core Costs and the serious Impact which such                                  Jon L. Tiler
        inflation his had, both on the ability at the Company to maintain our
        negotiated group insurance piano, and on the capacity of active end retired
        eploynCs to afford their own out-nf-peflfl expenditures for anreistarsed
        medical ser000.s.

        This loiter will confirel our connitoent to develop and lenpinnent cooperative
        effort, particularly within tine local ceemuflity. which will promote greater
        efficlenry in the us. of health are resources by Stnelomrkere and their
        families. Furtinornorn, tine parties agree to Join totteher to 000nAat thou.
        instanceS whore health car, providers engage in wasteful practices or
        onercher3e f or their seroices.

        10 order so echienn our objectives in shiv ares, the Coapemy and the
        letornetionel ticion agnes to onceorego the oet.blnsleneot of plant-lewd
        coemictees on health care and colt contamment.

        line local committee shell study the operation of the grnop insurance plan end
              cularip the Influence which ti,. pin, hoe on util io.tlen and test of os-va
        M
        health car, services.

        As part of tine study, the joint cosenittee wey roconnoed that the WWII,
        precision, .pplicnble to a given eonpieyeont location be sodlfled sen al
        reporienntei or permanent besis to detormiso if a given oedi Citation sill
        ails more student utihleation of hnalth earn recourses or to tile into
        account particular oin'no,stancos at i gina e.ployeemt location.         by
         'ecoenmandatlens mode by such e joint coeaniitteo sinai I kenya. effective only
        upon oritton agreesnet besnere Oh. Cgopany and the letoroational 3oion.




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       ALUMINUM COMPANY OF AMERICA                                                             ALUMINUM COMPANY OF AMERICA
       ALCOA BU ICING                                                                          91000 Cc L 11 tO                                                           13
       PIIT38U039.PENNSVL505IA 15219                                               ALCOA       plrTSBUoAe.pEnNsyLvcNiA 1529                                             ALCOA


       June 1. 1993                                                                            June 1, 1993




       Mr ma L. Kilter                                                                         Mc Joe L. biker
       Director, District 35                                                                   Director CictnitA 35
       Uni led St  aerkers of bnorlca                                                          United Steelworkers of 0oe-ici
       920 Clrc'a 75 Pantocy                                                                   900 CIrcle 75 Por001y
       SciOn 1750                                                                              incite 1750
       Atlanta. i300r9lo 30339                                                                 ytlanU, Georgia 30339

       Deer hr   Bike,:                                                                        Dear Hr. Biker:


       The Coepany md the Un Ion inoidding meal    plant Meengonrent and Union                 This ie to confine that the Corp.,, during the 1993 negotiations, agr eed to
       ropraeentatices shall netS twice durIng tine tarot of the Labor Agreeneert at a         Oh. ioiinaiag cotter:
                                                                                    he
  P    ctvtaaliy agreeable tine and location. Foil and candid di0005olons ehall
                                                                           shared
       encouraged in these eeetiegu With the objective of adotanoing the                       In tie eceet ci dl 503ree0en t betscean the Conpancepcointad phisloian and the
                                                               - Subjects for
       interests of the Conpany, the Union and the nnoioy..a                                   eepioyee'e perooas I pivyeiolun reoardlrcan ,celouno's ability or non-ability
       discussion sicel inclode  toitpaey and industry operating condi tiono,  deotostic       to .05cm to work Proc tick iaaoe. tic, local Vol on aayraqceti that nice
       and ferelDe ince,tcnertn, gonerelnantal affairs and other relacart topics as            cotton be recieoed by the Coieponys Office of Vice Pr.eldent, Health and
       cay be agreed open by the Company-Un ion Co-Violence.                                   S.tcty    A preempt reolno of the findine and conclueions ci both Invoiced
                                                                                               physicians 0111 be code and an. opInion ncgendlng the I scue will be given to
       Very truly yours,                                                                       the empl eyae the local Union. end local Conpaoc officials.

                                                                                               The panties agree that for a proper review and eel Ibeted optn ion, conp iete
                                                                                               vnndlcai records 070rd1n0 the enpioyen't tosditi en are essential. therefero,
       B. H. Portor                                                                        •   cud, requotoc oust be acoonpanied by a written -liaise signed by lila annployee
       Dl netter Industrial On atiuns                                                      •   ohieh wertinu the desigcoted repr.oewtatine of the Conpany's 3111Cc oF bice
       V lieaen ennoarces Planning & Deployment                                                President, Hocit, and Safety, accost to such records.

       RWP'rbt                                                                                 During the reniena period tot       above, ci eoployee't wickc; ss and accident
                                                                                               beneitto ciii continue Myth tha
                                                                                                                             to opInion Is nesood front the office
                                                                                                                                                              I     of the
       Con? ironed:                                                                            Vice Provident, Health and Safety. if the anployee cojld vthee-cnloe be
                           Joe I.   Other                                                      eligible for ci otness and aocidaot honaints end ha trot eeh.otted such
                                                                                               bcnnfits

                                                                                               Ynry truly ysu,- s,




                                                                                               9. 0 P0-tar
                                                                                               Director Indastria I Relate cr5
                                                                                               & Hoean esources Piaeninç & Deployment

                                                                                               Rap :ict


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                                                                                          ALUMINUM COMPANY OF AMERICA
        ALUMINUM COMPANY OF AMERICA                                                       AiCDu oulLc:Ns
        AL3OP, 8Ui101riG                                                                  PITTSBURGH. PENNSYLVAniA 15219                                             ALtOA
                                                                                 ALCOA
        PITTSUURGH, PENNSYLVANIA 11219
                                                                                          Juno 1, 1133



                                                                                          Mr. Joe L. titer
        Kr. Joe L. titer                                                                  Director, Districo is
        Director. DistriCt IS                                                             United Otnoinorto's of ioaenica
        tni ted Steelworkers of A erica                                                   900 Circle 15 Parkway
        903 Cirtie 75 ParkWay                                                             Suite 1150
        Suite 1/50                                                                        Atlanta, Georgia    30331
        Atlanta, Georgia    33339
                                                                                          Soar Mr. Elton:
        Dear Mr. titer:
                                                                                          Dirlog the 1113 negotiations, the parties agreed that each Company location
        This will confirm our understanding reached during our 1993 sogutiations          si'ail famish to the International Union on or about Jaoaa'y I and July 1 of
        ccece.-nlflg employrea the are transferrnd to a now location odor Section 23-0    each year    list of all action 230 applications on Trio. The list will
        of the Labor Agraeoont and ohs are sriosaguootly I aid off to the atreot the to   inuitds tire 000e,    i .3 eecrarity ooisber and coopasy 0001500 ly date el each
                                                                        of-Il-F
        a reduction of forces - The Ceepany egress in Its application                     oepioyes and the plant tram which the eopioy., is iald oft
        (Request for Restoration) to apply the oonpary seniority of such employees as
        of last date of hire as their original location prooldiog ite employee does       Very truly yours.
        riot base brakes   semico.                         -.


        Very truly yours,
                                                                                          R. B. Portir
                                                                                          Director, induotrloi Relatloos
                                                                                          & h,oean Roaocrcec Planning & 0eplooneos
        I. A. Porter
        Director. lediastnlal lniaLlon                                                    DNP: An
        & Mimes Resources Planning & Deployment
                                                                                           oefi reed:
        W,   ba

        Confirmed:
                            Joe L. uiker-




                                                                                                                                                                        SPK00004309
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        ALUMINUM COMPANY OF AMERICA                                                         A_IJMINUM COMPANY OF AMERICA
        ALCOA OOILOI40                                                                      ALCOA BUILDING                                                            15
        PI758000nI. PENNSYLVANIA 15219                                          ALCOA       PTTSW9GH. PENNSYLVAFaA 15219                                             ALCOA

        Jose 1 1993
                                                                                            June I    1993


        Mr. Jon L Ether
                                                                                            Mr. J. L. Sitar
        Director. District 05
                                                                                            Director biesrlct 35
        Uni tad Steelonorkors of Unrenica                                                   United Steelworkers of P=rlca
        903 Circle 15 Parkway
        Suite 1050                                                                          900 Circle lb Partway
                                                                                            Sui te 1750
        Atlanta Georgia 30339
                                                                                            Atlanta. Georgia 30139
        Dear Or. Kiberr                                                                     Gear Er   Elba,
        Or an eeperireentai and trill bas s the Corrpany will agree that whore
                                                                                            Thii letter sill   -'lm      ncr understanding reached during the lOgO
        gri event., c000ern IsO ,upe.eisOve corking on tapropar distribution of
                                                                                            regctl.ti on, --log         oh. Shied soap gri evance record.
        051mm. withi oanla,eifmnation are not r.soined at Step I and ore to be
        aebitrated. the0 shall be arM trated it the Lopedi tad Arhitration Procedure
                                                                                            irs cml tlng the third ""gelocean. aevcc.r, time Conipany maprosaetatloa d'fl
        Vilest the appropriate representatives agree to refer Such grievance to             include I, his Ironer the date lad place 0f the eleetleg as 0.11 as the nasa,
        regular cr93 tatiofl tnrougr regular prvueda,-es.                                   OF the attendees, time griei.nce .ucber and. brief s000ene000 vi thu partieo
                                                                                            positions, end tire dl-1,1 — roaCted. Ti,, Orloc      within Ser (00) days of
        Very truly yours.
                                                                                            tna 'asuarca en noch ensoer 01.00; t to the Conpany representative a taste'
                                                                                            detailing any specific coeeeati by the Union. Ouch inttnr shell be
                                                                                        •   Incorporated into anl becvnre a part of the gri010rce record.
        V 0. Poetar
                                                                                            Very truly ydcrs,
        DI rectOr, industrial Relations
        & W....Posecro., Pianelrg & tepiste,nnt

        RVP:rbt
                                                                                            R. V. Portar
                                                                                            0inactor, lndcotrla I Reiatior,e
        Cvnfinrd;
                                                                                            • Iueee Reto,Jr005 Planning & Oepio
                            Joe L. kiker
                                                                                            PUP cbs


                                                                                                                Joe L    Kiter




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         ALUMINUM COMPANY OF AMERICA
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                                                                                            June 1, 1193



          jr. Jot L. titer
                                                                                            Mr. Joe 1. hike,'
         Director. D'atc'lot St                                                                                    -
                                                                                            Director, District 35
         to ted Staelotrknra of ftoneriou
                                                                                            United Steeloort
                                                                                                         ork    ci doan ica
         900 deal. lb Parkway
                                                                                            900 Circle 15 Porkoey
         Suite 1750
         Atlanta Georgia 30339                                                              5ulta 1750
                                                                                            Atlanta, Georgia 30339
         Door hi"    Kit—
                                                                                            Door Me. Kiter:
         During the course of our 9993 negotiation liii Coeioany agreed, ci shout
                                                                                            Curing the course of the 1193 negotiations the parties dincusued the ceaenpt
         limiting Its right 00 centraot out cork usdor the Labor Agreonent, to
                                                                                            of work daolgn conaitteos    The parties r000gnioe that tree employment
         corSica Itt efforts at each location to utilize auaiiable equiprent and
                                                                                            tecur toy results f-or bale; efficient I necoecetitice bus!eeuo one iroenont.
         bargaining unit esnployeet or capital cork that Ia to be penionelno in the
                                                                                            Dice parties also recogniae in achieving that afiiciancy tha uatca of direct
         plant ecithin their eapabilitlen when that can be acconplithnc On a tinily
                                                                                      and
         test olFaction basis    In Ita (005 Iderations, the coeparywillratleooltii         Union acd .nployem itncioeeent Ic the Job change praceno. Accordingly, each
                                                                                            IcL.010n shall esi.obilah a Work Doasge Coannitten sons lacing of too members
         the 001cr work pr.nticew and flea! bla work .scig000nts for uoai labia lianpoonr
                                                         cad to performance of wort         appoenind by the local 0,100 and two new.bnrn appointed by the local
         when action on throw isaumo could reasonably
                                                                                            eanayeeant (or sacli other joint ergeniaatiooal design as shall be.nutuallc
         ethernism to be oortroctnd out with bargaining unit personnel on a cost
                                                                                            agreed to by the local parties). Local Union representatives shell be paid
         ceeetitite batia.
                                                                                            by the Cocepaey for their attendance .30 $ uch meetings at the compensation they
                                                                                            would r.uelsa If they were working in the plant.
         Very triaiy Yours,
                                                                                            Each Cueonittee may recotarend toprooeeents in the operation of tAn location
                                                                                            through inc-eased aoeioyoe respontlbi lity, nor. effection utiiiatioe of
               Porter                                                                       people, eatrni.la and equipment along with a heightened lecel of j;b
                                                                                            satisfaction resulting Iron increased employee contributions to the decisi ons
         Direottr, Irdostrial Rat atices
                                                                                            and act cit lea that ieraus the work plate.
         £ Ocean Reiources Planning & Deployment
                                                                                            0t a part of the r000nrstdai'ons It fornnul atas our 000rt to tine prncedi r;
         RAP, rick
                                                                                                   ph, each omoitcon i a authori red to dounlep and rycoanend fle.lbDa and
         tonIr'ned:                                                                         "Mr'
                                                                                            'nnonotine pocedurrt and programs to oddreos aeploynant security concerns.
                              Joe L   Kiter                                                 More the eppreauhes eat), Ccnetittee ooy recocoend are alternatico sorb
                                                                                            astlgnmtnts, the garforoacca by bargalelng unit employees of work othornite
                                                                                            to be contracted out ned other aeasureo designed to enhinc. nnploynent
                                                                                            security ccs,atltle with caaietoinlng is tompetitine plant operation Ar, should
                                                                                            no other approach be reascnably possible to avoid layoff to the atrrnt at a
                                                                                            result of its recotweedotlora, early retirement offers under eutually
                                                                                            uatlsfactory oenditioet in .scordaoce        (Oct prcuiaisn,s of Samba
                                                                                            of the Pension u¼raeneni.               with




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                                                                                               ALUMINUM COMPANY OF AMERICA
        Jove 1, 1993                                                                           ALCOA 8UiLD:ruc
        Page Z
                                                                                               PlTTtOUjRC,t phNucvsvot,o 15219                                          Al COA

                                                                                               Jane 1, 3092
                                                                         Sinai cement.
        Pursuit of the objectives set forth attain at each location
                                                                          Paiodic peo'.aas
        imeodl ately olth the appol ntrent of the 7050.1 tten centers.
                                                              'hi x" ;;              ond the
        reports to the Distri at Director of the Unite. or
                                                                        his  representative,
        Vice President of Industrial fri atlo,S of the Coapony, or                             Pr. Joe L. hikes
                                                                              but no ieee
        shall be made by the Cennittle it each location as appropriate                         Director, District 35
        frequently than once every sic eorths during the tern, of the Aglev,evt.               United Steelworkers of Neeriva
                                                                                               900 Circle 35 Porkoay
        Very truly yours.                                                                      lotte 1750
                                                                                               Atlonta. berth    30339

                                                                                               Dear Mr   Slier
                                                                                                                                             -
        0. V. Porter
        Director, Industrial Dii.ti ens                                                        lilt elil cenhlr,n our a9raeeeeo during 1993 er.got1.si000 that the definItion
          hone, Resources ill aeni ng & Coploynneint                                           of Eligible Earrins (Socio., 9, itee 4 of Appendix 0113) shall ethude the
                                                                                               tine lout ond the st,a lgth-tiee earnings a s000i.ted of lb that 10Cc tin, at
        Rikp.rbt                                                                               rate rot to esceed 8 hour. per day or 80 hours per 00th for coo Union
                                                                                               offlolol echo are on an eucosnd abseete for Union busioees aid all othewise
        CovE inened:                                                                           enUid he ortiaely at Work
                            Joe L. Piker
                                                                                               Very truly yoUre,



                                                                                               P 8. Porter
                                                                                               flireccor Indastriel Delutloes
                                                                                               & Honey Resoarcat Planning & Dapleynont

                                                                                               0,0:rbt

                                                                                               ConCerned:
                                                                                                                   Joe I   biker




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         ALUMINUM COMPANY OF AMERICA
                                                                                        ALUMINUM COMPAN° OF AMERICA
         ALCOA BUILDING
                                                                                        ALCOA BUILDING
         PITTSBURGH. PENNSYLVANIA 15219                                        ALCOA.                                                                                13
                                                                                        PITTSBURGH. PENNSYLVANIA 152 19                                            ALCOA
         June I, 1995
                                                                                        June 1. 1993


         Kr. Joe L. tiller
         Dlroot      Dis
                     'H"""       35                                                     Mr. Joe L. titer
         Unitedor.tt eelneorller, of A.nerIce                                           Director. DistrIct 35
         UOD          IN farAway                                                        United Steelworkers of 9mar10.
              Cir1750
         Suf to   cle                                                                   SOS CIrcle 75 Perhwoy
         Atlanta, Georgia 30339                                                         Suit. 1751
                                                                                        Atlanta, Georgia 30339
         Dear Mr. Riker:
                                                                                        Door Mr. Kiter:
         The parties recognize that, In olew of the changes nude with respect to
         Section 36 of the Labor Agreeeent as a result Of Our 16 negotiations there     11,1. will 0000rir, the coswl tererS of the Coapiny during our 1900 regcti atIon
         lose,. noennr, rogording tonr nd eosIstont applIntIon of it, proofoton,.       that applicable from and after she day felieeviog the date of ratification
                                                                                                                                                                       of
         Ho alas realize that the possibility .51505 for teoorary     i Qn00000 to be   the 1988 Labor AgI.enn,rt, without precedent or contractual obifgztior, tea,e
         used for hareasoent or discipline purposes and this letteras"in'
                                                                    to intended to      will be deeirtd to be no cessation In seniority accuaclotlon for the period of
         reaffirm our categorical condemnation of ouch ectioity a, helen counter to     She 1905 Ili le for IndIviduals with employee statue as of tie day after
         the interests and Aujeotloes of both the Company and the Union. The Coepasy    ratifIcation of the 1988 labor Agreement.
         will take aperopriat, action to ensure local compliant. with thIs positIon
                                                                                        Very truly yours.
         Very truly yours,

                                                                                        0. W Port.r
         V. H Porter                                                                    Director, IndustrIal Relanions
         Director, Industrial Relations                                                   honOr Roaource, Planning & Depinynent
         & Humao Resources Phasing & Deployment
                                                                                        RAP: rho
         Roy: rbt
                                                                                        Cotf rood:   _________________________________
         Coefirnod:                                                                                         Jon L. Otter
                              Joe L. VIto,




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Case 3:19-cv-00258-RLY-CSW Document 173-31 Filed 08/11/23 Page 97 of 106 PageID #:
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         ALUMINUM COMPANY OF AMERICA                                                         ALUMINUM COMPANY OR AMERICA
         ALCOA BUILDING                                                                      ALCOA ojlcclrou
                                                                                   ALCOA                                                                                  to
         OITTSBURGH. PENPOSVL100IA 15219                                                     Plfl500RGn PEnutwyLvorda 15219
                                                                                                                                                                        ALCOA

         June I,   5993                                                                      Juno I. 1991




         Mr. Jew L kikor                                                                     Mr. Joe L. Biker   -
         Dinenten, Oion.rint 31                                                              )inector, District 35
         United St      kart if Ao,rico                                                      Jnited Steelworkers or tnerloa
         900 Circle li Pnrk,ea                                                               600 Circle 15
         Suite 1250                                                                          Suit. 1710    Parkway
         Atlacta, Georgia   3(1339                                                           Atlanta, Georgia 30339

         Dear Mr. Kitar:                                                                     tear Pr. Kiter:                  -


         The coelpaty nih ogrnn that if it Psi  to comply with the floe-dry ninneow,         This will confine that luring ceo,' 1953 nenctnail on, en eo,'s.d that cup
         netificaIlan tie. pried in Article VII, Pa-agraph C of the Labor Agree-.,           canpsny senWarily for tin porpose of layo°fs aed restoregion of
                                                                                                                                                                 iorcooat
         or notification requirotnents explicit in the location-specIfIc                     Tnonnesre Operations in fulfillment of the pro,iel ene andy,' Section
                                                                                                                                                                     21 of Vow
         contracting-out proceos when they became operatiie Unless there so tie              Labor Agreeaoot could bn spplluoluln to the ioilele     Lecal 309 Union
         coedlti ens which coke such notification tatpraoti owl, siei.oen (16) bore' pay     officio It:
         at the appropriate standard hourly wage rate shall be paid to tile no
                   en     ooertie. list of the classIfication designated by the local                                                 president
         Union.
            I    iiotoelthstdndlng
                      the          the Uelon's rignt to strike on the Per ti of                                                       VICe-Pros bent
         coetnacting out, disputes ,-euerdlnq coaioll ance with the notifIcation                                                      Plant Chair,on
         procedure abel S be sub)eol to the r.gcl er gri eunnoe ned Espodi ted Arbitration
         Procedure.                                                                          Sincerely,

         tnere grinooncot c0000rni eq the noti ff0561on procauuroo referred to eboos ore     B. B. Porter
         not resol nod at Step 3 and are to be orieltreted, they ehul I ba arbl Crated in    Director
         the Eopodited Arbitration Procedure unless the sppnoprlate repreonetotloas          Industrial Ralatleno & Aun.en R..-
         agree to refer such grienance to regular arbitnation through regular                  Planning & coployceot
         procedures. HoweVer, the issue Vail be limited solely to the noturicotio,,
         cts,pl lance question and the renlody senrelod cannot exceed that provided Per in   OGOFIMIED:
         this letter.                                                                                               Jon   .   alter

         Very truly yours.



         0. B. Parlor
         Director, ledostriol Relations
         B Conan Reoour000 Piannieq & lopltyoanl

         Rb, DAM

         Confi weed:
                             Jew L. titer




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          ALUMINUM COMPANY OF AMERICA
          MOOR OtALOING
          FITTSBJRGu-I, PENNSYLVANIA 15219
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                                                                                    ALCOA
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                                                                                            June 1, 1993
          Jove 0. 1993


                                                                                            Mr. JOB L
          Mr. Joe L. titer                                                                    rec
                                                                                            Ditor,     I'll, 35
                                                                                                      DiStrIct
          DireCtor, District 39                                                             United Steelworkers of funerlcs
          United ltonlniorknro of funnrlco                                                  900 Circle 75 Parkway                             -
          903 Circle 75 Parkway                                                             Ste 1750
          SuIte 1710                                                                        A! .nte. Georgia 31339
          ftlanta, Georgia 32339
                                                                                            liner Hr.   tiler
          leer Hr    Kiton:
                                                                                            During the course of the nogotnati or. of our 1993 Labor Agreement, the
          19.10 wlfl confine that Ii,. Cor.pany during the 5993 flngotletiefl, ogreed to    pant., discussed tb. poteotlel benefits that night ba gained through joint
          pronide each year the lntornratlorol Solon blat, and health lMartoant nnith       training of the joint lafnty and Health Ccm,,itten eaebert. Itresogreod
          copies of appl Stable 0310* for. 200, lu,.ery of Dcoep.tienoi InJurlen and        that •t OOh lountion the i,oai pnrtin, should perl odloal ly asset. the needs
          Illness reports,                                                                  for conducting such training. if nuuoh else ninent reveals a toed for tpeoifto
                                                                                            tra bloc, the Co-Che irpnroont of the coi tIne eli' develop an approprleie
          Boo-p truly your,                                                                 agenda for Such training    Th. tret,nlrg.ntli I. h.d .tarccc.Ila , n9r.n,blv
                                                                                            date, tIne and become.

                                                                                            Very truly Soars,
          9. H. Porter
          Director
          Industrial RelatIons & Human Resources
            Planning B oeploynent                                                           * H. Porter
                                                                                            Director
                                                                                            fedootrial Relations U ilonuo 00500rces
          CDII'! PIED:                                                                        Plnnolog I Deployment
                              Jr. L. Kilter

                                                                                            CONFI RMED.
                                                                                                                Joe L. Kiter




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        A1,UMINUM COMPANY OF AMERICA                                                         ALUMINUM COMPANY OF AMERICA
        ALCOA BUILDING
        PITTSBURGH. PENOSVI.VAM* 11215
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                                                                                             PlTltOunGti. PENNSYLVANIA 15219
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        June I, 1993                                                                         Jun. 1, 1993



        Mr. Jew L flten                                                                      Mr. Joe L. Bike,'
        Director. District 35                                                                libeL,,    biat12ot 39
        United Steelworkers of MonIca                                                        United ttenloorknrs of Oslnerica
        900 circle 75 Parkway                                                                905 Curt'. It Parkway
        Suit. 1150                                                                           Dolt. 1730
        Atlanta, loo,'010 30339
                                                                                             Atlanta, Georgia 30339
        Dear fir. Kiter                                                                      leer Mr. KIter:
        DurIng the 1993 netctietl000. Sue Coomany cewnittad to the Inion that it 0111        During
                                                    Health Dopartinant with timely                       3993 neootlati one. the parties dl soua000 hazards associated with
        P-1. tOe IcterriatI005l Anion Safety and fatality to a enbam of its                  cpanati the
                                                                                                     nq in-plant rail reads and the potential for In-,,,:
                                                                                                                                                   I n:turri ng coleus
        notIficatiOn of any Accident mac ItIng in a                                          into'ving such fiend roll equipennt
        bargaining unit. Tills notIficatIon shall include the dat. of the
                                                                            utility.                                                 In light Of the tori ,, 111 arcidenta
                                                                                                                                                                        in Chat
                                                                                             soy nest' I fOe the opoautiotn of tills eqcipc.an the p-0.1 believe it could
        tile plant location, and If known, the clrcuooetanCes of the fatality.
                                                                                             be ben,f'cl 01 fonuanh joint Safety aid Health Conani t500 to ewuiec their
                                                                                  Union      eros.ntr.i bead eafaty rulas and pncceduo. P.rtcul inattention .11001d be
             It become, oval lisle, tine Company 0111 prom Ide tine lnt,raetienal            gina, to idantlfytng pinch ye Inns and the n.n.sr in which personnel may be
                                                                  occident ,oyort SisaL I.
        Safety and Health Onpartocit with o copy of thn fatal                                operating such equl foment.
        glean to the letal unien.

        Very teuly pool's



                                                                                             K. A. Pcrtur
        A. C. Peeter                                                                         Dirnctor
        Director                                                                             Industrial RelatIons & Aspen Resesrone
        Industrial Relations & ikynat Resources                                                Planning 4 Pool ounnnnt
          Plinnieg & DeIsloonnoot

         COMIIUiIEOI   ___________________
                                                                                             CONFIRMED:
                             Joe L. 1100cr
                                                                                                               Jo. I   RILO,




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Case 3:19-cv-00258-RLY-CSW Document 173-31 Filed 08/11/23 Page 100 of 106 PageID #:
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                                                                                             ALUMINUM COMPANY OF AMERICA
          ALUMINUM COMPANY OF AMERICA                                                        ALCOA VUILOING
          ALCOA VLiItflhiVC
                                                                                     13                                                                                13
                                                                                     ALCOA   PITTSBURGH PEI.tVSYLVANIV 15219                                          ALCOA
          rLOSSUrAO rEsvAiuA           1- 9



                                                                                             Jon 1. 1991


          Jute I, 1503
                                                                                             hr Joe L. titer
                                                                                             llrncto', District 35
                                                                                             United Steelworkers of Merine
          Mr. Jon L. Kihnr                                                                   903 Circle lb Perkway
          llrwctor, oiatrlco 25                                                              Suite 1150
          Jilt ed Steelworkers of ia,erlce                                                   Atienta, tnerghe 30339
          900 Circle 75 Parkway
          Suite 1759                                                                         Bear Mr      lkOrr
          Atineto, Georglc     30339
                                                                                             luring their 1913 eootl etions the pert tes agreed toeRenaged Core Prcgrors
          Door Mr. hiker,                                                                    dao'gned to replete to. oumn.nt £o,pieyee Grove iennfit Plow. E,sentlei to
                                                                              (roe           that Managed Care Progreis a re . list of protocols as eel I cc MacepA Care
          V, 1,g nun iii) negotietionts the 000peny agreed to pet. deductions                rroe,-eneo.lustier cci cccli end otandands end the estebi I shnets of a JoInt
          corning! br each union monk, who signs voluntary
                                                              autitoriritlon Cards In        oeion-Menageeent Mensgnd Core Committee and Area Review Cerenl ttees.
                                                                          deductions to
          forno ayrced to br the Cnepsne end the Union and to melt the
          the Union for Inclusion in the llnioo SOAR-PAC.                                    The pee-tins Circe that the Managed Care Progrss will go Into offact January
                                                                                             I, 1994, at ill locations and that the current fepioyee Benefit Plan will
                                                              ArAbic 11(9). The Union
          The pnosndlvre to be followed e.ill be as stated in                                resale In effect until that data. ike local parties will ew,itnr the
                                                                     1 spply to the
          ogress that the ind.e,nity set forth In Ant'tle 11(5) wool                         performance and quality of tine network against the protocol and criteria
                                                                 letter
          Conpary's actions token or not taken pursuant in this                              establ i shed ,
                                                           in acoordence with and
          The prooisions of this letter shell be effectloe                                   The parties further agree that when the Managed Can Program goes into effect
          ConsIstent with the   oil 11e proobniens .7 state or 5.4cr.1 1-                    It will be accoepenied bye ° fred, Starts for purposes of detarweietng
                                                                                             imitation, for nteitw, caw(ieewenns, and en, esseelated costs for seroloec,
          V, ry truly yours.                                                                 tre.teaets or medine I supplies , as well cc for lifetie, oaeieues.

                                                                                             The protocols eed criteria and standards for the Managed Care Program will be
                                                                                             established in advance of the Onboe' s rattlicetien tote.
          R W. Porter
          Director. Industri al Relations                                                    Very truly yours,
          & Rican A--P1        eeeleg & Depioysnont

          RVP.rbt
                                                                                             I. h, Porter
          Conferoed.                                                                         fllrertnc, Industrial 951 ekions
                               Joe L. piker                                                  A Human Resources Planning & Deployment

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                                                                                             Confirmed.
                                                                                                                  Joe L. (thor




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        ALUMINUM COMPANY OF AMERICA
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        ALCOA BUILDING
                                                                                  ALCC]A    Anis000c,- Pfitthvchavit 5I15                                                 ALCOA
        prrnstuooH. PEngPaSVLVAtIA 15019



                                                                                            hue 1. 1950
        BII!tbjl


                                                                                           Hr.         fiber
        Mn Joe I Kit.,                                                                     Di ratter, Di ntrlut 35
        Director , District 35                                                             United ItneIcorkera Of /unenioa
        United btaeieorkare of Asoenica                                                    990 Circle 75 Pa'bnay
        930 Circle IS Part ay                                                              Suite 1750
        twit. IPSO         -                                                               Atlanta, Deorgia 30339
        Atienta. Georgia 30339
                                                                                           seer Mr. tuner,
        Dear M, Biker,
                                                                                           During our discuss lone of line 1993 cehhectice bargaining egrenennl, the
        Oct13 ratification of the neot Labor Agrnennou, the Company ohall maintain         p.r-li at necognyead that a iutional Heal to Care Program was under acti cm
        It,  program of medical benefits for future retirees and si-ole log spouses,       diocusslon in Washington. D.0 aad thrOughnot the country       Whila the panics
        provided that the annual cost of benefIts paid (or by the Coopacy under this       do not krcue chat thy detain nf nunS a Proroe eight he erA hon ii might
        pr ran shall be halted to an amount detoneined by multiplying the per              inpact bargaining-un It eopcyees and the C, Any. the Parties agree that
        capita root of such bench us during calendar year 1991 by the rather of            snoold such a 7rngree ba,oeo orfociioe, they nill vent La rnaclne any lesurs
        retirees and surviving spouses ("covered persons") during a calender year.         raised by the oonrlop of that Program ouch tine i nsue'anve prognan icc
                                                                                           bergaining-unit mnployees by utilizing the following principles:
        In Dyne event that the average per capita ccapany oontnlbuti on macends the
        .eovntestahi I had abooa in cry cc lender yoer, nine motes! sinai 1 be allotted           I.    Duplication mill be demoted at no lost to moployeno.
        to and paid by each 000.rod person on a pro rata basic. liutni thstandiiog tine
        foregoin'n , noiooerad person elicit be required, solely by reason of this               2.     Art saoiogs, II any, realized by the Company Fron tin
        ihoitasien, ,' *to make any additional contribution tcsard the vests of the                     i.pinernotatlon 01 the Heiional Health Care Progren nin ail be pe50
        pro gre.a coverage uegii January 1, 1996. Puntitaneon., the panties agree that                  Into a fund established ior Plynioct of retiree insurance costs In
        line ocbject 0f the limitative sat forth ir this lotuan dec11 be a mandatory                    future years. "lin t teolega rea iced" oilS lie naasoned as tic
        subject of barge fling in any nagotiatiore between tine parties occurring                       amount of reduction In the Company's neat free the aemnurt of
        scbsogaert Dc 9ey 91, 1993, and prior to teieahnr 31, 1996.                                     eapense in the calendar year iennediateiy prior to full
                                                                                                        Implementation ci e Rational health Care Program and shall take
                                                                                                        into consideration any premiums, Dices, yr other cOntribution paid
                                                                                                        by the Ccepaoi, auto.- Iate,i oi oh fiundl ng nSa iiaiional Haslth Ccr.
                                                                                                        Program

        B A. Porh.r                                                                        Vary trUly yours,
        Director. Industrial Relations
        & Human Resources Morning & Deployment

              rhi                                                                          B H. Poruer
                                                                                           Di muter, lnduatniai flei.tloro
        Ceefinen                                                                             Hdman Peseurces Planning & Deplcymnent
                           Joe L. hiker
                                                                                           ifgu°:rht

                                                                                           CenIir,nad
                                                                                                                Joe L. Biker




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          ALUMINUM COMPANY OF AMERICA                                                           ALUMINUM COMPANY OF AMERICA
                                                                                         13     ALCOA BUILOFIG
          ALCOA BUILDING
                                                                                       ALCOA    PITTIOJ000. pomuoSyLvAnaw 15219                                             ALCOA
          PIITSEUgeUN. ptnensnLvhuic 15210
                                                                                                Jane 1, 0993



                                                                                                Mr. Joe L. Piker
                                                                                                Director. District 35
          June 7, 0993                                                                          United Steelworkers of America
                                                                                                900 CIrcle 75 Partway
                                                                                                Suite SItU
                                                                                                Atlanta, Georgia 30339
          Mr. Joe L. KIt.,
          Directer, District 35                                                                 Be,, Sir, biter
          3d ted tteelonrbert of America
          900 Clrtin lb Parkway                                                                                              bRKtR PMIICIPA7I01I
          bIt, 1750
          5t1enh, 0.orgta 30339                                                                 Alcoa and the Uni ted ltoeln,nrkert of Aoneriva rncognioe that changing
                                                                                                products, protean tethnoiogies, -,It, and global cumpetltioe condition, are
          Dear Mr. hiker:                                                                       making greater corker participation nwc.ao.ry and an essential Ingredient for
                                                                                                succen oful business perrornn.nce. Ureoter worker participation can lead to
          During the 0001 nagatiations the carOl" agreed to the apprgprlatenest of the          many benefits for the Company and the Union Including increaseS eerplgy,aent,
          Iocal.partlmn honing the ability to codify cartaifl aopeCtt of tie Perfo,nnaoca       employment security, customer tat, srawti en, IerocnO competitiveness, quality
          Pay Flee to oeet bush,,,, ionit floods                                                ci nont life, productsnity, product Quality, imprtnnonnts in mutual tru
                                                                                                better trai.i eq. increased skIlls. lower costs, lncreaaed coepeinnotiwn, at.
               I.      The local parties coy agree to have as much as 000% of their wound       haalth and safety leprocenlento soith Increased opportunities For learring and
                       opportunity based on their Ousiness Unit/Location goals rather than      edcaneene, t
                       the basic 50% Corporate and 50% Sussioess 11nit/L000tlofl plan design.
                                                                                                in order to           g.nmr
                                                                                                                       ra     sonrkas' participation . a transition shnu'd be
                       SatIn modifications. wheo,nnrapreod to for a oman          will then     urdnrtakne in -chi'"
                                                                                                                such a way that it Is b,eaficial to ill atakaholdert ard meets
               2.
                       apply Per the rnaalnuflg term of the Agreement.   year                   their underlying needs and ieternsls. The process should support am
                                                                                                appnopr'l atn balance between nanufactorleg and hunson clamant. Furtiner, the
          Very truly yours,                                                                     nnthodclv52 for change should eetncd Pro,, the chop floor to the aeacutinm
                                                                                                offite and be integrated I ntc cur corporate 001cure led the eanufecnuri eq
                                                                                                procesae, to sol ve problems quickly and I n acooperati on awener. UI) corkers
                                                                                                should have greater influence, control and aucon,ntabl 11ty for their innediate
          5 W. Porter                                                                           wrk environment to enable ninnierohip of the process.
          Director. industrial Deletions
                                                                                                This agrenerrt reflects our actual ccnniteent and is based on the PcI loving
          & livaan Peseurcen Planning I Dapinynn.nt
                                                                                                prIncIples:
          PhD: rbt
                                                                                                I    The aisbility of the Corporation and the Union depends on bacoa'ng the
          Confi mmd:                                                                                 h11h00c isality scppller of ceepetltloely priced alumini. products
                               Jca L   Kiter                                                         do l ivared on tire. To achieve such a reality, the experience dlii.
                                                                                                     Intel Ii 1.scc,     cocci tweet of maci, enployen nil 1 be oaadmd and must be
                                                                                                     Fully utiliemdandtnensor.tontinaous Iepros.man t for Ohm best beg-tern
                                                                                                     ietnrnato of oIl

                                                                                                2y,npIoyersarernopunsible and trunoworthy and an rnvircnmnr I mu on be
                                                                                                    dn,eloped In       enoployn,, on e dolly cools inter000 with en, ,'nether
                                                                                                    Or, s:ccrd 0th ntis 3,11,1




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        June I. 1993                                                                       Jcee 5, aggi
        eege 2                                                                             Page T




             The parties wilt take steps to bvfld     to-ely participative otyls tout           and quality of ueorklife and a forum for ,npus chat irereasms the
             oieus the members of thn organize ti on at assets.                                 influence employees have over norkplaon Insces.

        3    Individuals and work crews are accountable For proper ieclulees related       2.   Within UO days of the date of the Labor Agreonent, each location will
             I. their sphere of responsibility and given the eeceusary information              establish a top level Union/Itoragenent Steering tonmltten      She role of
             and trainieg    Where pousoble, employees should be encouraged to perform          the SteerIng Conieittmn mill be to eeplsre where it in apprnprlote for
             nffeehico-ly with eupropriatt inveic on supervision and guidance                   prngrams to ha devaloned and impi aeuniad no bning about greeter oorher
                                                                                                partiuiaati on asos Ii as how t guide and nonitar the ooetinunus
        4.   Both parties recognise that bringing about change n an ongoing                     lieprvoeoen 0 of tnose orogreos. The workplace pert ic ipati on process
             operation it an eatrenlely dlfficalt tast ehlcii nest be oppraauhed                sha I not be used to dlocipi ice naplvyeen.
             realistically amd patiently because of deep rooted ottitudes end
             practices    knoertheless, the parties agree that if the Corporation IS            Detailed irformtatiun about the butiness, plans performance, new
             to prosper and provide employee catisfaction and long-term oe:un Ito.              tacisnology and products Oust veer satisfaction and competitive I
             gree ten corker portloipatior muse be pursued to aeeimiee opportunities            oil1 be shared with the Staarieq Committee In order that ti'uy may be
             to resolve problems end produce a lower cost end higher quality product            fully informed. The In,     onion president end ceenpany location nansgen
             delivered en time.                                                                 at each location shell be member, of the Steernng Conmitten unless it Ia
                                                                                                mutually agreed otherwise. The selectivn of any consultant to ass i st In
        6.   iadioiduai neployen participation In ineoluellent end wnpowaremnt                  the deceiopnent en the employee inuetumeret and enopoverneens process clii
             activities is vol ontary but both partios believe that active employee             be mutual after 30cc 1 . I993.
             ,.rtlripation is asaaniial to the realieatiem of the whjectiees and will
             endeaoor ii good faith to encourage and Support tech participation.                The ties of the local Stasring Committee will be d., tied jointly
                                                                                                Unless the local parties agree otheronise, all other anion aveobers nih
        Both the Company and tne Ueion understand that ennpleyees cat bC beespected             be selected by the unloe old all othnneaeageeens mnnbere will be
        to aselre to greater partisipetien in the dveelnpeent of solutions to                   selented by management. Uithen party may taretinate chit Worker
        workplace prabloot if, by their participation, they risk the toot of thef               Paruicipaticn Agreenmeet by giwlng ticty (60) laYs' written notice to the
        eesploymemt or that vi their co-workers    On the other heed, both the Company          ether party , No local Univn-Pfanager,ent Worker Participation Agreement
        and the Union understand that absolute employment securicy is not a condition           may be too-mi oated vet 1 the matter has been referred and reviewed by the
        that ole be 4U0r0ntend    Further it is sauognietd that employneet senor lt   it        Senior Leoei olscussioe Group
          condition that car only be proo idnd by those businesses that are
                  I. it is ales recognised tlnau iopruoreento      prtduc5uity, cost            The 1ose1 Steerto o Cereoittee eheu Id glue conelderetisn iv an i.eat the
                                                                in
        control, organizational effectiveness and custcenr autisleotion    are esaepies         fvllooieç toplus in the pursuit of its miosion end shell Inc lude any
        of enablers which lead to enployotent security. Accordingly, tie locaton                egreeneets reached on these topics in a writing setting for5h their
        management and local Union sill work together to support eopioywert security            uederttardtegn.
        as a ceetnoe objective and thus no eepinyee shall nepenience lost vi
        employment asureseit of the leplanoottatite of joint teem or committee                  •    Employment Security.
        receenneratlnes    Eoreuteti ono around this vonmi tmnnt oili be dsterniead and
        oneuwanicated by the parties 00 teens ond committees are established. It Is             o    The values, beliefs,   principles of their rnapwcuioe organi zation,.
        also rocogniend that conditions might eel st which osy oake murk-furce
        reductions neceseary    In that eeeet, tie Company end the Onion agreetu                o    The inforutatite requirements or the ttakeho 10cr;.
        explore flexible and lnnoaalioe approacieo to minimize layoffs 00 the netent
        practical through she atenl such tools as mttr'tien. early retirement,                  I    Technical end social to-aiming needs assessment and tie del luery of
        oolunteny quit erograms, ocertirla noduotfen, shorn or onrking houro, reduced                tnaining intereeotiees
        contracting out and fleoihln          the work forte.
                                                                                                I    New med innvuatitn orgeelcetiowal designs.
        In recognition of the above, the parties agree to the following
                                                                                                o    IOn selection and pay of consultants,
        L    P rngreot to generate greater worker participation way be jointly
             established and supported at each location in ordar On anhiene ioprowed            o    The iemart and irpieoeenta:ton of new technology,
             oeepotitiuenets, productivity, quality, oustoner netisfuctios, isoen
             costs, higher job skills, frcreaend worker accountability, i.00ioomant             I    The Impact of traditional   issues on the participation process.




                                                                                                                                                             SPK00004320
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                                                                                             ALUMINUM COMPANY OF AMERICA
         PoRe 4
                                                                                             .os.COc BUILDING
                                                                                             PiTT000000. PENNSVtVAuiA IS219                                             ALCOA

              o       The Interplay of worker participation and traditional local Union      Jane 1, 1993
                      and local Management roles.

              o       Eopeottloeu of each panty for strengthening their reletlonohp.
                                                                                             M, Joe L. Kiter
              0       Selection procedures, roles and responsIbilItieS, pay for meetings,    Director, Dietriot 35
                      etc.                                                                   United Steel workers Of America
                                                                                             903 Cirnlo it Paekoa
                                                                            that Shall       Suite 1760
         3.   Tie parties shill establish a Senion Level oiscassfOn 0-cop
                                                                                   will      Atlanta, Georgia 35339
              moot, as eppropriate, daring the tone of the Agreement. The
              rosin busleess results, trends and plans, as well as nays ofGroup
                                                                              improving
                                 other        of leterest or  concern to the locations       Rear Mr. Kiker
              this agreement and       itens
              cosered by this Ugroeoont. The Company's representatives to the Group          RE    IMP LEMENTATION PROCEDURE FOR JOINT CONTRACTING OUT PROCESS
              shall consist of four business- unit presidents and the director of                  GUStING PRINCIPLES
              Industrial Relations. lila iSmion reeker, ulnali inoluda the chairperson
              of the Alcoa Negotiating Coeaslttea and such other members as nn nr she        I.    RESPOiSSI8ILIO1 AND lEiltA
              appoints.   ocal union presidents and location nanegenent will be
              mn,ited to attend group sessions as appropriate.                                     The appropriate business-unit president and district d'recton- sill be
                                                                                                   responsible to insure that Joint, location-specific, business-based
                                                                              belief that
         The United Steelworkers of 000rtca and Alcoa am conesittod to the                         contracting-out processes are eatehi Isised cwnoi atort w'th the attached
                                                                 I ponios and nnrmeitaaeet         guiding principles. Dsny oill establish en Dooreiht Co,melttoa
         our interests are best serced by grnater worker partir
                                                                                    The
         to the requirements that will cohn the vanieLs buufnetaoa successful.                     fsecctineieg at the cerporate/bosioessun it-letoreetlonal union lead,
         United Steelworkers of America and Alcoa area also committed to the belief                I or the lonatoas under their Jurisdiction which will roolew the
                                                                                   ]he             progress of the process development 60 days. 115 days and 180 days
         that greater worker participation will lead to actual gain uutcoees.
                                                                            operation is           following the effeotine data of the Labor 99reeeen(.
         parties also recognize that brincleg about chaegn In an ongoing
         entromely difficult  and can best be accomplished through a combination we
                                                                                             SI.   PROCESS DEE(LthnEaiT
         both button-up and top-down as tlnities   The pertins agree to aeplore the
         combination of those activities that will beat sanon their Interests end to               A.   Ieseedaatnl, following the eTfnctiee dote of th e Labor Ag,neeelt
         leplenceno and arrange for the continuous Impr00000n U of those which are                 Joint Committee at each location     n! _d by tho operthi ens moesger and
         beneficial.                                                                               local union president shell meet to consider and determine those lOoms
                                                                                                   set forth in Item it Of the Guiding Principles.
                                                                           tither
         This Worker Participation Agreement does out in soy way diminish
         party's inheren U contractual rights en established older the Labor Agreement             I.   The Joint teems tone will thereafter pro      00 danolop and
         nor does it alter any agreements that the local parties may already have In               Implement a contracting-out process for its location
                                                                                                                                                  ad      In accordance I.
         effect.                                                                                   the Suldfng Prieciplea within 180 days Of the effectioe date of the
                                                                                                   Labor Agreaneot   Such process shall be reduced to erining and will set
         Very truly yours,                                                                         P0mb the pronedore uedem which the In ternet ],, deacr ibed in RI of the
                                                                                                   Goidfrg Priaciplea mill be obtained led the rnoaslheaa   The .]uiet
                                                                                                   Committee shall lesisade in foe prooeas prosialona for (1) initIal,
                                                                                                   on-going and annual rewlno of work 051mb I. or is being proposed to be
                                                                                                   coesraotnd sat and (2) a000nce notice to the Joins Committee o f any wart
         Il. 9. Po'ter                                                                             P1. I'd to be contrented ne.
         Director, Industrial Relations
         & baleen fesourcas Planning & Deployment                                                  C.   The pracess established et nash location shall ho documented ead
                                                                                                   reniened by the sponsors and the Ooerslght Committee. This Ooarai ght
         Amp rbt                                                                                   Committee mill be responsible for ssonitoring the functioning or tile
                                                                                                   Joint Conaeitten and for assisting th e Joint Committee and its sponsors
         Con flrned                                                                                as eay be epprenrlate.
                              Joe L. Kite'




                                                                                                                                                               SPK00004321
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                                                                                                               JOINT CONTRACTING OAT PROCESS
       M.    PROC ESS OPERATION                                                                                     tUlillAt PRINCI'LES

             Throughout the, term of the Agreement the Joint Connolt ten eha if recien    A profflabie and pncductloe busineen Is she foundolion for eeployeent
             work projects being considered for contractiag nun in accordance ofth        so       and greoth opportunity. hifecoieo participation in perfonnanon of
             itt prncesa. and the Guiding Principles for its lowotion.                    work issues by knsoicdgoabie represeetotlnes of macdecent and the union is
                                                                                          esseet'ii to tho acM cocoon 0 of a locatioe'n performance potential end thus
             Changes in the location process and its operates shai be docianented as      Ito prefikebslity   In recognition of these icetortaet benefits to nha
             they are deseluped so that they may be reviewed by the sponsors and the      employees and the buninnes, the foliouing guidinq prinoiples for the
             Oversight :orveitt,e.                                                        esteblishnent of a 30mb, locotior specific, business based contrasting out
                                                                                          process have been dnoeloped.
             Following installation of the process on each location, the Oversight
             Cc,e.,ittee will review the davelopreent and imleinentatlon of the           RAlOIRS PRINCIPLES
             contracting-out prorene end determi no st ich functions assigned te the
             contrav Sing- out committee, under Articio VII, Paragraphs P C and C of      I.   DATA AND INFORMATION
             the labur Agreement eheli be recognised Os haulno been uifilled    through
             operation of the neon process. dii other oieneetn of Article osi recoin           The Joint contrasting out process must function with en timely, occur.cc
             In neTect.                                                                   inC oOe,pleta data and iolooneetIov as is possibly

       IV.   The Ooersigbt Coenittee will Identify focilitatlon resources. The                      e.  Tire schedules
             facilitation resources cviii ba acai lap's for use by the lowatisns during             b.  Man/hours by craft and/or job vlaniiffvatioe
             She process desel opsnnnt phass and Initial process nperoo lens and as                 c.  Gsa-tin. lesals
             nequnsted thereafter. Facilitators will have access to all and                         d.  Huece reseurnes aliens nion
             leforenaglon, and the lees and n,penes of sin, resources shall be borne                    (1) Job Security
             by the Conpany. Fad I Itatlon services oil' be pr005ded OS the request                          Layoff
             of the Joint Conenittee ant/or tee request of the tniun or Cucepony
             representatives on the Committee.
                                                                                                           M Airing
                                                                                                        (4) Adequate odnpuoe
                                                                                                        (A) Suppers nnroions
       Very iroly yeses,                                                                            a   Cost infornerine mnnisdirsj propened
                                                                                                        esetrect 1 aeguegn
                                                                                                    P. Special projest criteria
                                                                                                    g. Priorigy & sequence inulinding eooergency situations
       R. V. Porter                                                                                 Is. Tine schedule changes
       Oirncto, lnduntrlel Relations                                                                    Location operating plan infornnation
       & Hocnan Resources Planning & Deployment
                                                                                          2.   FACTORl -
       RWP: rbt
                                                                                               The fuilowieg eons1 ci v   factors must be considered for prnpor analysis:
       Cootfreed:
                           Joe L   Piker                                                       a.   Opsirco utilization of in-plant fcunu uhould be a pniunl',y
                                                                                                    with the coeenittee
                                                                                               b.   Job necierity
                                                                                               0    lend to hire
                                                                                               a.   do     en layoff
                                                                                               n.   fqufpeent
                                                                                                      *P"      - availability - leasing? - purchase?
                                                                                               f.   Technology and/or onaiqun skill rwquir,cnents
                                                                                               g.   Warranty sock
                                                                                               h.   Legal and/on regulatory requlreietnto
                                                                                               I.   Nepalr cod eaintenance and/or capitol work is to
                                                                                                    be considered under this process.




                                                                                                                                                          SPK00004322
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                                                                                                            LOCATION;
            j. Shelf items; I.e     tees bailable from a suppliers
               invnotery/cateisue as a stock item and not made for                                          In all cases the contracting out process must address the specific needs
               sole source sale or from bioeorints supplied by the
                                                                                             I         of the location it screen
               Company.
            k. Bargaining uioit/contrecto decision criteria                                  j8.            bOSON RESOURCES'

                                                                                                          The joint process should Insure that the following human    resource
       3.   SAFETS:                                                                                    acttes are adequate to support the work forecast:
            Safety most be glues priority consideration by the coenittee.                                         Apprenticeship programs/traIning
                                                                                                            a.
                                                                                                            in.   Support staff
            a.   Contractor and in-house emploees mu st be held to the
                                                                                                            c     Adequate manpower/hiring
                                              y reflects for the saw work.
                 sane safety standards and requi
                                                                                                            d:    Ivertime levels
       4.   REVIEW/EVALUATION.                                                                         S.   01503105
                                                                                         .

            The following elements should be considered In the Joint
                                                                                                            Tie oint 000mittee should ostabllsis appropriate problem -eoiving
       neolau/ocaluutien process:
                                                                                                   .   prccndi.ej fur handling disaCements or dispute a arising under tie process
                                                                                                       prior to activation of the parties coctractual remedies; I.e., grievance
            a.   Data analysis                                                                         procedure. S-day notice, etc.
                 (I)  Computer services
                 (2) Prograru                                                                               a. Individual cork performance decisions
                 (3) Oats bases                                                              i.             b. Process reaien and adjustment
            h.   Quality omaeurescnnts
            c.   Asouracy of fsforoatlon
            d.   Ongoing mcmv process
            e.   Performance measureveots
               (1) In -house
               (T) Contractor
            f. Control procedures

       I.   FIIIASCIAI.   i/flub'

              Location 11-1,1 planning and budgeting inforion oust be considered
       f o rlong-nero working forecasting.

            a. iestasent
                no         criteria lecture on lnoest.nent - lot)
            b. Cap ital budset
            c. Maintenance budget
            d. Buelness for.ns,ts


       6.   COO'i)TTEE PROCESS

            The dent coeoiniltee wont consider ard determine the stecilics Cl its vaIn
       process .


            b.   Fuecsloo
            C,   Joint strLvture                                                             p
            d.   Conmunication
            e.   Isternel/eeternal resources




                                                                                                                                                                   SPK00004323
